                                      82                                      June 29, 2022
Mr. Mike Wakefield



                               APPENDIX D

  Photographs for 1520 Glenn Avenue, Lewisburg, TN 37091




                                                                               Exhibit 1-2
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                                                   Engineering & Environmental Services, Inc. @
  EES Group
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                                                                                                                                                                    kl;w"x y.-. ,~:r;r,t^'~Y.•;,                     ,             . a'' {•                                  •;,:'
                                                                                                          .,,                        -                              a;'; ' -;;3`-.z•t,.              :  rd,rr.:~.r.,.:,     ~.. ~~~.:%.,,.:,                 Jw ~r y;$;,tC':,2~;"P:c;~u
                                                                                                                                                                                                                                                     sm:j•~k".                                          }^
                                                                                                                                                                                                                                                                                                     a`,~,',~'~3~.~`u~','S'a:'               .
                                                                                                                                                                                                   ~F~.:_~r.                                                       Y.•'r                     ~~+,Y`          .d?fi~,(`
~                                                                                                                                                                    •~~'-                                    •'.i"S,•.'f'Lt"'[!-`_~k    p.-''~es` 5t;,t~:eV'' 'ri'.':Y~~'.e~ t~
                                                                                                                                                                                                                                      ,,,~                                                                   yt,  }• .~~
                                                                                                                                                                                                                                                                                                                                  •'e.`3~`'~:,
                                                                                                                                                                            r~ro'
                                                                                                                                                                              4'~ :~k~'' ~~"•r 14•~'                                           ,3~..9~,i4''F"'ti~:if'^",`yZi-~x',^                `.Fr:'s.`':,~=,~y'd' .V              ';?!.'r:,.
                                                                                                                                                                                                                                                                                                                                               ~
                                                               ~                                                                                       ~            r~,.~ a;,~..
                                                                                                                                                                    ~'t~~:X'"          ~ :,~''F''1x_;^iC%'2•.i}•'~rv#~"Jt1
                                                                                                                                                                                                      ~r•-.
                                                                                                                                                                                                         t' ro"h•rt~#
                                                                                                                                                                                                                 1'•... 1.13'y;r          ,~~,4          h.a" t, 1
                                                                                                                                                                                                                                             ..~ ""•:#•y;.               . ,~'~•yi;, lr_•         .~:g__~      :~y~.-̀ "r.`~`«a~~'.,.
                                   '         ~                 s                                                                         a~                          :,<' `':xt.       .:.. #' ,r,'  r^.xP+:x.,
                                                                                                                                                                                                    x:.:,           y^•'«  j.•.,'•..
                                                                                                                                                                                                                                -  -.    sJ"ry^                   *,ti',.~r-'•.:Y~ R':s f-:r `~'2~..'~:•.`[::F~
                                                                                                                                                                                                                                                                t~i~"''.!'rc
                                                                                                                                                                                                                                                                                                                                     e, L-.....a a
                                  ~                   ~r
                                           =t• : ~' y _,,,•ti,.                                                                           ~,,.                            ::~ nry`r:
                                                                                                                                                                       _.,_t:r~:.
                                                                                                                                                                                            «::'
                                                                                                                                                                                         a•,s'„ ,,.`~`cys...'i:%:'   . c,; ..:'::•
                                                                                                                                                                                                                           ,x•.   .n_t`.;R;     ~:~'-.•+a~
                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                          V"                 ' ~ ,,t.<=t=ii1?i?k.  ~,`:-'              .a..--.   :n''+     ,'";j-`


                                                                                    '         •                    ~ •1 1.~ •                                                      i               •             •                        ~ • •                                                        •                          ~
          i          •                 •




                                                                                                            ,~ , .                                                              ,,,,.-n".S~, j• ~`^~r                                    ••..+,4::i:.:-z;•.~ ,•di, - ".
                                                                                                                                                                                                                           ~_ W:~` .{.::if'.:•                                                             ,~•, 's
'+'.~.+t-.                                                                                        .4                                                                                                      '6" ~ .. ue'
                                                                                                                                                                                                      •~;a;Y                                              . ..
.v].~ ~j   r~
               '~ ,,y~ b,'~. #
              -r~i~y                                                      : .:                                   '                                                                ~'J4   '(~ ,~r' ~                                          }:._:-,,, ,...~:.o:(••, rv:                  "
           '+j J^ t'ea!'              i"                              ; t'1.z
                                                                           .  ^'         -      ~.        "6'~                                                                                  '?^' .!                                             o-~.'1' ;°.S e'sr,:-Y
r:~ •~"~lB.    'lZ'.)'.. Y               K~,.,.                     _`                      .             .O:                                                                           lf'  5...
                                                                                                                                                                                   ~9 e, ;k s,f•7             .~ K                         p                                  „       `[f~                    ✓'- _
      .dttk .4ei _ _                                        ••'~'K:'wi
                                        •`~'•y,5e.^.'~4r:rM1_          -_
                                                                           f               " ~ ,                      .
                                                                                                                            .."~
                                                                                                                                                                                      4..~5
                                                                                                                                                                                       d _:;~,yy           ^4
                                                                                                                                                                                                  r.~.~~,1A.`~'n:t:ti.:f.          rs,.+ : i.,•^.,. _                      - ~:a',.,.av'~t                  ~.a,.,e~
                                                                                                              -                                                                                 - .,~+~•'               ^,p.'~           ir e .r+ i~' %".-~T Y~^ _                                          - ,'-_.`- ,
       - '.~ ' ~~~'~           ~r:;Fr"f ~:>~' ?.Yi;i„i•„~'.,,Cw                       .                                                                                        ~i"                   {" v,>a,~,~,N1         ,.;r`:;•`~~"                   ..o:•:: -..{~' Qi . '
                                                                                                                                                                      'L''}n 't                             ~, ,1~.j:,,;:.,`r.,•l:•;.'T•~rl._`,:'.                                       `^                 _ r
         X~                                                                                                         ~--^i.i°,..y-t...r~:•                                                                                          .^l: t,,v.+r...                   .:-3.        '•V~
                                 ._.~ V .                           _          -                       ,-„_e-n;,v           .~,.-~:.'.:.h..                          ~                                      ~ ~~_ ~,,                                 5t :r n•- -,r.,'                  .:'
     _ '            • • • y ' ~~~ !4^..~~                                                          •'....^. :..~ff~o-:~ ..-Jlr'!                                     ,~j°                                                : ri .             •.2'r.•i f . -                                          _ "~
    ~ Y~'v `R~
    „^'j;'n                                                                          m -,,:
                                                                                      i••~
                                                                                   ~,:...
                                                                                               ~ ,..;t'
                                                                                                                                .          I                            ,c t                                 y
                                                                                                                                                                                                              gtl '.~:'.
                                                                                                                                                                                                                           ~'••~Y':,:'<
                                                                                                                                                                                                                                                                    ~~i.l ~ •
                                                                                                                                                                                                                                                                  :^'Z'..:                            '01~a,,.
   • -5.                     _           , .           ...,                                4
                                                                                                                         y
                                                                                                                                ' r~v,                               A`~Y~wsY~
                                                                                                                                                                     ~                                        (q,u;'~'_.         .J•.w?.w~~,~`t ".:•.~, :`-               ;. y                       .,;
                                                                                                                                       r                                                                        ; r:'.:h}:: ~                                                 _• '
                                                                                                                                                                                                                                        `; i  ~~[;.•~       :;.-,'^  '
                          .~~Tj:~   :~'               ~...,1               ~~              iy~                 "1 ',~r                                                                                            • .:r, • ;: ~ rr.°'^, l:~'"s~;; `                                          - 'V'~'c;::~;:,;”
 T,,:::.` ~~,•~4i:Y"''                     -. ~               •1...              -
                                                                                                                        >. •;'';z:ny
                                                                                                                   `~~s''       ''~F P•'                                                                        ~~:`o"'i'•.,';,?~,Y~:i_:.'`'tiv:i~::,i'.;:•                  ~•~'           -`ro•,;•.
~                               _:";-3'~,.:;
                                  .
                s;,•^s.;r~~;:`;i('^a'?`,              ~
                                                                                                   _                    r-"s,'~                                                                                     .~                       •'          '~~=r::
                                                     ,.~3.                                                        '           :          ,                                                                     •i~ ,: ~~,'~"~~~4;4art,,,,.~~,~ae~`,^'`~`,.:J':
                                                                                                                                                                                                                                                       ,                            i    `,      _
~" 7                        ..                              .. =          '~:•                                       :~~~:~,~`                                                                                     y,
                                                                                       -:                         ?                        :
                           . ,Gi                         e `Y•. o i'L• • ,                                                                                                                                     ~ •a • _F~ ''°~,~`~c.~y'D
                                                                                                                                                                                                                ' H~~                                    F ~Y.~~ f.    !                         P
 ~`~t , _.•- - 5                                                ,. <x..                              _'                                                                                                          ~
                                                           •.l."`r1'             ` !~-.                         f                    .- m`•
                                                                                                                                     a                                                                           '+ °!L`fi7'__} J~• ~L                       R =Tf
                                                                                                                                                                                                                                                            v.~"                                  ,
                                                                                                                                                                                                                                                        '~~~:^...'„k:.,';;_
                 `           't                                ~~-~                         ~ r-r         'S`•      ~                      M'i l                                                             N~ iie,4~x.~

                                                                                                                                           ~




Case 1:23-cv-00041                                                                      Document 1-2                                                       Filed 06/20/23                                            Page 3 of 161 PageID #: 145
                 J.~+a -                                     ~:•~c,:i•r." r.                                                 - ~ A                                                                                                                                                                      _,.s:.,- },.c       --
                                                                                       =;,r.
                                                                                                                        _
                                                                                                                              T                                                                                                 ..1~,~,:;~:~_.''~,' W-+`as`~n;r.•S_    ^ .'.~;`~•s^ .        ,.;.' _ .       '; ' f.-
                                                                                                                                                                                                                                   .:ti:            ':rm'.%,~~'.~i".r=_
             y
          ••:y                 ~ ~-'m.~,4.-~;: -:-/.:: i:, ..;r<r;.r•n'.,~."                °~ia"-,:~.
                                                                                                ,\.n
                                                                                                                                                                                                                    rY-;•"
                                                                                                                                                                                                                     •h:: •:~g!~u,-a'~ ;%~'~ _~..;r;'r'~'               _   _^4•         ~'v• ~ ~, • a ., .                 _
                      „e~V           -              '^ ^-                ]l , •...!'•r'~: tr=
                                             _ `^,f;j;.~;,:~l~•'.:.,..~:`.e..                    ..,.,:'                                                                                                                 ,,.Yi'•'.-.::::_            .~..?;.~.-,~                ~         ~ . :~      , Y:`'.
     ' ,%„~
         "~,       ~-~11X.~;7~~. ` ~'
                      ''- r3ii. • `a_     jitt                          ,    uM1.±+ca    :
                                                :~G::. .:M.'~:._ t ,.:r~;;f: ~' -~. - i:N'.:.'.'''                                                                                                                  x~-. °;:^.                    ~~..    .,~ •~~~Y           =1. .                                            .
            ",~'••                                                                               ' '                                                                                                                      :'..:' '        - ..          • . ~r-~ . .r`:i~
                                                                                                                                                                                                                                                                                 r^'.~ '      • a
                                                                                                                                                                                                                                                                                             •~^                   .£•'.s ' ,'
                                        •:~
                                    ~-;J.^...:x:. T.;        J~T             ' ~    ✓
                                                                                    '  y~~`~         a.                                                                                                              ~'.-,~;~J:+~: .                .~• .'tia -• ~C_
                                                                                                                                                                                                                                                                        ."
                                                                                                                                                                                                                                                                              :. ~,    .~i'                                 ,i
                                                        ;:M; ~ `                                                                                                                                                           • y, ~~                 .,:•#<.:~-
                                                                            ~~-,`.s~= ^..                                                                                                                                                                        ;r••'~,;..                                        '`~
_ , _ .._.                              -                              • •                    "'~'                                                                                                                      :,,.••:~ ...               • ~r::=u.•~:`-             '~'~
                                                                                                                                                                                                                                                                               • y,,; ,~`^ ' ~ ,.~'t~'•_                -_~=
                              ••--.~•~.~~.,><,- • ~~.~..._                                                                                                                                                                                   . '`•^`^:°;:,-           -                ~`i.: -                  _       a-~
                                    (                                                   —~ _-                                                                                                                            - -, : ~:r-  -               • ,  - : ='X -•..-              ~ .,:.                            ~...
                                                                                                                                                                                                                                              ~
                                                                                                                            ~                                               ~~.1                                           '`~                  ..               • , -`~                                            ~
                                                                     • ~'"~.".`~ ..
                                                                                                                                     ~         - ~.~i.~. ..-
~~ Y•µW:,:.'~                                 ~_'~~4.-^z                                                                                                                                                                                        6                                                                           ' ~~~                           .,...~'       ,
                  .-.~=:,tS~
                          j `..:t.:`..^
   w_ •y+•.;,,-,,,:~-siti.~',
                       +, n~  ^~~,~~. -               _~Aa'T`~. `~-~'<'.F
                                                              ,~,~
                                                                                                                                                                                                                                                                                                                                              _
                                                                                                                                                                                                                                                                                                                                                                         _
     u't_~~.                                                '`~',-       .1                                                                                                                                                                                                                                                                                            w
~"`~3:...               ~1'~iia    .s=`,";'!•~'ii'       ' S,~,."^~~                                                                                                                                                                                                                                                                                                     ~t~
          ,-•.,, w~r.S~rid,
  -••.C..'s••             i;~"       ""^4a=M.~{•.                                                                                                                         :"
                                                                                                                                                                                                                                        .        [.
:..,:   a.i~~~' ' i^~:• -_f-,~,-~,:~._•'-.: a              '                                                                                                  •--ht,}~~                                              .
                                              7 ~'t^                                                                                                                S)..,A~ .                                                       ~                                                              _
                            •' ya:e,=r+" ~
,^J' iA!~`'-,.. '4 - ~'~            -~ •r.;~. •..,~..j'a~J4<,<.
i••.%•~'~.,~-.'ty,r ?y~ r ~`••~a'L
                                                                        .~
          ~,~'f.R~': :v:+F.<^l•r
'[-:... ~•~-it'W                  "~-'?a"
                                      •   '~.`~ ':~^~";.t.ty~•~m~                                                                                                                                                                       ~
                 4     y                   ~~i ~+.       •~1~ T~.'... .                                                                                                                                                                                                                                 _
                                                                                                                                                                                                                                    ~~.                  I        ~.-.                           ~(           n,~~ L
iXiti S_ +J%s."-~~5:.,   .•., :1a ,f~iM"'r~".~="1~ ~hr~5~'Yi!l: .A ,
                y~~~\~.4r•+l,1-„':~.yG


                                                                                                                                                                                                                                                     ~           •          •                   ~• •                    ~        _                ~
             i               •                •                                        •                            •        i                •                       •




                                      ..rn                                                                     `~                                              •i                     i                                                                                                                             _                                   t+~
                                                                                                                                                                                                                                                                                                                                                         r ..r:,."~'
                                                                      •
                                                                          ~t                                                                          '                                                                  :~-"'              '                         .. - . --~
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                                                                                                                                                                                                                                                                                 "'- -~"~"~
                                                                                                                                                                                                                                                                                       ~%y ~~-' ="~~
                                                                           `~r                                                                        +•                                                                                                                    R
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                                         `.•                                                                                                                                  \                         .                                                                 .•' •.                             " =p.~
                                                                                                                                                                                                                                                                                                   •y
                                         r"                                                                     q~                         4u /                             _E               y          ~                               a5.*A'F"                                                              ~.J"~~a+3
                                                                                                                                                                                                                                                                  ~                   ( ~ _~-:'~,.,j.•                       4
         `~                           .' _z •                                                                                                                                                                                                                     ^~~~~ i••.,                                                                      ,
                                                                                                                                                                    •                          , rfY
                                                                                                                                                                                          `r ~ s E                        ~,            `'    * r5Z4`..i'•~y~'..7
                                                                                                                                                                                                                                        ' ,' ..,s~c. .rr•          _ °~       "tt'
                .. .                                                          ~                        r~
             ..a t~ s                        t•i,.                                ..                   ,                                                  .                ~,:'                ~                          '~'        -.i..~nk'°~e%'  .•;..:.      a-y
              *a                                                                                                                                                                                                                Y.        .~f-''    ~+.~:.~,-•(...„4'h„
                                                     ,
                                                                                                                                                                          .~ .•~?-ySife~••^ •                                                                •             1             •,y,
                 r"."
                   ~•
                     -
                                                                              ~~r
                                                                                                       `~
                                                                                                                                 S           . L
                                                                                                                                                                                          ~-~~~:                          ~v-:,.:'•.”                                                                           r.' -           ti.; =
                                                                                                                                                                                                                                                                                                                         ' ;,',~ "'t   fa
'                                                                                 "                    ~~°                 ~.   ~~ ".i..:y,.~:                                                                            '-+~~'                               i         l :' •..~i' `~' :` r•                  ~ •
                                                                                                                '"~~' ' '~' ' ~.v q,,.                                                                                                  `•"` `r               . : i -•,..: .^,~~,r - t-r•                           r~`' ,. -'e.t,°r..'y.
                                                                                                                                                                             _                                                  .               yS:      J.a.e '. _
                                                                                                                                                                                                                                                                    •~::: -i! ' - •Ct-
                                                                                                                                                                                                                                                                                    ' wS
                                                                                                                                                                                                                                                                                                                    ~d•k • -.c^      -
                                                                                                                                               ~ y'~a •y r •:~. •      .                                                   • ~•                 i,qr.                                 ~                                                           '"1., r'.r.
                                                                                                                                                               ~c,
                                                                                                                                                                   „_._~„                                                                   f4 .- ,'r,             _ •            "~.. .•~i,.+         t~    -~ Pi-
s                                '~.:                                 ...47.5z                                      .5 :r •                  ~:3',Nw      ~                                                                   _.y              ' ,,..~
Fe%"                                                                    .                                                                       .        ^„                   ~                                           .-_ -,`.~. , "'• • r^' -.- \.r •,.~~
                                                                                                                                                                                                                         F.'-.                                                   r
                                                                                                                                                                                                                                                                                                          ~ . -~,c:
                                                                                                                                                                                                                                                                                         -_7_• • : ~' ';"~''        ti~•.,
                                                                                                                                                                                                                                       .~"t..          _' •' -: .l ^f ;• • -, y_•                 ~~
                                                                                                                                                                                                                                                                                              c •' _ .r '•+.' 4
                                         •                                             .                                             •               ~~iry*[.C~
                                                                                                                                                            •~          ..,+--~
                                                                                                                                                                          . ..                                           6•-          , ..1 .v..+  .                             . _:
                                          ,                  ,                ~                ~                                             ,         ~SL R~ : ~x 1 ~                                                          ", ~ ; ' <" '('<'~ "' : -            --~,•,' ':. ~,~ .                .:. • i VF Y~
                     -                                                                                                       ,                                                                                                                                   Y                        ~'i`..F •                    .'v,
         '                        •                                                        •                   '-                                   ' t .t:+~ ''                                                         ~.T • . ,       '~"`t . ~ i" ''.T`r.~           ~;       ;..1.' •~         .~}       ' ~


                                                                                                                                                                                                                                            i            •            •                   ~• •                 ~~                         -
                                         i               •                    •                                             • •          -                    •




                                                                                                                                                                                                                                                                                                            "' ~ i:,«r;~;_.."~.:__ : • -< '
                                                                                                               ^_„•~^                                         •"{c.: _?i.~                                                                       - -              . ,' _             .:~ -, ..• c                                                                               '.y+~
                                                                                                       ~~                     : y~ . ,' ~•.:'f"•~.             ~'aq:.~~q_le'.'                                                                           .'.,^                       ~.,- -'"-' :C' •-i.•.-~'_ - _._ ~ . ~.<. t
                                                                                                                                   '"q."',`,'~: ' -~.-~<            c~:~'-''                                                      .1.,-,_     ~, .   ,;:yr   .ti ~,             .,:          ,..r.,~±   ,r,~             , •~3,•.~+••.
                                                                                                                                                                                                                                                                                                                                  —     '              -
                                                                                                                                                                                                                                                                                                                                                  '~.j:;,~'E~,m::'~Y'~:y         ~
                                                                                                       '~                         '•          •.^~ k . . y \`            `                                                  .. _- •                                    _~'~i
                                                                                                                                                                                                                                                                .~.~•, ~~'>T...a           •                                   ~.`a.•+ 'L:'~`~
                                                                                                                                                                                                                                                          ~ - _ r,,,,;.:-,~-                                                                 -.~r..••='~'.
                                                                                                                                                                                                                                                                                                                                                     r.~.::,..
                                                                                                                                                     f
                                                                                                                                                   q~• ' ~•~-     •ay.. ~•'+                                                            ~  ^-•----•~•,
                                                                                                                                                                                                                                            "'.~,_.
                                                                                                                                                                                                                                        „ ,w-      •.,~:     .::~.--u`.~•'^~          a••-•.~•
                                                                                                                                                                                                                                                                                   ,..~.,,..
                                                                                                                                                                                                                                                                                  "`-            _ ^~,..,:-"a:i-~,'
                                                                                                                                                                                                                                                                                                     _g..•
                                                                                                                                                                                                                                                                                                       ,., -:.-.~;..
                                                                                                                                                                                                                                                                                                                 '   .y
                                                                                                                                                                                                                                                                                                                                •r.'~.•:S
                                                                                                                                                                                                                                                                                                                            ~:.-~...-'.:..~
                                                                                                                                                                                                                                                                                                                                 ,.-r.•✓     :~
                                                                                                                                                                                                                                                                                                                                               "',
                                                                                                                                                                                                                                                                                                                                                               ,_.;~._s,-•."'3'r,'...`.
                                                                                                                                                                   , .*~, we                                               ~ ,•—                                                    ~ ,.~-~.,.~•                                                             =          •~;e~.•~,,.
    •                                                                                                                                             ~•a _"`-        <,.. ~ 1                                                                 esc ' =c,c.'-,:..s.-@'.,,a,•°                             ~ ~'_.Y,;^.«-
                                                                                                                                                                                                                                                                                                  .~..~''~-
                                                                                                                                                                                                                                                                                                                                       ~"~„~-_i     ~•..- ' g.. ..y;+; ;r
                                                                                                                                                                                                                                                                                                                                                              s^~sz`...~.^-
    'k                                                                                                                                           ~..~~,f;;-:3' _ _ .'.                                                     ,`-'_~'  ~~':;=`~:  a,~'rR,..      '~'•-`~•,~ ~x,;_„ ~'~'•T'rz
                                                                                                                                                                                                                                                                      „r,,~~~~'.~-+'a~:i ~''~~
                                                                                                                                                                                                                                                                                                                   '..~,;~'--:`~":__}•.`.~.'~.;.R';~..v.`a'
                                                                                                                                                                                                                                             '.,•r
                                                                                                                                                                                                                                                 , ~;          :~LY~      T
                                                                                                                                                                                                                                                             ,_~. iaa~ ,_ ,f•<,~',:  `:~.~'                             ✓-!':W:;~,~r                                                  .
    +s                                                                                                                                             :a I:f3             :~                                                  a'~,'•c~..                                                                ~}"?~:                ~:^`~•.,c4'".:"r''-
                                                                                                                                                                                                                                                                                                                                          ,     ;~''         =.,G~  ,.             ;+.'
                                                                                                                                                                                                                                                                                                                                                                              _~•...
                                                                                                                                                                                                                           :s                                                                __                 a^-•                   •e:";,...•~••_r
                     .                                                                                                          .                       r,            .~ 1                                                 +{:..2-' •o-'~ .~-.    ~Y~w~•.:~;:,~;~'  <                       'r" x"'..-~'--s~~:~,~     '•"    '        •"        rr~c;            ~  ::~.
                                                                                                                                            '         ~~~                .~:F,                                             r.-:   ~, w_ o_--            -':"s-3~"'-~~''''~'- "`~-'vR: - v9 . ••~,~.,
    ~
    &                        I                                                                                                                                    g                                                         Y:,                wr  ~.~                       ~+'a~'~!FyI"r~=:,
                                                                                                                                                                                                                                                                                 cr~v.~~~e;, s~.-
                                                                                                                                                                                                                                                                               <~~"                   y`~45.        '~•'~.-trt:';("
                                                                                                                                                                                                                                                                                                               . a+..
                                                                                                                                                                                                                                                                                                                                      ~~.~.,~a •_ '
                                                                                                                                                                                                                                                                                                                                                             ~.{,.;_-,,;~r,
    ~                                                                                                          -z                                               - @'.'   •~~'                                               :F~,«.:~"''r'•s+'•=~_ w-;.~~''•'a•  r:t~^?^°"~..~_
                                                                                                                                                                                                                                                                             1                               '^.:...~<,+                 '~r.•'::•_•..,,
                                                                                                                                                                                                                                                                                                                                                ~_.^ -
                                                                          . .,                             .                 -..                 '          '„_        ,i~~x•                                                                                             ?:.-'`r.`•~    =.~F-'•'
                                                                                                                                                                                                                                                                                             •r~                     s'-•r.,^ a`c           '~'"`      rp.,a. ','.i..-.+ -
     'q                                                                                                                                                           f         ~•~~`Z'..,                                      "`            ✓         is.-'
                                                                                                                                                                                                                            Y^'yb ':.:_ . sr'j..y~:,4i 3,::' . •Ci==•4•i                           •        ^v ~",f,               , ;•,
                                                                                                                                                                                                                                                                                                                                    ..
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s._ ~'Y~l~~~;.'~~ _a.•, ._,_~_>v..r'a,w.~t~.'Tt_;~~' .•.i .il'zw'r~'~.`"•




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                                                                                                                                                                                                                                                       .:~.~"_'-                ~ ~
                                                                                                                                                                                                                                                  :+"•;t       .~.,
                                                                                                                                                 _                               ,,1,'.~f~'               ~'             ~ r_               ., •L'„m:i         ^ 'S1~ ' - .A
                                                                                                                                                   •-                   i~,rY'-("    FY;'~•• i .=`
                                                                                                                                                                                                 ` -.+r} ~•r ti 'Th̀"     • y .'.y' i ~ .. )~ +41~' M1a^+~~e^'
                                                                                                                     ..._._.                               • .•.: ' , i ~'                      ``.'~                  ' ``                                                     ~w. .
                                                                                                                                                                                                                                                                          M1~.'_}..•
                            —'--               a`.--=...:_.~ ... _ _.• _.>a+..                                                                                                                                               ~ J ' : i"d.•i,..,¢• ' _ . •''
                                                                                                                                         ~ ;'.y~.            ~;+'..:~y.,'~  •-r•~•~~',-Y."+'t
                                                                                                                                                                            ,.                         ~     t:.=S;r~`.~,
                                                                                                                                                                                             ,.'~~_`.~,.. : t•.-'                                   L.:.~1f1- '• ,~1-^,~`-
                                                                                                                                                                                                                                   :.,~,e''`t':.'~_.S:,~c.i>:~Y.
    '           -'- -                                                                                                                                                 ~.-a• -•..a y~y.z -..                                                                                u~'~r~
                                                                                                                                                                                                                                                                            S_•
                                                                                                                                                 _              '~~E'~~~7                                               "aciy+;~•.;~~,•"-'c:.•.:•.'Lr.•~v :,~
                                                                                                                                        ! s            :         t"~
                                                                                                                                                                   '-..r~' •-~~5. "1--.~.—.~_:~"'.                                            • ' ': :i, - ~r-''~~:               ~i
                                                                                                                                         1'•i.•'~~ 'xY.'
                                                                                                                                                             ,,.a`
                                                                                                                                                                 :               •~ : •~-:'•. •;"a;•          ,             .wW -••:
                                                                                                                                                                                                                                   n :J.:      ~~     4-         ".'y.;~,.•      :c
                                                                                                                                                         ,•~~~,.~.,:y:      ;'•'~    - : , ..,~~;_• ; __.,:                                 +t            •~~-• ,n:. ;.• ,+t
                                                                                                                                                         ,pf'
                                                                                                                                          , '-:.l;';• ^1" l:~G£,                           r=`i' -                  ' .{=.^~.'M,y,t,'y;                        ri,•.~:
                                                                                                                                                                                                                                                                   .. .:t.
                                                                                                                                                                                         • .. ~
                                                                                                                                                                                                    ...'n_1•-.       .';l~.. . ~ ~Y. :.a."~^e~l..     . ~.t l ,,,~~','e•.ai ~r-..
                                                                                                                                                 ,J .~,' ,.          ,' i' •:=.             ~cu:i~                                      .    ~
                                                                                                                                                                                                                                        •'"'~•-.     -..
                                                                                                                                                                            .     ~.}:z7„
                                                                                                                                          •.7~r .:.`' • •_ : •m ysl._s .' ~ . i --•m.~-:~~~             _•l,  ;          :'    h:~ , h - o—      .Jl        ~,•~.~,.' ' ~ ;:ln
                                                                                                                                         /~, 7•~ •                   !~ •.:~MM1 ...                    ' ,,^.:.'.v..~',,i
                                                                                                                                                                                     ~                           ,•
                                                                                                                                                                                                           •.~'. .i. _-~t •.C_: ' .               ~f,~ii;.:~!"    <S~,' ]~',1•f.•
                                                                                                                                                                                                                                                                               "1~
                                                                                                                                                          -.f-'                   li+T,.'e~tY                                                        i:• fi; F..lf f ,l~-.
                                                               ~~=n~.                .~,.                                                             ~`4+ l l,
                                                                                                                                                  ,'J'~                               e~
                                                                                                                                                                                                               ia•' ~^ 6`fi~..
                                                                                                                                                                                                     '~i']r'S~4'~C}.
                                                                                                                                         ... _. . • ',^~~         .._._,,.'.'                                                 ~~~
                                                                                                                                                                                    -kr:_... _'•r.'~.,•7i+;;:~'~._.,_.,' ;'~_.~~:;,:
                                                                                                                                                                            ~ ~>•rt•-                                                    SJ       ~~~~1~~ .1•.Y;':i~~.-
                                                                                                                                                                                                                                                              I
                                                                            ~
        -, :                        '                                        •t5~..'.•- _
                                        •




         ,~'~Jy'-   ~=•'''~                                                         ✓:..`_     ., ~`       Z-I
                                                         • '                , ~'~, `~':%
        i       .~•'•       ~-''                          +~                               ,,M., -.;: '•:'~.~
          ga'•'"'°~~ '~,                                                 ~
                                                                         ~.~-               .r•~•,` -• : " '        '~
                -~•,,~   ,~`1                                                          , `'`:'~=•~=*   ~`~'''~;:•..:,p
               ~r`~' 1 ~                                                           •a~ ~~~~,`~::._ -+ r-,•,:
        '           ~     k                                                           '~'' ._~~?R,.:, " l~•':.
                                                                                     F• ,~".w`: ""l~••~_~';~.
                       ~                                                                                      p;.: ,•                                                                                     w•i-. ~.._.
                                                                                                                                                                                                          .~                          .~'\ ' -~
        /                       s` /,~                                        ~•F';'~ ; ;,',•.: ....,~,'~.~~~_ °:c.                                                                                       .~,~_-`i •-,, r :t~F~                 r.
            .,:•              '~t i ~."-                                r;• "F            ~rj,::~;;~~, ...;'-
                                                                      ,/                                   ti ~_.
                                                                                                               y •. ..:,c:.
                -.F'
                     .~-• •r•.                                      ..~
                                                                   /l,       '.`~
                                                                                ~
                                                             ~':                W                 ~            t5•
                                                                                                                 N:.'.4'q{.
                                                                                                  .: , S.:.L .-~[:'..,_.,.y,•`
            .b7~`wP..ISff . t . a                             _~,k.
                                                                                               : h ~. n~~l'.Y
        '           4••,a a ~`.•~'                  q' :T ^"r: ~'~           y.. : ;   •. {
                                                                          ~ ..t.6.`"•'~~ Yz,'~Ji+
                                                                                                  •l•.`Q'~.:~ i
                'q'''         "•4i ".^ ,.".~'bc•
                '       ~;'~='1'r.Y ,•~  ~;•i;~••'                        ~ ~ t.;,.5~ ',', ' ;..'•~7f• : •C~~~
         .rTaYJ~, '.          ' •:''~?-` _a•.,.'~r.-''i,~.•~`'~,'~
                            .,~,                            r'~". "•`~,~„s=~•`''Py Cfy+Y~
                                                                                      ,•~,S r ~~= .•
                                                                                          ,.' r i,'• .'4.
        .~ .9• t: ` ;. ;'•.
        .:.ar           i~~~: , ~~.•~~: r :1~ Y ..t .~
                            <<~"••`     4''~.u,'.a,..•,7;~•-,r".;
                                                                      _"ra.
                                                                     :,          r.
                                                                                   •         ~; ~
                                                                             -?               :;- •^ArY
                                                                                                    •   ,.
        ~;;ta=~ .:^j.=~J,-•~:.;.;~,:• ';}^S~::r.`;;" ~•                         •a`~~',~~ '`. ~..                              t
        r             . .—._.~~-. 4>1S-., n,'-, ...,_          . •y'f             : .15'::r' . . • ':1Hi                       ~




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                               ~~...~_:, - ' !'.nri.:.a',''.~:.n~_:.^'S,<.~:".!` h•„-_Gi-
~ t~        ' f':: '_ 'y
                      ~-r'   ~~ _     -f,            °'•fn!''..4.;-~,. ,        r, ~ -:' sL,~.
                 -_    ..:,:
                        • 1:,      .- .: .~` -:-.~~_ ,~~•.            . y:,:: ~,-.~       :'f'F_..
                              ~::~.:~`''"      ~~:;:r=':;',:~:~:~_   • -...,•:,   , _ ,;,~r'-
        '              ~~•.1~~1
                    _`2 R 1- ST _~y   .i.F':'.~   ,
                                                              :%".~
                                                                 ;' r.f v ~_
                                                                                ~!:P...'.      -
                                                                                                            ••1
 .              :
                                                                                            ~.     •~~~x~s
                                                                   -             •                                         --~~


i~.:.:~ Y ' - .. ~'. ~                                                           .ti • • . ..•.
 a+                                      ..r.:.,-~~ •       i~!-.x •'1~ ~ . { ~.~~.
        *'?"c-.~'-J' "r,~'i1}~ , ~ ~'               r_. ~, ~
                                                           f r-  ~~;', ~~~`~~?T+~'     z~'~r•-" •
                                      .S` - =-'                      'y•~-~`             ^_-
                                                                               s.s=.~a«,urd-
                                                                                 '         :`
.:~a
. d ~,~r~'' ,4 ,. r.~~.>r " i..^w+     -s                   C ...~-.- • ' -. '~'f.,'~k.^`.F
                                             '>~*.;,,'*.+_i'-~•r'
                                            ',i*   ,•
         ..            . _i:"..:~f'j?~            %              ~'.~~Y:~':'a,      ,~r __
  . .-~ ~. .~.'_-.+r    ~..x;~w•::r .: 'fii•`• .,~a:,~.M::r         _'":  ±4,;~, ~•         ,
       .           ,               ~          .~, -=.. T.. ::r.". ...:,,,ir .;#^~      x•.~::
~~~~
   ,!} ,
 "'T~~~
    ~y
           ..~':~•~~. .r~ ~V_..~ki~~
                  •:~..,.  ..`.       • ~!~+`' f: •^^".::.<'" ..fy.,'"i.:i•., _ -M:• '.5.
~;                                 .'•;i          -L~'~•",'.`,]::4 = '.•. .:-v_i +.         „
       ~ Y '.y~         .~ ' ' -:~~.~. .: T'r• -           _   _•         . ,..
~        .                                    ~ ~
                     ?';+~„~'".3:s. ,:,5. , Tfe.•ii•.~v"          ~,n.ill
                                                                                     t...-,•.
                                                                             y. •fT_s •y1=
                                                                                                                           F:h.
                                                                                                                             el.y
                         e.'•.? r i~~:  ti      yYi4.•:.,y.~ ~ia',"''~~',i::~e~'. ~ j~ =••,,                               _
     ?,~:'I ~.'.~~•. j~
 .,_~._'.~v`1's.'s:a1!,~~~a,i.~.+:.~,;.tg.::..+•?--_A~3..~rx{.-'•.s~r, d;':'j.'-l;~Ti~`..                                        ~.




                    .,.a_ _~_---                    ..,•,.,F,•--                 __ : :;1:-, ~' -,.:~:15_..~-..t'+.:._a
                                                                                                                     :~ti~`
                    .`.~.r~'y.                                                       '"..~ ' ,}
                               ~`.~"~'_'_ai.Ar'V
                                '                    ''~~`.',•.'!:~•Ti~':'".t•i.        I ~::'-~'~i~~'
                                                                                                    y:n
                                                                                                     •r -~•~
                                                                       .~i'%~:-_y..
                        •~ . .'J.yj!~` ,~Y'
                    fJ~.a~                      h-'^  "1i~~~         ,                    ~s.         4.
                                                                ~. ~~„' ,~
                          -~e.'_,;'~.~e:;.+.•,.~- • ~,.k1_ ..:f.c.?       ;_ .. `''    tl:,-'•..:~'}yC. ='
                                                                                • - t',~
                                                                                  -y~ : A.•~y~'~ _
                          _1.1.,   ~•'Ycv.C;                                                                    t.~..
                                           ~ "KM~}
                                                 ~,:~+'
                                                   ,    +~ v '
                                                                                             ` ,,-~    ~'~.~-i            r.
                               '+o ,_,}~°r.' "- ~ . _ Y`~•
                          ,-n. S' .~_.~
                                   '           ~     ~
                                                                             ,~,-'T••'_ iw+..~+.~.'s
                                                                                              _ _ ,.~,.•,.e4T_  ~:'~~~
                                                                    ~.~.    l.,~",-.                                     r,{
                     -- ~ "'ti.:-..,a5       ,~..•:,•~....~.'_~ • Aa.z:TS~;,
                                        •-Y."1                                             =~~' ""~~~...._-.y~.
                    ': ?'-`.:~~:~~:R;~„?r°                              -             "..ryi. :C;.`•~_~Ỳ,
                    ,.~ .n.t%.~j~,::i.:~i~''~~'~°?m~=~~;'i',l;'~:,,•''.'
                                                        r~,~i4s, ....r.,a:.iic'_ads_:~~:_..         ~; , `_~s`1.:,.,•
                    ~*-,w-•n.,+•,-                                                                     ; ~•`     `....;-'x
                                                                                                         "~°tG! ,'2i"•:T~•
                                             T•(!rc;*~~~f •.- r..r'..,-
                                                                  .~e.
                                                                      .r.'•'.".:j!v^~r.'~,.:4'y:~.-'.               , . .
                    :1?~t p`• '
                    .e!i=`i~'   ::'2LF
                                     ,
                                         ~.~
                                         _ f:'%n'Lp      ?.•~•`i=..~}~
                                                             ,.•,~~.      ~y;+:.1 f%.. . ...` f:-•s.~~
                                                                                 'T,;        - ... ~5'
                                                                                                                  , `,,.`.
                                                                                                                       ,~.
                     .~ .~.:'z•..
                    :~~'r •i~,.
                              s:".,.vs•
                                                , ,',.T.:                w u...64~
                                                                                 -
                                                                      :et,r.,hr.a,           ^~~  r.~.<~Y+^,.r^.-e~,`'~f
                         RR         1i:l:~r;•   +.T...i~•.L_-,"A.                   'r+;h
                                                                                 ..';: r
                                                                          •A^^e.'~           ~~( ~~s.—              J...'~
                    ..i~~       :l ~+.          ~ {il .       '~
                    .     ~~-_'. ,~R          1_f .-~'. ~"' ~i4~:'i++: •.I`~ }                    N ~~~`~.yJ^' ,j`
                                                          M1._
                                        • .1G4.                       ' . _. ti 'S       ~t; , ~-'. m,,,1,2 i'         S
                       : 2'=ir,~h.~'
                     . '      }•.e-•
                                         ""~r.~S~7~'   7+.'r3:.'~id~~ ..Y-..
                                                       . f.a
                                                                               ~r~._~~S:~r''iG:.   ,
                    }r~.               f~
                                                 -•,' -_'~'~.'.~
                                ~}~~.~~,~d~_-`i,,..~f
                                                4 '`             :•:~:• .[` '~~J _"'.ti :..-
                                                                          • :~i~.:
                                                                                           ~•
                                                                                     :s•-' ...•Sr~''~;ty~~.
                       x:;i•'!."T'ia,"                   ~-a.T''n`-,. Y         •,i.,*,.~,.~.-                _.a         ?
                                  3 '.j~j,~...v'~ +j + '.1•~.. '                                       w:.lf'a.}~!y~ ~',.
                    '~ai~p~„,"~i
                              i F . ~j l~=•..~`:{'AG,.~~:~:'(w,Y :~.`::1i.~'Y=i'`"~~:.:~
                                                                     rr^~...~...~     i `           1 F.'-...h.'n
                                                                                              ,' }+'r         '° '
                    ~.~` • '•A'~                        } , cStt•L'i~:~w.•=
                                                      4.•`—...
                                 ~~'C'..~•`~y:-~:',,~~..                                       't'i.t+`..'••.t'~"
                                                                                      7 t~ ::,..
                                                                                  .,r'^~:'i
                                                          _
                    ....•-,,.:''7~,l::_.'•s~..       ..s~' .iF.            ~'.ME2%~uh•~4.._. _~•P'.. .• . .
                                                                                                                     -.~_- _ _.




                                                    f ~l'.v~'                         e'✓',i+~/i    r.'
                                                                                                                             _        -                  ~y+~f^
                                                                                                                                                J .-Y ,~~T~            ~       -_   .        -   _.,C:~i,
                          1`~"`v.M1e'~~L~,`'y~''hf"T                                                                                                 " . `
                          --,~~~-+•f'~ ~        :~-.,~~'?~'                    f...~_ t+•
                                                                                       ~~t~i~'.?._', ^•-fi~%~i..   '"i,`...
                                                                                                        .._..fM1. ~~^~i...
                                                                                           ui ; _~..„; "l~',::..
                                                                                                                                                '•~G:.::"'.i•+•'                      •• ,.• ~t
                                                                                                                                                                                             = ry~
                          ft~.. t.'S:r`                              tg"+r.. ^~`'.:                                                                       N,,;~•~,,:~{ ••~`
                                                                                                                                                                        .
                                         i~
                                      'w~i'1:.`,1
                                                                                                                                                                 ti+=~                          ~
                                              _ ~'.i..lef..
                                                    t<.q i~irvrciL',                   . . r.', ~' .. ;_<., ',f.: .
                                                                                                                        .                         :ai,i%:#.•                        .`~   ,
                                    /
                                                                ^y,.tYt
                                                                     r,.•           , ..-.i
                                         "~-:'#~:,.'2~'r:strls                                                                                                                         Y      ~h
                          ~ `l+r~`'~i:~~;'                                        ,.~ •, ,°'`', .", .... ,
                          +~J';yu~.pK:;!~~~y'''i'?.'f~f~^_~'a •~':Sr~.,~'•~." ,r_
                          ;A~                                                        ,• ,          +    +r_                                            '       '
                                                                                                                                                   .                                '            .,  Y
                          5,•r.~
                              ,deu:,s: . V,`._=s'P-:,::~=,w%;  n_~,~[~y~~       ~;.:.::;+•_;:~
                                                                       ~. ~`r3%r.             :l=~"••
                                                                                                  .i~ ~'o-                                                                              -         , .
                                      '✓.L•~?"4'           t{s  •ti'
                                                                 E'::S'
                                                                              '
                                                                              +K,~~'S~4'' :           •' .                                         .

                                                                                                                                                                   .       .            ..
                          '         '           •          ,i;T~r~C~r'~;, ~'.:
                                                       ~ •~~'                                                       -                 -'          .        .
                                                                                                                                                         '-t~'y.;~r
                                                                                                                                                                                                      ..
                                            '
                                                             F:          __ : 't .. .`j,:~ .r':
                                                        ' ~>~, ~ . -- f •:f~v                                           •
                                                                                                                                    ,
                                                                                                                                  •. i
                                                                                                                                                •~ "~m~r•-
                                                                                                                                                    .
                                                                                                                                                             "G~:us.   • ..                  _
                                                               I.' '.. ,                 ~ ~-                       ] .•,.                      ry:i':^`~.r
                                                                                                                                                      _    !}~. m. } hyw .;                       .        .
                                                                                                                                      _         a'';i ~'{F~•fi:~:~.'~~•;`r~iq_'         .
                                     ~                    ~        '.w;`        ,'.il'. .       ..                 .. ~;.

                                          y,~     •          `                       '•'~                         ~T'.~;          • ,..:        -:~:w  •~,~' "'.~'~' _~.. r
                                                                                                                                                                      wy~''::1..
                                          q~•,~y.. •,                  •
                                                                       _     •              .         '\•
                                                                                                                  :.i :.            a.             '`=:i'~,~.:i"._',
                                                                                                                                                   x^~       x;?~:~: i ~:




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't-',\•~`', .c^ ;~~.i .-~                                                                                                                                                . : yc. _~,+~ :
                                                                                                                                                                   (-.,,,,~.
                         j•~"•':'''L~                           7• r`                                                                                                                                                        ~y,s,:j_         t~ .. -
    ~.~=~                                '                 . J'                                                                                                                                       ~..r~
     •                                                ,i          _                            _                                                               ~                           ..           - ~;_•               •                _                                                                      -                                                                            -~ ' ~ -
     _ a~                           `                                                                  ;,,_.,
                                                                                                           •
                                                                                                                                                                                 .                                                 ~''`.'g'_=~;'
                       w
                                        ~ ;,~
                                                                                                            Y'                                                                                                                                    -             -•          - -r e . = ~                       '" • -
                                                                                                                                                                                         • :~i                   -•
                                                                                                                                                                                                                                                 -`                                   --_.                      ~          . :
 -y~~;`. -.y~                                         .                 . -                            . _.                         c~f-~~                •r,,,^~                                                            '•i,•",'•                 .t:•_ .'a .                                ~
                                                                                                                                                                                                         -                    _, j'- .,s~4~                                                                    J   - '  " "`+•
                                                                                                                                                                                                                                                                 '~+!;._ ~            •` ^;,•             '-
         '-y-!C2.'~                                    •                                                   .                        ' ~ t ,                             •            ~    ~              .           .
                                                                                                                                                                                                             ~~•.                                                                          `±      _       `r~        _   _
                                                                                                       ' ::                       :.a~, .'.                                               -                                  ~ r~° ¢ V              -`            .:;^sw: •          '~.
     ~~                             ~                                              j-                                                                   -.'r = '"e-.,                                                                  ~' • '.~e~ •           ~~~ "=; s '','.'~ ~'• .-; :, r~t',̀.• .,; :.•
                                                                                                                                                                                                                                                        ".,`_ ,.>;;,                                                 ;_
.                                   ~                              ~~~~- • '~                                                 : ~                                           s„                                                   "~                                             ,       ~;            ~i.w. . _ .^;.;,~•.~;.
                                                                                                                                                                                                                                                                                                                  ~- ~        ;.
                       fJ                                                                                                     fw              : 7 -~~                                ~           „       f •c•
                                                                                                                                                                                                                                              ~
                                                                                                                                                                                                                                                   __`>-~-~                     F, •'•~=
                                                                                                                                                                                                                                                                                      , r•~ `.v:~-:    ~;_~w:-'• ~ ~ ~:~~~: ~;~; : ._
                                                                                                                                                                                                                                                                                           _''•i"".. ' ' ~~~ ' 'iti`      ,x? ~ 7 ~~\..'
                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                                                     `..          :.            ,~
             .. _ .. •_ :a
                         ~...r ~,:
                            . _
                                                                                                   ~!4
                                                                                               ...9~                          L`El •         ~,o /?~
                                                                                                                                                          _
                                                                                                                                                                                                       1                             .y'C.                . ^i' ~ ;•t."jc.4 r''""`:..'                          ,1    ^ •    ~}   ~A._.'t '~;y,w•'. ~ `                           ~~~••~j,,;•'w`.~f
                                _                                                                                                       _i                ^                                                                  .                                     . •~~~+                   ~                                                   e.?r                                          •-`.            '~
                                  i                                                                                                                                                                                                                                                         :~'    t~~.~~                                                                                                      •.
~~„--',~~„~:.~                                                                                                                                                                                                                                                                                                       ;';•.~                                        .:~,i~~~`               •S~ ; .,,•'
                                                                                                                                                                                                                 ^._                      .               .                ,~^ ~             -,y_                    .     a      ,.,4~•                           „a
                                                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                     ~
                                                                                                                                                                                                                                                                                t.                     ' ~`,i,.
                                                                                                                                                                                                                                 s            .                                           '-~;• -~~             •i, y .
                                                                                                                                                                                                                                                                                                 ;r•~'t~' ~.•_};7:'                        -     . .           ?'~`-.`'•,i. ~                  `di+,;-et';:
                                                                                ~:;~.~~•~~'~°`~~.`                                                                                                     t ~'.~`:                        =~-• '                          ,          _         ._r        -' ' ~~t~:;.
                                                                                                                                                                                                                                                                                                  _ - y_`.   -
                                                                                                                                                                                                                                                                                                                     - ,~".: ",_ '~ ~,~~. ;~,-
                                                                                                                                                                                                                                                                                                               -    . ~,''_~•,.Y•Y  • l.   .'. I e,'_.n:
                                                                                                                                                                                                                                                                                                                                                  f~i
                                                                                                                                                                                                                                                            '                             } •             ~•     ",              ..5~ - ~ •~,^
                                                                                                                                                                                                                                                                                   _ •_•`.t               '     ^- .11:
                                                                                                                                                                                                                                                                                                                      -',       :~      - ,'     ''d -          {"~',
                                                                                                                                                                                                                                                                                  -                                                      , •?`~'d,'
                                                                                                                                                                                                                                                          t,t 1Y•                             -            / . i`"~ \ -'.t `' 'y •'                     i 1'.`^
                                                                                                                                                                                                                                                                                                                                                               ~k • _
                                                                                                                                                                                                                                    n' • '                                           ~.• •~~        .••       ~:1•„ t ~,~"          ~ "~'.4j        :':*~^,'•,        •
                                                                                                                                                                                                                                             r                 y                      r: _t'v'.~•~,~l:4,a.... a'.,A,   '.y,~a. `~3'i..:::'- , ,    ',. y
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Case 1:23-cv-00041                                                                                                     Document 1-2                                                                                       Filed 06/20/23                            Page 11 of 161 PageID #: 153
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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Roof-Debris Strike




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Roof-Debris Strike




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLING
                                                                                Building A Units 1-4 & 5-8
                                                                       Tags: Roof-Debris Strike




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                                                                               Building A Units 1-4 & 5-8
                                                                      Tags; Roof-DebrisStrike




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                                                                                Building A Units 1-4 & 5-8
                                                                       Tags; Roof-Debris Strike




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          H"'Y~., #                                                                                                                                                                                                              +`k' ~•~~
                                             ~ a C'~ Y . YN~',~~>•`                                                                       •l.~                                               ~. ~yF~tf.J      ~          ~~.yv "~' 7•e Z
                                                                                                                                                                                               L C
. ~                                        'i• '                                                                                           \, ti.                      Y'Y°~.Y.            ,      H      Y' ,T~:         A1Y i .     y rY~
                                                                                                                                                                                                                                   Y'S'
                                                                                                                                                                           .i....t~                    J4y,ti p S                         K           c #~'$.rFA - r.
SJ                                                          .                                    ~ •^a
                                                                                                    t
                                                                                                       ~~
                                                                                                                                                      z
                                                                                                                                                                  xf                       :~           I     t•y{~~                    s£ .          `~ 3     .s~. .r'v
                                                                                                              vr,
                                                                                                                                                                               . t ~`•                 }a~                             t~~ {~ ~Aer..~ k Y~rs~
                                                                                                                                                                                                                              ~,~ y ~ug+^~
                                                                                                                  ,.                              3e..                 S+S. -                      aY, r v.                                     •.'S'     -:
                                                                                                                                                                                                                                         h             r
                                                                                                                                                                                                                      s                 't~               ~'        ~
                                                                                                                                                                       ~
                                                . i-                    ,,                                                                    , x                                                                                                               s•rk x NU
                                                                                                                                                  ,             ='✓          ~        14t.            • ~'ectt
                                                                                                                                                                                              s:"a,Y: •:                 ~,
                                                                                                                                                                                                                    -.:8',_.~~:'.
      }~                           .                                                             .#•'•'                                                       '    -• ~aa
                                                                                                                                                                       t?3"`             \     ~: Y ~ 1 _ a•r,2'
  ~ _•.                                                                  -                                                                                    ``,     :.•,r".- ; ,;~Y' = a._~ R=%.~i..:",w?~. ,~z`__ ~:~"
  •~                                                                                                                                                          ..;  :-~.,          ,.. .~`..             _+L-_1~". L•.x.`s.
Y•.                       .                                                  .                   .- y,' .                                                                .t•..8 µ',~'.^ + ..~_           ' •. ~'',.;fy~rt."y+..^
                         5 'y                                                                                                                                                                       •
                                   • :s a.,                                                      e.5 ' . -                                                                                 .,  y*• q'Li=s•.( ~~ ~ '~        ~„
          .                        •                                                                                                                                                                                                 ~ !                                  ,~y-r
                        .          '                            ^                            . `{                                                                           ~a
                                                                                                                                                                           .p' ~                                      ~7 }                ~ ~ .~      S ~iLt E•~,'
                                                                                                                                                                                                                                                                  w ,•y    y ,y+
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 •~ _    ~ .. - - ~,                                            '                -                                                                                       ...:                                                          a. . ••~.r f.'^ _z~{r~.ei
                                                                                                                                                                                                                                                                 #
   :,_. ! ~          ,                                              '                .               ".                       .               • .                      ._'~''.                                                ,f.'•''alWf-+` .•~ea'.i\r.ti=~~+'




                              Case 1:23-cv-00041                                                                                                                                                       Document 1-2                                                        Filed 06/20/23   Page 30 of 161 PageID #: 172
"~''.c; d f.f~~'~'`.~,-.;'•~:;_}j:} •~ ~;r:a-~l
~;?-.~r.        • ^:.-..                      i
                                    \?, 1'l^~

                                                               •iW




  w.•,~.~                                         _;.,.,.          -» .                    --,~-,'h.;,~:..,,~_.r~.,~:.~.>~


                                                                                                                                                    ~ A,~.
                                                                                                                                                      N
                                         : .. :; i ».:                                                                    .::t 1~'d ",~,
                                                                                                                     :, ;~~"`~
                                                                                                 ~• •_ ,~;,~ '~.•,• ,~.;:;              Y: ,
                                                                                                                                                 ^i,
  , ~ `-4;                                                             ' t             -2r~~;_'~'~~r;~~~
    . ..,~                       -        • ~'-         .r' '~' ~~ j              _
                                                                                  ~;.'^w,x;"=<'               ~ $ .s,~v.;s. ~.h <,tt~-
                                                                                                 r~~`t t,;.C,$3`                              y~~~~Qs
      •                                                                                  . i.*s.      ~, S,  ,.~ $ .  cr       S_..,':.     'itr      ~
         y. ~                                                  _,'                   +.,;~`.~ •~~:v G.-;='            t•~'--,r~s fi."
                           •                                   ,. i~                       ~"=~~ n' t r.«j ~            ,.,.~•..i o~,;t`la~ -
                                                                                                                      f~x~"_aY~1F ?-.P~%.6l~'.::r Z
                                                                                                                                                    1
        .N.         f                              ~i~::'"~~~~~~ 1~
                                                  ,:~~';i°':       t'
                                                                              .
                                                                                   .'- ~'t%;5~,'4'>~.;1"t.`'.~
                                                                                        !,l._':~.,~ r~: ~~           ;~,'~:~.°~~r,~Y~.;~ya         ~.
   :i`t~ i                                                                    ::ix . ~   ,x„ f,•~.F,.;.t'.~          ,~6~=t't~;   t.r.:._„~~5c",
   }.tc•
                =
                            -        . ~. ~ r. ._-.1~.~ rr                   .~. .ir~~~~ ~` ~~..~t,~1       ~9y                           ~i. •         f-!;°'^i~i
                                                                                                                           a~'~f.~ ~          "
  'Y        '              . ~         +~:,~•} ^. ~.                             -a~'.h•   t     .        ~k             'h.'. `v.i 4+''Yis".\..
                                                                                                                             ..           .. ~...~
  ~                     s, t ~          ,~~-. t-' ,%~,          It •         +{ •7       4 1' i.~~e:~V k~1 j} .~
                                                                                         ~::.                         1;                  e,~.'..jT''~ ~y•y„ ,'
        `                            -     .`4 i ~'; r •.'".J.
                                                            r~• i            7'6:i: 1~.^       , 1~~.L.~~"..,-~
                                                                                                            ~~.urt                      ~            E:
  ~                                  _• ~ ~YA~.'" '~.. ~ ~ .                 (:•.'✓..-i~~r-~x                                   '~[%4?~...~~,V~t                 ar
        }           .. •.k~
                         f . '::s.".t~J.:'":'''•i,
                                                                                    F•t ' ~1~'~Yt~S~."                ~ ~:y_..i•
                                                                                                                           Y~          ,~Y , ~ '
                                                                               Ji,. ~.'^:~~+t~'
                                                                                             . i%"                     ~ Tzi          j r~g..
                                                                                                                                ,.`~r•'
   ..               ~•I•.~.""'"~"~~'~•;:_4~~ .. ~'-~~..:i~~~-~'~:-~~.Sax'~~tFd•~~-..'P~~t~Y~~'~~4k'~




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    ; •t. y •~;~/i =. =f ~' ~ ,+s~ _ ':'1: +: ._._ ~~ _ , ; `~~.0••sL~
'.:~i "~F •
             j~..,S-~•~,  l ..;.     _ ',`t l-_y ~. vY:' : a..,-~: •i ;~:J'?'ri~':    . • :,4.v,,,~~.
                                                                                               /
i~~..v
    ;.          ..yey,...                    •      . . r..4 •~... . •••yTL' 13 . !-.'„~
                                           tiv~' :.cY
                                                          ':.r•/°-~FE-t2'~r~lC:"'7•        .•'{."=~^~
 F ,;_
  ~R
      '•r~ •-i•.s"                              ~;-5!..1~,'._' •.+:R„_:Cli-;{<::~;;ti'•i
                  ...•,,,,,,.., "             ._a.^~o...,•~..,_ --                `          • 'k"""
                                     •^-~~       :.w:.: a.~•~~~.`.'^•--..k,-~-i'~                     :
             -                     : Jf                               i{~~'r .~l
 ' • ' {                         '       1.        • ,                  (o            ?_         `i. ~ ,    ~
                                                                                                            ' •.'~-:~
                                                                                                                   " ~'.~~ i'.
-.A`°:. .,~ s+                 ,' '~ ~           I             ~:•d         1~, r r.'~ti.' ~ +`g.''.
 • ....                                                                  ~         !G..K   •,.,>}'      -
tt=v
               ~_
              ..,           :~•,7 ~ ~ :.},/ r                 '~      ~~y. ::.i•t.~.•~r`k.
~.:r,,:. ~. 3l~lt':•' ~: !d~ ~r, . ~t •r ` ._. i •~ `~~ . ~                            . 4.
                                                                                  y Y~.q,r3•
                                                                                            a'':I:~`~~.'
   v:. !",,                  jF~k           ' •:l~ R .i~ : +~
                                                     r
                                                                                     F;ti'•~`~• =Y
                                                                                                    ~
F'. -., ~.dyCr; •               :.' "~~' r~:. :`1µ~i:•.~i        ..........
                                                               =1
~:~a•is..•~'k• ~                •,•",~Y,.. ~ f~.y:.''~
~iF.'';.:,,i;a •            J `.~~; '°'i-:.~G ~;;.• +.i .~ v:>~a ~'u ~'s ~
               ;.               :5~... f~~ k.''y~.r:~
~'4 'e. .. _~2~            ~»..                           ~~ { •iY:~ .      :




                                                                   ,~- .-•s,~.~
                         ~, ;                       • F:         t ;:~t    ;i: = ~
               _~: w .~,~,            •~,            .. ., -        ,    ,     ~:•
 ~~                                                                 a~~ ~u<r~t 1 ?.
  ~,f '         '-_:~,F.~ ~                    • F~Ir ~. s~~,~
                                   - .r._,., {~,;r,        ±,.k {••~'~     `',4~jS:r
                                 J
 "k';:        • ~r ~'•     •.r a,~_`         ~~`;``~
                 ~                          I~.                  ~ ~
                                                           ,~••~[•j~
  ~_~      r                                      ,;~:•     + ;~                 ~"; +l•4~
 ~.
 7=°'_..:r
      ~''~i9.:                  ' •~i;<r.~,~?t:ai ,.5•i it ~ ,:~ ~.~•~~~!~~~
                          P•:~, _~•Y                              : ~;.=   e
                           ':_;~e~:,;'~..•~':.q~t'. ,. .~ ~i~t~ 6Y




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!~~_j%'' ~•T,•~~t'1:~=;.`.: '_,;,.~,._`-r" ~-   -
                                            'f :~     ~•~..'4f ..F - ;,'~~'rh:E s "`:.• --,r'"y'-•.~`i-i•.,':~
            ~ N :-~,{;:-•`•
        -_ +';:~,   •.y     . ;i✓          ~ •r• ..
                                      i.._'—        : -,....1}
                                                         .~.s.~e?:i ~.^i~ [~''S`~••'.~...ti.•.a~•
                                                                                         fi~';
                                                                                            y d''ri.rr=l~.          F.~~,.s.i~•.
                                                                                                                       i..t•'..
                                                I[ :' c'•;'s` T'' ~`I.a.'•'..L~•~Y.+~;:'~,^.         ni,•.::n':~_
                                                                                                          i •.,~. `^?.V:".~ C.
          ',r
           : x,~,rv~~ Y:~_=S~..i•s. •.sr•~,i•r•
                                       c            "                         :' ':.._.~v,~:};.:...::;.•r,t;:o, }~:~,•~.•T•
                   . i r..    :;  .
                                r• ,_             .              `
                                                                 „i r
                                                     a•,ti;~-'~ -. `c•'~~'"]s w S'.:%'r             g.` r
                                                                                                        T  :~:='e~e''t
                                                                                                                     ; ;~'•.•sfi,'' :'Y' •
                                                                                                                                   ••
  .a ~ ~ •..ci^         :,7:~"'             ' ^. "x:t:•~,~,-r •'e,,,: "~ •"ti.:~=a.:srri'-'•.. ~. , „ '
                                                                                                                                    ~
  :     -''~^'~                                   .            ~ ~ Y~• ~            sf.             . .z... :              ~      <.       r
                                                              4~~                         +
                                                                          ..}z' ; ~rl~}~tt•;,,,"     , ij ~iaa .r. . iA I a
~r•
  »i~ is~ ''~'~~              .. r : -.1 ~ -t::
                      f • '-'~~              ~f~' , - rt i1J i        y   ;i.~~-e.ss~~%f~~•:.. 1 ~d}• •, :~<
         1
        '1,: ~~': ~~{fh;r-ira ~1. ~{c. " •~;4                  .Y   ~.,~~     ~' ~' r•.;,,~•J.; ~ :,y~;Ei                                       ,.
                                              ~'.,..         '                                                              . ~•.}y •
                                                                                                               ~~~'t '''`!-.,                  •. '.
  '~ ~~ x. ` •.• .                                                 ; ~           r'; '~                                           L.
                                             h •                                                      ::'          ~~~,."'~ .;S
 :<W J'          ~~ `.`,'# ~,~~~ t"-''' J                 ~ ~ 1 u~ ~w~ ~., t'''` ~i 'f 9
'k~                     vj. ~r<
                  ~~~ F~t~
                 ,a:,.,      r    ;~y".~' ( 7:'  ~. .~~~✓
                                                     ~ iz i ~         `~ t`.=°"+~;. . ~nz•,j;Y    s•.       ~k ~~~ `1.»'• ''•-b • '
                                                                                                                                r
                                                                                                                                                   '?.
€`         -~`~•            .,~`3,;.'~iFp;~~;s.,~~'.                                                             `~~`•~.-'~.=.
                                       M:••6~  7~,• : ~ :.            E ~a -~' a
                                                                    ^'~                                                      •'..,~ •~i'.i"i. ~
            ~.'.:`~.      y,~
                  . TI4.i',:¢'i'~       ,'   S,F                                 'S•.u                                   ~
                                                                                                                         1
                           ` •' - .                   ^~Si (          >••~~, ~ ~~~,~J;'h•
                                                                  • ,~.•rN'           .                   ~ ~` u
                                                                                                      f !~-fX[                _ .
                                    :'~ ~~k'y`• ],
~
    >~,   ~,.,}•~
                      ' ~~~:~•_~5~~~.~~'~. ;
               ` r ',s,.                   {
                                     '., 6t:f~.~:5   ";7r
                                                                  :~' s~
                                                                  ~~~~''yc.
                                                                                    ~ ,~~ _ %,~.;~:' ~y~,
                                                                                    .:~'. ~~~+r..~l
                                                                                                     ~..1•.ns: •}
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                                                                                                                             Y~~ _
                                                                                                                                              _     ,•,'.
         ..'~}'" J;?:                                                                                                                               ..
~           . ,~,  ' 3 "T• ~',~" : ~•.f~     t
                                                 ry.•s.
                                      r~'9C*.' .:,'~ ~ ,
                                                               ~' ~`;~c"~.~i ~                  a      ry~'T~ ~ ,,~i.,r'..•;  t        .t• ~.MT-T~ .
~ ~~~s.~,==xi~.',"='=,;,~.~•ct~bii~`;w'.<     I~ •i-~:._.. ;~~ ~~.                                          `'
                                                                                                            x ~-i  r.y,i,:aS               ` ,". . _, •-
              -'~y _~~
    .F.~ E 'e~.               ~~:~,5'."«r.°,t                                                                       t'•"~~`-"`.        }`k f"'~'F
 'f~~` "~F i        "`~^
                   ~:
                         y.`~ x,a     ,~;5~ ~ ~ .~+i."?'i
                        .f..•~.r,'~,.y.
                                                      an`~""
                                                         M' ..• x • .r ;•
                                                                r '~?~                                                                            " 't_~:.~:e~'.
                                                                                                                    ~~...cpA'~~~'_"w... 4 ~t 4 ~":'F.
                  p~a                                         r~',•
                                                    (                                                           ~
                                                                                                                p~6J
                            y,~ ~a            .»"~ ~1..~ ~~~-Aao'S~._                                                ^_'
                                                                                                                                 'i;ii ~. 9 f.t.'" ~'~~'
 >~`~•i'}s`~~ '4~f.:~~..'~3e".9fF'..'.i~a':h=:s~                                                                ~~dt,




                                                                  :r                                ~ • y,1 ..:x                                                 .
~'~q~'.~^                     r•,.                          r+ ;                                       ~                                                         ~
                                                ~'>           ~:                          1
                                                                                                   ,          •.~`~t'                                          ,~,
                                                               J.
: ~      - ^,~~„.~'N•r . ~~
        `~'+;~ , ~,             ~x~'""''a. '~'~A~~F ~ i
                                .~a~:•rg
                                                                                          P a.         ~i
                                                                                                        ~
                                                                                                                   ;' `•
                                                                                                                    b           '~7'                         "~
s~._',~,~                                          .. .•                                   '
                              t~ '~s~~~'a"~                                                                        i~.' ~      -
       Grl~~ #""~
.I'i:`~~           ~    r.~,',•~t;c f~'i~'.:~~-r.. ' ~'~.~                                                  . .      ~- `~•:,~`. ~ :.-': ~              ~ 51 .. .
       's.'A ,`?f v ' Fr ~'t'IM ~ ",.:,1• rs~                                                                1                    ~~
      •~                                      ~, ., L rt,.F .                         >~r
                                             Y                               . u..     SZF'                             ;                  ~-T%s~~.,.~`,.»" -
 Y                                   t~.•+a~;kY ;»-t •~'E^".+• ~re~               ..̀..t.
                                                                                     * 3-.~~                 ~5 '.~                ~    "~;;,,~~'.:s,.       .
      ~~~0^'~s~~'°                  ~
                           aSfl:~Yya.~tse•." • ~; -~ -`::i':.Y{',:.~.~s;;~;~,."%                 •-'~
                                                                                                   "         '~, oi~ r". ~~ ,~ ~.'s: V~'•'
~                                  _ t-~w    nf'_ *a~~:_•'                                          e       , ~. a ~M ~' ~
                                                                                                                                     a
                                                                                                                                                    ' ,~~ -
       ~~
',_ ~'~-~»,.%~".:+-  +~y_ ~.~,i•'.li,~p.•'.J?, `ry              S: ~.y:]:.~~'~p."•¢k
                                                                                   ~,.         ~"~              •.t          »?      • `8-t•~t•~'J} ~~  ~, ; '~;`3
                         ~, y'~",~-:"y5 , 2:~     ~'>> y~             .                                           .              J y.?` {y;.~•'
      ~ ~,y ~, ~ `•,~~~:
   .»~r:kA'.Y~                                 s y ;5   r. . ,.~''N' k~ t'k"'Si'.
                                                               ,~,"                  +'v-d{y.v~•
                                                                             r • ^~~µY     ~N: -a``+;.o~        ~~ ~'.s~^... ~ 3. #M +."`+yy.+-~:~~~  •~'.       ,
 ..• ~•.~~c.     ~'.i_'~-, a~ ^F.•`.taa~+u.'Fl   .•.i~'   k-'~tY{~ 4=~b„./•.~,,,.~~y
                                                                             ~-~+' . w~r~ •"• ~•.!i    ~      • 'f~'`
                                                                                                                  r ~~~.7
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                                                                                                                                1.!~ ~iS`,~4~i`~aT4*'~~~'.
a "y
~      ~~'~                      i         'Y '~','t.' ti:'.~i^~ ._.r' vV,i'                                              }
                                                                                                                            ~~j .£LS  1.' , ^`               ~
                                                                                                                                                  ~"`,r ".h['''9
                                                                                                                                              ~y .}:u".T•..:..`r'
                      nG`~..._-ti`ta                 'l~        •                         j µ                                           t'-f='?'s,:~'.•~
      59.L'3~''
}.,ril 5a„j'p:•"~r~.,'o*•+•~
                                      ~`^J i. °'f:'+ • ~'.: r't~'t • ~.3a ~*~
                                                                              :.' 3{;...,    -~''' wR _           ~à "'b=,':d ~
                                                                                                            . ~~...'\1 IAt                            F,"'"    -~
                                                h... J:,~,~'f -; ,f•r
                                                                                                                                         [
                                                                      _,.M?t:~;;;~`.~~r~`;~                                              b ~
                                        .g

 ~~.~5~'-` d t.^lTjY~R~•Ja}~v'.E,r~4-,',{;+, :t rv.~...•'.s;y"`~l7t-N,",'`
                                                                      s.~"~4 r '-i .                               Y`> ~          ~, .y .`t~-7,y~            ~
 ~~3~'~~~Yw''~'~S7:itie`f i•--~..T.~• ~`:;3Ti•a.:̀,h-.~~t~~+6
                                                           ""i~~'i.a                                                T~t        `~-i.E.. .B•'L:'~5+=4 . v~~~




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           :"' '~ r ~k                        5•,~~ `. ~                                                           ~n~•,, rq~a-grya
~           ,axi~                                                  k     ~$          ~„~.;' ,       .

3'`f'';~, : ''~~""i*:'i'::~ "? f`~ :~' _K^`'' •~°.~sy.~ ,~y.,;~~~1.
         x
                                     C ~   ; - ~•v•N3:              r ~"'
,~t-~~'f       :Y ~            "~ ~,'i '     , t'~ :-i. „ ti.ti'-i:. . +;.
                                                   ' •''~'
                .:-r• :    ~        J. ~ "
                                                                       ,y
                                                                                                                                         ~"•:y
                                                                                                                 ,'~%;.' ~;'S_ 4 ,~:~. ~

                 r                    t j,

,vy'~sS~. :
    rt. , .
                        ~.    "~r ~" ' ~ ~:: .,' •. .. :~;'-        ~~'~''y.,;.F~•
                   ,•'^•. s't;                                  _ _~..,1~~-
         R't',r- 2: ^-:,'~.`               s:.      '~3t~°•           :.':~1)- ~i
                 1 ",.i
',-~, 'A.i,r',. . , i.:             ~,
                                         '~T^ *;: "                • ~ ~ %nq
                                                              if'    •,       °
:,`~yz•v~~~:?'~~.sj~;~. .1;`jy.e        ~:''H ~^~:~I;'.x~~t                   M"i,~.V-tti
                                                                                    )
~'•;-~."'-'~                       `    ~e..-. "            _ 'a.r.: ...:,-;~..__ :'

'-i-                          ~'         '.~`.°::.:~; '.."` 4.f,
                                                            •       .: K.R.:~ -,.~~:ts,
,.                                                               ~i . r; .~_ ~ -''~'.~~      ~^~-t Cr
                                                                                                   i • .i
tt k.. ?                 `,_ .i c, -   : C^`
                                         ,~ • ..•::                                                       .
~,.'{~~':,.:;           '- , •:r_ ~..         '    .          :`.~~~.'.'''^•'..'F'"~""''`-'%x~."'
g-~                    .-.r' ., •       :„~i`.,                            x•:                         ,!
                                                                                   7r..".•,..-.~.t.,..~;,
~r,.ry:d:             "~..,-.:. j`:', • t'~ .r '.-         f'.c-z'.:.4~'ti
                                                                   . ';,:_            ,~'•,,:,4:~~
                                       "                                                                :

ik ' '
 t     ,     ;.         _,~.,,, . : _.-. .,_ .. ,-r,,-y}n~:;'i~'-;';;•'~'"`'~~.,",,~
                                                                                   ~
                               :P,•.»_}._~,;~r,,1.    '•             ...'3'..i;.3+R`
   x'~¢'` `1 •`.,8, ' 4:'            f.. - ,.i?r`~'a.,J"~:f~::i~     ~
s?.~~.;.• •::~tt;-=~~,:s3'4 `:~ ~          h...    . ,^;v:isr'ew:, .A't'~i:i.~:




                                    ~           -~' ;~         ¢µ                        ' ,.•.
                           4,•
                                        ~




             ~,w, • ~~F~1' R•~M ~ w                           .         ~'.,yr~v~ '[„                   y~.~ ;
                            !}                                                          -
            ,~~f`~r`^'"u_~''~c.
            S ~                          '~'                  i'       •'h.~'r ~•" ~~~.             ••"~i"*~•~
            ti
                         - ZQj, ~ _                            ' . .~'•" 't!G' ~?+       - ~~;~
            ,~'-a~~f 9 _ ::aS;.a,,:                          ,~~• ~ .`4~F~~ i..':l~ .      ~~': _
                                                                     "v           • .:{ ~- y4'~~~
              }ys
                lx.              ~t.• -~                             i'.•~-x.x,~
                                                                               ,, Y.~'         ~~'.
                       ,, .~ ~~          ~                                        t ~•$     'lf'+'
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            ~~
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                          :: ~ R' .a,f•
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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Roof -DebrisStrike




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                                Building A Units 1-4 & 5-8
                                                                       Tags: Roof-Debris Strike




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC -ARLINGTON Builcling A Units 1-4 & 5-8




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                                                                        Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY
                                                                                 Building A Units 1-4 & 5-8
                                                                        Tags: Exterior-Front Elevation




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                                                                         Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY
                                                                                  Building A Units 1-4 & 5-8
                                                                         Tags; Exterior-Front Elevation, Exterior- Gutter-Damage




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                                                                     Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                              Building A Units 1-4 & 5-8
                                                                     Tags: Exterior-Front Elevation, Exterior- Gutter-Damage




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC -ARLINGTON
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Front Elevation




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON Building A Units 1-4 & 5-8




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Left Elevation




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY
                                                                                Building A Units 1-4 & 5-8
                                                                       Tags: Exterior-Left Elevation




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON Building A Units 1-4




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                                                                        Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY
                                                                                 Building A Units 1-4 & 5-8
                                                                        Tags: Exterior-Left Elevation




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                                                                         Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY
                                                                                  Building A Units 1-4 & 5=8
                                                                         Tags: Exterior-Left Elevation




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                                                           Builcling A Units 1-4 & 5-8
VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPAN
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Left Elevation




     66




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT
                                                                                Building A Units 1-4 & 5-8
                                                                        Tags: Exterior-Rear Elevation




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC -ARLINGTON Building A Units 1-4 & 5-8




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                               Building A Units 1-4 & 5-8
                                                                       Tags: Exterior-Rear Elevation




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                                                                        Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                                 Bullding A Units 1-4 & 5-8 .
                                                                        Tags: Exterior-Rear Elevation




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC -ARLINGTON Building A Units t-4 & 5-8




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                                                                                                                                                    Tags: Exterior-Rear Elevation




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                                                                                                                                                              Building A Units 1-4 & 5-8
                                                                                                                                                     Tags: Exterior-Rear Elevation, Window-Screen damage




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON Building




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                                                                                                                                                                   Building A Units 1-4 & 5-8      -
                                                                                                                                                          Tags: Exterior-Rear  Elevation, Window-Screen damage




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                                                                                                                                                             Project: VOLUNTEER MANAGEMENT & DEVELOPMENT
                                                                                                                                                                      Building A Units 1-4 & 5-8
                                                                                                                                                             Tags: Exterior-Rear Elevation



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                                                  INGTON Building A Units 1-4 & 5-8
VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARL




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                                                                    Project: VOLUNTEER MANAGEMENT & DEVELOPMENT
                                                                             Building A Units 1-4 & 5-8
                                                                    Tags: Exterior-Rear Elevation




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELO
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Rear Elevation, Window-Screen damage




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC -ARLINGTON Building A Units 1-4 & 5-B




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                                                                                                                                                           Building A Units 1-4 & 5-8
                                                                                                                                                  Tags: Exterior-.Rear Elevation




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                                                                                                                                                   Tags: Exterior-Rear Elevation




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON Building A Units 1-4 & 5-8                                                                                                       3/9/2022




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                                                                                                                                  Tags: Exterior-Rear Elevation




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                                                                     Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                              Building A Units 1-4 & 5-8
                                                                     Tags: Exterior-Rear Elevation




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Rear Elevation




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                                                                   A Units 1-4 & 5-8
VOLUNTEER MANAGEMENT& DEVELOPMENT COMPANY INC-ARLINGTON Building




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                                                                    Projec[: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPAN
                                                                             Building A Units 1-4 & 5-8
                                                                    Tags: Exterior-Rear Elevation




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                                                                      P.roject: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPAN
                                                                                Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Rear Elevation




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                                                           Building A Units 1-4 & 5-8
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                                                                     Project: VOLUNTEER MANAGEMENT & DEVELOPMENT
                                                                              Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Rear Elevation




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                                                                         Project: VOLUNTEER MANAGEMENT & DEVELOPMENT
                                                                                  Building A Units 1-4 & 5-8
                                                                         Tags: Exterior-Rear Elevation




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                                                                     A Units 1-4 & 5-8
VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON Builcling




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Rear Elevation




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                                                                                                                      COMPANY INC-ARLINGTON
                                                                        Project: VOLUNTEER MANAGEMENT & DEVELOPMENT
                                                                                 Building A Units 1-4 & 5-8
                                                                        Tags: Exterior-Rear Elevation




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VOLUNTEER NIANAGEMENT & DEVELOPMENT COMPANY INC -ARLINGTON Builcling A Units 1-4 & 5-B




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                                                                        Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY
                                                                                 Building A Units 1-4 & 5-8
                                                                         Tags: Exterior-Rear Elevation




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                                                                          Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY
                                                                                   Building A Units 1-4 & 5-8
                                                                          Tags: Exterior-Rear Elevation




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Rear Elevation




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                                Building A Units 1-4 & 5-8
                                                                       Tags; Exterior-Rear Elevation




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC -ARLINGTON Building A Units 1-4 & 5-8




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                                Building A Units 1-4 & 5-8
                                                                       Tags: Exterior-Rear Elevation




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                                                                        Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                                 Building A Units 1-4 & 5-8
                                                                        Tags: Exterior-Rear Elevation




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                                                                                                                                          3/9/2022
                                                           Building A Units 1-4 & 5-8
VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON




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                                                                     Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPAN
                                                                              Building A Units 1-4 & 5-8
                                                                     Tags: Exterior-Right Elevation




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT
                                                                                Building A Units 1-4 & 5-8
                                                                       Tags: Exterior-Right Elevation, Exterior-Fascia Damage




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                                                                                                                               3/9/2022
                                                           Building A Units 1-4 & 5-8
VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON




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                                                                     Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPAN
                                                                              Building A Units 1-4 & 5-8
                                                                     Tags: Exterior-Right Elevation




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT
                                                                                Building A Units 1-4 & 5-8
                                                                       Tags: Exterior-Right Elevation




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VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON Building A Units 1-4 & 5-8




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-AR
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Right Elevation




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                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPA
                                                                                Building A Units 1-4 & 5-8
                                                                       Tags: Exterior-Right Elevation




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                                                                     Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                              Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Right Elevation




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                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                               Building A Units 1-4 & 5-8
                                                                      Tags: Exterior-Right Elevation




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                                                                  55 / 56VOLUNTEER      Page DEVELOPMENT
                                                                                   MANAGEMENT& 67 of 161 COMPANYINC-A
                                                                                                         PageID #:RLINGTON
                                                                                                                      209 Building...
                                                                                                                             3/9/2022
VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC -ARLINGTON Building A Units 1-4 & 5-8




  107




                                                                      Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                               Building A Units 1-4 & 5-B.
                                                                      Tags: Exterior-Right Elevation




    108




                                                                       Project: VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC-ARLINGTON
                                                                                Building A Units 1-4 &5-8
                                                                       Tags: Exterior-Right Elevation




  Section 1
              Case 1:23-cv-00041           Document 1-2           Filed   06/20/23MANAGEMENT&
                                                                   56 / 56VOLUNTEER   Page 68    of 161 PageID #: 210 Building...
                                                                                              DEVELOPMENTCOMPANYINC-ARLINGTON
~ STATE
  ^~C.Tq—
        AUTO
   p.~MS ~ri0 F6+ FIW.~FWMO
                              State Auto Insurance Companies
                              518 East Broad Street
                              Columbus, Ohio 43215


                     Insured:      VOLUNTEER MANAGEMENT &                                    Business:    (731) 554-2320
                                   DEVELOPMENT COIvIPANY INC;
                        Home:      1001 AIRPORT RD
                                   FULTON, KY 42041
                   Property:       205 Ringo Dr
                                   Clinton, KY 42031


              Claim Rep.:          Aaron Rundberg                                            Business:     (913) 295-1461
                Business:          518 E Broad St                                             E-mail:      aaron.rundberg@stateauto.com
                                   Columbus, OH 43215


                 Estimator:        Aaron Rundberg                                            Business:     (913) 295-1461
                  Business:        518 E Broad St                                             E-mail:      aaron.rundberg@stateauto.
                                   Columbus, OH 43215                                                      com


    Claim Number: PR-0000000-400349.                     Policy Number: PBP2864751               Type of Loss: Wind
                                 3135293A


        Date of Loss:              12/10/2021 1:01 AM                Date Received:   12/10/2021 1:01 AM
       Date Inspected:             1/31/2022 9:43 AM                  Date Entered:   1/19/2022 10:38 AM

                  Price List:       KYPA8X_DEC21
                                    Restoration/Service/Remodel
                    Estimate:       VOLUNTEER_
                                    MANAGEMEN9


  Dear VOLUNTEER MANAGEMENT & DEVELOPMENT COMPANY INC;:

  Please provide a copy of this repair estimate to the contractor of your choice. If there are any questions regarding the scope of
  work or prices estimated, please contact us before the work is started and allow us an opportunity to inspect the additional
  damage before initiating any repairs. Again, please note, additional work or cost is not authorized without prior approval of
  State Auto Insurance Companies.

  According to the terms and conditions of your policy, we will pay no more than the actual cash value of the damage until actual
  repair or replacement is complete. You may then make a claim for the recoverable depreciation amount. Any amounts shown as
  non-recoverable or settlement factor are not eligible for reimbursement. Once the repairs to your property have been completed,
  please send your final invoice(s) along with any other supporting documentation. Payment for up to the eligible amounts in our
  estimate will be considered, but no more than the necessary amount actually spent.

  Please be aware there are time limits set forth in the Conditions section of your policy which may affect the time within which
  you may pursue your claim. Please review the Conditions section of the policy, as may be endorsed, particularly noting the Suit
  Against Us or Legal Action Against Us provisions. State Auto expressly reserves all rights and defenses under the policy of
  insurance, the law or otherwise and State Auto does not waive any term, condition, limitation or exclusion contained in the
  policy, whether or not enumerated herein. All rights and defenses are expressly reserved without qualification or limitation.

  Thank you for choosing State Auto, and should you have any questions, please feel free to contact us.




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.~STATE AUTO
                   State Auto Insurance Companies
                   518 East Broad Street
                   Columbus, Ohio 43215



                                                            VOLUNTEER MANAGEMEN9


                                     Premises 0020 Building 001

                                                                                         TAX          RCV        DEPREC.            ACV
 DESCRIPTION                                                  QUANTITY UNIT PRICE
                                                                 45.73 SQ      39.79      0.00     1,819.60           (0.00)     1,819.60
 1. Tear off coinposition shingles (no haul off)
                                                                 45.73 SQ      24.53     15.61     1,137.37         (206.86)       930.51
 2. Roofing felt - 15 lb.
                                                                244.83 LF       1.60      8.37       400.10         (110.94)       289.16
 3. F.sphalt starter - peel and stick
                                                                 48.33 SQ     178.35    262.23     8,881.89       (2,779.63)     6,102.26
 4. 3 tab - 25 yr. - comp. shingle roofing - w/out felt
                                                                153.25 LF       3.36      9.93       524.85         (105.27)       419.58
  5. Ridge cap - composition shingles
                                                                                7.31     28.22     1,051.62         (213.69)       837.93
  6.'Continuous ridge vent - shingle-over style                 140.00 LF
                                                                 44.58 LF       4.67      5.43       213.62          (41.11)       172.51
  7. Valley metal
                                                                  4.00 EA      50.20•     4.46       205.26           (33.80)      171.46
  8. Roof vent - turtle type - Metal
                                                                 33.33 LF       7.53      3.08       254.05       -(23.32)         230.73
  9. Step flashing
                                                                                2.29     25.94       926.09         (196.43)       729.66
  10.'Drip edge                                                 393.08 LF
                                                                  2.00 EA      35.84      1.46        73.14          (11.04)        62.10
  11. Flashing - pipe jack
                                                                  1.00 EA     570.00      0.00       570.00           (0.00)       570.00
  12. Dumpster load - Approx. 30 yards, 5-7 tons of debris
                                                                                        364.73     16,057.59        3,722.09     12,335.50
  Totals: Premises 0020 Building 001




                                       Premises 0020 Building 002

                                                                                          TAX          RCV        DEPREC.            ACV
  DESCRIPTION                                                 QUANTITY UNIT PRICE
                                                                                39.79     0.00      1,819.60           (0.00)     1,819.60
  13. Tear off composition shingles (no haul off)                45.73 SQ
                                                                                24.53    15.61      1,137.37         (206.86)       930.51
  14. Roofing felt- 15 lb.                                       45.73 SQ
                                                                244.83 LF        1.60     8.37        400.10         (110.94)       289.16
  15. Asphalt starter - peel and stick
                                                                 48.33 SQ      178.35   262.23      8,881.89       (2,779.63)     6,102.26
  16. 3 tab - 25 yr. - comp. shingle roofing - w/out felt
                                                                                 3.36     9.93        524.85         (105.27)       419.58
  17. Ridge cap - composition shingles                          153.25 LF
                                                                                 7.31    28.22      1,051.62         (213.69)       837.93
  18. Continuous ridge vent - shingle-over style                140.00 LF
                                                                                 4.67     5.43        213.62          (41.11)       172.51
   19. Valley metal                                              44.58 LF
                                                                  4.00 EA       50.20     4.46        205.26          (33.80)       171.46
   20. Roof vent - turtle type - Metal
                                                                                 7.53     3.08        254.05           (23.32)      230.73
   21. Step flashing                                             33.33 LF
                                                                                 2.29    25.94        926.09         (196.43)       729.66
   22. Drip edge                                                393.08 LF
                                                                                35.84     1.46          73.14          (11.04)        62.10
   23. Flashing - pipe jack                                        2.00 EA
                                                                               570.00      0.00        570.00           (0.00)      570.00
   24. Dumpster load - Approx. 30 yards, 5-7 tons of debris        1.00 EA

                                                                                         364.73     16,057.59        3,722.09     12,335.50
   Totals: Premises 0020 Building 002




                                        Premises 0020 Building 003

                                                               QUANTITY UIVIT PRICE        TAX          RCV        DEPREC.            ACV
   DESCRIPTION
                                                                  38.63 SQ      39.79       0.00     1,537.09           (0.00)     1,537.09
   25. Tear off composition shingles (no haul off)
                                                                                                                1/31/2022              Page: 2
 VOLUNTEER MANAGEMEN9


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 ~STATE AUTO
~'t
      ~
                       State Auto Insurance Companies
                       518 East Broad Street
                       Columbus, Ohio 43215




                                                       CONTINUED - Premises 0020 Building 003



                                                                                                  TAX          RCV        DEPREC.             ACV
  DESCRIPTION                                                      QUANTITY UNIT PRICE
                                                                                    24.53         13.19       960.78        (174.74)         786.04
  26. Roofing felt - 15 Ib.                                          38.63 SQ
                                                                                        1.60       4.83       230.83         (64.00)         166.83
  27.' Asphalt starter - peel and stick                              141.25 LF
                                                                                   178.35        220.67     7,474.16       (2,339.07)      5,135.09
  -28: .3 tab - 25 yr. - comp. shingle roofing - w/out felt           40.67 SQ
                                                                                        3.36       4.56       241.17          (48.37)        192.80
   29. Ridge cap - composition shingles                               70.42 LF
                                                                                        7.31      13.10       488.25          (99.21)        389.04
   30. Continuous ridge vent - shingle-over style                     65.00 LF
                                                                                    50.20          5.58       256.58          (42.25)        214.33
   31. :Roof vent - turtle type - Metal                                5.00 EA
                                                                                    35.84          1.46        73.14          (11.04)         62.10
   32. Flashing - pipe jack                                            2.00EA
                                                                                        2.29      16.55       590.95         (125.34)        465.61
  33. Drip edge                                                      250.83 LF
                                                                                         5.61      0.00       216.71           (0.00)        216.71
   34. Remove Additional charge for high roof (2 stories or           38.63 SQ
      greater)                                                                                                                               565.93
                                                                      38.63 SQ          14.65      0.00       565.93           (0.00)
      35. Additional charge for high roof (2 stories or greater)                                                                             470.00
                                                                       1.00 EA      470.00         0.00       470.00           (0.00)
      36. Dumpster load - Approx. 20 yards, 4 tons of debris
                                                                                                 279.94     13,105.59        2,904.02      10,201.57
      Totals: Premises 0020 Building 003




                                          Premises 0020 Building 004

                                                                   QUANTITY UNIT PRICE             TAX          RCV        DEPREC.             ACV
      DESCRIPTION
                                                                                     39.79          0.00     1,537.09            (0.00)     1,537.09
      37. Tear off composition shingles (no haul off)                  38.63 SQ
                                                                                     24.53         13.19       960.78         (174.74)        786.04
      38. Roofing felt - 151b.                                         38.63 SQ
                                                                                      1.60          4.83       230.83           (64.00)       166.83
      39. Asphalt starter - peel and stick                            141.25 LF
                                                                                    178.35        220.67     7,474.16       (2,339.07)      5,135.09
      40. 3 tab - 25 yr. - comp. shingle roofing - w/out felt          40.67 SQ
                                                                                      3.36          4.56       241.17           (48.37)       192.80
      41. Ridge cap - composition shingles                             70.42 LF
                                                                                      7.31         13.10       488.25           (99.21)       389.04
      42. Continuous ridge vent - shingle-over style                   65.00 LF
                                                                                     50.20          5.58       256.58           (42.25)       214.33
      43. Roof vent - turtle type - Metal                               5.00 EA
                                                                                     35.84          1.46         73.14          (11.04)        62.10
      44. Flashing - pipe jack                                          2.00 EA
                                                                                      2.29         16.55       590.95          (125.34)       465.61
      45. Drip edge                                                   250.83 LF
                                                                                       5.61          0.00       216.71            (0.00)      216.71
      46. Remove Additional charge for high roof (2 stories or         38.63 SQ
      greater)                                                                                                                   (0.00)       565.93
                                                                       38.63 SQ          14.65      0.00       565.93
      47. Additional charge for high roof (2 stories or greater)                                                                              470.00
                                                                        1.00 EA         470.00      0.00       470.00            (0.00)
       48. Dumpster load - Approx. 20 yards, 4 tons of debris
                                                                                                  279.94     13,105.59        2,904.02      10,201.57
       Totals: Premises 0020 Building 004



                                                                           Main Level



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      VOLUNTEER MANAGEMEN9

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A ~--E.-
  STATE AUTO
  ^~~              State Auto Insurance Companies
                   518 East Broad Street
                   Columbus, Qhio 43215



                                    Premises 0020 Building 005

                                                     992.50 Surface Area                                       9.93 Number of Squares
                                                     126.03 Total Perimeter Length                            31.00 Total R.idge Length




                                                            QUANTITY UNIT PRICE                   TAX            RCV        DEPREC.          ACV
  DESCRIPTION
                                                                 9.93 SQ            39.79          0.00         395.11          (0.00)     395.11
  49. Tear off composition shingles (no haul off)
                                                                 9.93 SQ            24.53          3.39         246.97         (44.92)     202.05
  50. Roofing felt - 151b.
                                                                62,00 LF             1.60          2.12         101.32         (28.10)      73.22
  51. Asphalt starter - peel and stick
                                                                  11.00 SQ           178.35          59.68     2,021.53       (632.65)    1,388.88
  52. 3 tab - 25 yr. - comp. shingle roofing - w/out felt
  The roof waste % is not available. The calculation contains values that may result in an inaccurate waste %.
                                                                  31.00 LF              3.36          2.01       106.17        (21.30)       84.87
  53. Ridge cap - composition shingles
                                                                  31.00 LF              7.31          6.25       232.86        (47.32)      185.54
  54. Continuous ridge vent - shingle-over style
                                                                 126.03 LF              2.29           8.32      296.93        (62.98)      233.95
  55. Drip edge
                                                                   1.00 EA             35.84           0.73       36.57         (5.51)       31,06
  56. Flashing - pipe jack
                                                                   1.00  EA           229.20           0.00      229.20         (0.00)      229.20
  57. Single axle dump truck - per load - including dump
  fees

                                                                                                  82.50        3,666.66         842.78    2,823.88
  Totals: Premises 0020 Building 005

                                                                                                   82.50       3,666.66         842.78    2,823.88
  Total: Main Level

                                                                                               1,371.84       61,993.02      14,095.00    47,898.02
  Line Item Totals: VOLUNTEER_MANAGEMEN9



   Grand Total Areas:
             0.00 SF Walls                                  0.00 SF Ceiling                                0.00 SF Walls and Ceiling
             0.00 SF Floor                                  0.00 SY Flooring                               0.00 LF Floor Perimeter
             0.00 SF Long Wall                              0.00 SF Short Wall                             0.00 LF Ceil. Perimeter


             0.00 Floor Area                                0.00 Total Area                                 0.00 Interior Wall Area
           127.94 Exterior Wall Area                        0.00 Exterior Perimeter of
                                                                 Walls

                                                            9.93 Number of Squares                        126.03 Total Perimeter Length
           992.50 Surface Area
            31.00 Total Ridge Length                        0.00 Total Hip Length




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  VOLUNTEER MANAGEMEN9

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 ~STATE AUTO
   ~~~
~I''             State Auto Insurance Companies
                 518 East Broad Street
                 Columbus, Ohio 43215




                                                Item Total           %         ACV Total                    %
  Coverage
                                                   16,057.59     25.90%           12,335.50           25.75%
  Premises 0020 Building 001
                                                   16,057.59      25.90%          12,335.50           25.75%
  Premises 0020 Building 002
                                                   13,105.59      21.14%          10,201.57           21.30%
  Premises 0020 Building 003
                                                   13,105.59      21.14%          10,201.57           21.30%
  Premises 0020 Building 004
                                                    3,666.66       5.91%           2,823.88               5.90%
  Premises 0020 Building 005
                                                   61,993.02     100.00%          47,898.02          100.00%
  Total




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  VOLUNTEER MANAGEMEN9

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~STATE AUTO
                State Auto Insurance Companies
                518 East Broad Street
                Columbus, Ohio 43215




                                          Summary for Premises 0020 Building 001
                                                                                                       15,692.86
 Line Item Total
                                                                                                         364.73
 Material Sales Tax
                                                                                                      $16,057.59
 Replacement Cost Value
                                                                                                       (3,722.09)
 Less Depreciation
                                                                                                      $12,335.50
 Actual Cash Value
                                                                                                      (10,000.00)
 Less Deductible
                                                                                                       $2,335.50
 Net Claim
                                                                                                        3,722.09
 Total Recoverable Depreciation
                                                                                                       $6,057.59
 Net Claim if Depreciation is Recovered




                                          Aaron Rundberg




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 VOLUNTEER MANAGEMEN9

          Case 1:23-cv-00041            Document 1-2       Filed 06/20/23   Page 74 of 161 PageID #: 216
~S~TATE AeO
                 State Auto Insurance Companies
                 518 East Broad Street
                 Columbus, Ohio 43215




                                           Summary for Premises 0020 Building 002
                                                                                                        15,692.86
  Line Item Total
                                                                                                          364.73
  Material Sales Tax
                                                                                                       $16,057.59
  Replacement Cost Value
                                                                                                        (3,722.09)
  Less Depreciation
                                                                                                       $12,335.50
  Actual Cash Value
                                                                                                       (10,000.00)
  Less Deductible
                                                                                                        $2,335.50
  Net Claim
                                                                                                         3,722.09
  Total Recoverable Depreciation
                                                                                                        $6,057.59
  Net Claim if Depreciation is Recovered




                                           Aaron Rundberg




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  VOLUNTEER MANAGEMEN9

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~STATE AUTO
     aeoa.uouwer+awuww
                         State Auto Insurance Companies
                         518 East Broad Street
                         Columbus, Ohio 43215




                                                   Summary for Premises 0020 Building 003
                                                                                                                12,825.65
 Line Item Total
                                                                                                                   279.94
 Material Sales Tax
                                                                                                               $13,105.59
 Replacement Cost Value
                                                                                                                (2,904.02)
 Less Depreciation
                                                                                                               $10,201.57
 Actual Cash Value
                                                                                                               (10,000.00)
 T.ess Deductible
                                                                                                                  $201.57
 Net Claim
 .                                                                                                               2,904.02
     Total Recoverable Depreciation
                                                                                                                $3,105.59
     Net Claim if Depreciation is Recovered




                                                   Aaron Rundberg




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 VOLUNTEER MANAGEMEN9

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 ~STATE AUTO
a~G7~ ~
           wo
                  State Auto Insurance Companies
                 518 East Broad Street
                 Columbus, Ohio 43215




                                           Summary for Premises 0020 Building 004
                                                                                                        12,825.65
  Line Item Total
                                                                                                          279.94
  Material Sales Tax
                                                                                                       $13,105.59
  Replacement Cost Value
                                                                                                        (2,904.02)
  Less Depreciation
                                                                                                       $10,201.57
  A,ctual Cash Value
                                                                                                       (10,000.00)
  Less Deductible
                                                                                                          $201.57
  Net Claim
                                                                                                         2,904.02
  Total Recoverable Depreciation
                                                                                                        $3,105.59
  Net Claim if Depreciation is Recovered




                                           Aaron Rundberg




                                                                                           1/31/2022          Page: 9
  VOLUNTEER MANAGEMEN9

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~    S ~TATE AUTO
     tr             State Auto Insurance Companies
                     518 East Broad Street
                     Columbus, Ohio 43215




                                                   Summary for Premises 0020 Building 005 '
                                                                                                                                       3,584.16
    Line Item Total
                                                                                                                                              82.50
    Material Sales Tax
                                                                                                                                      $3,666.66
    Replacement Cost Value
                                                                                                                                          (842.78)
    Less Depreciation
                                                                                                                                      $2,823.88
    Actual Cash Value
                                             [Full Deductible = 10,000.00]                                                             (2,823.88)
    Less Deductible
                                                                                                                                              $0.00
    Net Claim
                                                                                                                                 842.78
    Total Depreciation
                                             [Full Residual Deductible = 7,176.12]                                              (842.78)
    Less Residual Deductible
                                                                                                                                               0.00
    Total Recoverable Depreciation
                                                                                                                                              $0.00
    Net Claim if Depreciation is Recovered




                                                   Aaron Rundberg



                                                                                                                 If they have any questions
     Please present a copy of this estimate to the contractor of your choice prior to the start of the repairs.
                                       unit costs on this estimate, it is IMPORTA  NT   that they contact   the State Auto claim
     regarding the scope of repairs or
                                                                                                    is not authorized  without prior
     representative handling your claim prior to initiating the repairs. Additional work or cost
     approval of State Auto Insurance Companies.
                                                                                                          your property. We strongly
     State Auto Insurance Companies advocates consumer choice, especially when conceming repairs to
                                                                                                   State Auto Insurance Companies,
     encourage you to choose wisely when selecting a contractor. Contractors are not affiliates of
                                                                                     ip to your  property  during or after the repair
     and State Auto Insurance Companies do not guarantee or warrant any workmansh
     process.




                                                                                                                     1/31/2022                 Page: 10
    VOLUNTEER MANAGEMEN9

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Main Level




                                                                                                                         Main Level
                                                                                                             1/31/2022        Page: 11
   VOLUNTEER MANAGEMEN9Case   1:23-cv-00041   Document 1-2   Filed 06/20/23   Page 79 of 161 PageID #: 221
   jh~l         William Griffin, Public Insurance Adjuster
   .yu          128 Poplar Street, Gadsden, TN 38337



          Insured:    VOLUNTEER MANAGEMENT &
                      DEVELOPMENT COMPANY INC - CLINTON
         Property:    205 Ringo Drive
                      Clinton, KY 42031


 Claim Number:                                 Policy Number:                                 Type of Loss:


    Date of Loss:                                              Date Received:
   Date Inspected:                                              Date Entered:      3/15/2022 2:39 PM

        Price List:    KYPA8X_MAR22
                       Restoration/Service/Remodel
         Estimate:     CLINTON

This damage assessment utilizes and abides to the following documentation:

- Manufacturer Installation Instructions
- Local Building and Zoning Code
- International Building Code (IBC)
- Intemational Residential Code (IRC)
- International Energy Conservation Code (IECC)

Labor rates have been corrected to reflect their proper trade, where applicable.

Additional documentation will be provided upon request. This assessment only represents known damages at this time and can
be amended.

Respectfully,

William Griffin, Public Insurance Adjuster




         Case 1:23-cv-00041              Document 1-2           Filed 06/20/23          Page 80 of 161 PageID #: 222
                      William Griffin, Public Insurance Adjuster
       ~I~~IG~nM1,A   128 Poplar Street, Gadsden, TN 38337




                                                                   CLINTON
                                                          Building A Units 1-4 & 5-8



                                    Roof

DESCRIPTION                                        QTY           RESET    REMOVE       REPLACE       TAX             O&P      TOTAL

1. State Auto Estimate that paid for the       1.00 EA                        0.00      13,105.59     0.00        2,621.12    15,726.71
entire roof

Totals: Roof                                                                                          0.00        2,621.12    15,726.71




                                    Soffit/Gutters

                                                   QTY           RESET    REMOVE       REPLACE        TAX            O&P       TOTAL
DESCRIPTION
Begfn SoffidGutter Repairs
2. Scaffold - per section (per week)           2.00 WK                         0.00         51.21     0.00           20.48       122.90

2 sections over the course of 1 weeks
                                            2.00 HR                            0.00         39.51      0.00          15.80        94.82
3. Scaffolding Setup & Take down -
per hour
Labor to take down and move scaffolding from elevation to elevation
                                             130.00 SF                         0.33          5.35     19.03         151.48       908.91
 4. Soffit - vinyl
 Lacks uniform appearance
                                             226.00 LF                         0.54         11.00    101.29         541.86     3,251.19
 5. Gutter / downspout - aluminum - 6"

 Totals: Sofflt/Gutters                                                                              120.32         729.62     4,377.82




                                       Exterior - Vinyl Siding

 DESCRIPTION                                        QTY          RESET    REMOVE       REPLACE        TAX            O&P       TOTAL

 Begin Siding Repairs
    Tear Off
                                                2.00 WK                        0.00         51.21      0.00          20.48       122.90
 6. Scaffold - per section (per week)
 2 sections over the course of 1 weeks
                                             4.00 HR                           0.00         39.51      0.00          31.60       189.64
 7. Scaffolding Setup & Take down -
 per hour
 Labor to take down and move scaffolding from elevation to elevation
                                            1,730.00 SF                        0.46           0.00     0.00          159.16      954.96
 8. Siding - vinyl
                                            1,730.00 SF                        0.05           0.00     0.00           17.30       103.80
 9. House wrap (air/moisture barrier)
    Installafion

CLINTON                                                                                                       3/16/2022            Page:2


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                     William Griffin, Public Insurance Adj uster
          ~Y         128 Poplar Street, Gadsden, TN 38337




                                                    CONTINUED - Exterior - Vinyl Siding

                                                    QTY        RESET        REMOVE     REPLACE      TAX            O&P       TOTAL
DESCRIPTION
                                            1,730.00 SF                        0.00        0.34     17.65         121.18       727.03
10. House wrap (air/moisture barrier)
                                            1,730.00 SF                        0.00        3.82    176.46        1;357.02     8,142.08
11. Siding-vinyl
                                            1,730.00 SF                        0.00        0.19     23.66          65.74       418.10
12. Final cleaning - construction -
Commercial

                                                                                                   217.77        1,772.48    10,658.51
Totals: Exterior - Vinyl Siding



                                       Exterior - Brick

                                                    QTY         RESET       REMOVE     REPLACE      TAX             O&P       TOTAL
DESCRIPTION

Accessorfes
                                                4.00 EA             62.63      0.00         0.00     0.00           50.10       300.62
13. Exterior light fixture
Begin Brick Repafrs
   Removal
                                                4.00 WK                         0.00      363.69     0.00          290.96     1,745.72
14. Two ladders with jacks and plank
(per week)
2 sets of ladders with jacks and plank over the course of 2 weeks
                                                4.00 EA                        98.15        0.00     0.00           78.52       471.12
15. Meter base and main disconnect -
400 to 2000 ainp
                                                1.00 EA                        16.80        0.00     0.00            3.36        20.16
16. Junction box
                                            3,100.00 SF                         2.46        0.00     0.00        1,525.20     9,151.20
 17. Brickveneer
                                            3,100.00 SF                         0.05        0.00      0.00          31.00       186.00
 18. House wrap (air/moisture barrier)
   Installation
                                            3,100.00 SF                         0.00        0.34    31.62          217.12     1,302.74
 19. House wrap (air/moisture barrier)
                                             3,100.00 SF                        0.00       15.36   716.10         9,666,42   57,998.52
 20.- Brick veneer
                                              300.00 LF                         0.00        3.76      0.00         225.60      1,353.60
 21. Brick - Add for soldier or sailor
 course
                                               72.00 LF                         0.00        3.76      0.00          54.14       324.86
 22. Brick - Add for rowlock course
                                                4.00 EA                         0.00      344.24      0.00         275.40      1,652.36
 23. Meter base and main disconnect -
 400 to 2000 amp
                                                 1.00 EA                        0.00       85.36      0.00           17.08      102.44
 24. Junction box
                                             3,100.00 SF                        0.00        0.19     42.41         117.80        749.21
 25. Final cleaning - construction -
 Commercial

                                                                                                    790.13       12,552.70    75,358.55
 Totals: Exterior - Brick



                                         Windows


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CLINTON


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                   William Griffin, Public Insurance Adjuster
                   128 Poplar Street, Gadsden, TN 38337




                                                            CONTINUED - Windows

                                                               RESET     REMOVE        REPLACE           TAX            O&P        TOTAL
DESCRIPTION                                         QTY
                                                                              6.76        120.71         78.06         627.46      3,764.80
26. Shutters - siinulated wood              24.00 EA
(polystyrene)
Lacks uniform appearance
Begin Window Repairs
   Reinoval
                                                                              0.00         51.21           0.00         40.96        245.80
27. Scaffold - per section (per week)           4.00 WK

2 sets of scaffolding for 2 weeks
                                                                              0.00         39.51           0.00         31.60        189.64
28. Scaffolding Setup & Take down -         4.00 HR
per hour
Labor to take down and move scaffolding from elevation to elevation
                                                                             24.42          0.00           0.00         78.14        468.86
.29. Vinyl window, single hung, 9-12 sf         16.00 EA
                                                                             38.25          0.00           0.00        122.40         734.40
30. Vinyl window, horizontal sliding,           16.00 EA
24-32 sf
    Installation
                                                                              0.00           3.32         50.89        339.52       2,037.13
 31. 2" x 4" lumber - treated (.667 BF      496.00 LF
 per LF)
 Material for window bucking
                                                                               0.00         39.51          0.00         252.86      1,517.18
 32. Carpentry - General Laborer - per    32.00 HR
 hour
 Labor to remove and replace window bucking
                                                                               0.00        414.20        166.00         695.92      4,175.52
 33. Vinyl window, single hung, 9-12 sf          8.00 EA

                                                                                     ng-Window-Rough-Opening-36-in-x-48-in-Actual-3
 https://www.lowes.com/pd/JELD-WEN-V2500-Vinyl-Double-Pane-Double-Strength-Single-Hu
 5-5-in-x-47-5-in/5 000000225
                                                                        0.00         560.33      450.32      1,883.12      11,298.72
 34. Vinyl window, horizontal sliding, 16.00 EA
 24-32 sf

                                                                                          Strength-Egress-Sliding-Window-Rough-Opening-72-in-
 https://www.lowes.com/pd/7ELD-WEN-V4500-Left-Operable-Vinyl-Double-Pane-Double-
 x-48-in-Actual-71-5-in-x-47-5-in/50000003 09
                                                                                  0.00        218.26            9.18      351.06     2,106.32
 35. Add. charge for a retrofit window,       8.00 EA
 12-23 sf - difficult
                                                                                  0.00        281.10           28.94      905.30     5,431.84
 36. Add. charge for a retrofit window,      16.00 EA
 24-40 sf - difficult
                                                                                  0.00          12.19          15.84       81.18       487.10
 37. Additional charge for vinyl             32.00 LF
 window mullion - per LF
                                                                                  0.00           7.67          81.54      777.16     4,663.02
 38. Flashing - Sill flashing - moldable   496.00 LF
 tape
                                                                                       window frame opening.
 The entire opening of each window must be flashed. This would be installed inside the
                                                                                  0.64           2.42           6.39       89.42        536.45
 39. Metal Z flashing / drip cap            144.00 LF

  Metal flashing required above all openings.
                                                                                0.00          7.67         81.54         777.16       4,663.02
  40. Flashing - Sill flashing - moldable       496.00 LF
  tape
                                                                                                                  3/16/2022             Page:4
CLINTON


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                  William Griffin, Public Insurance Adjuster
                  128 Poplar Street, Gadsden, TN 38337




                                                            CONTINUED - Windows

DESCRIPTION                                         QTY          RESET        REMOVE         REPLACE        TAX             O&P       TOTAL

This is required to flash the outside windows where the nail flange is located.
41. Caulking - acrylic                       496.00 LF                               0.00         3.08       4.17         306.38      1,838.23

To caulk around the windows
42. Urethane foam sealant                    496.00 LF                               0.00         0.91       8.33           91.94       551.63

Non-expanding foam is required around the frames of all new windows.

Totals: Windows                                                                                            981.20        7,451.58    44,709.66




                                     Doors

DESCRIPTION                                          QTY          RESET       REMOVE         REPLACE        TAX             O&P       TOTAL

43. Exterior door - metal - insulated -         8.00 EA                             23.17       321.89     119.71          576.04     3,456.23
flush or panel style
Lacks uniform appearance

Totals: Doors                                                                                              119.71          576.04     3,456.23




                                     HVAC

 DESCRIPTION                                         QTY          RESET           REMOVE     REPLACE        TAX             O&P        TOTAL

 44. Central air conditioning system - 3        1.00 EA                             149.92     3,532.55    142.13          764.92      4,589.52
 ton - 14-15 SEER
 45. Central air cond. system - recharge        1.00 EA                               0.00      260.51       9.90           54.08       324.49
 - I Olb refrigerant

 Totals: HVAC                                                                                              152.03          819.00      4,914.01


 Total: Building A Units 1-4 & 5-8                                                                        2,381.16       26,522.54   159,201.49


                                                           Building B Units 9-12 & 13-16



                                     Roof

 DESCRIPTION                                         QTY          RESET           REMOVE     REPLACE         TAX             O&P       TOTAL

 46. State Auto Estimate that paid for          1.00 EA                               0.00    13,105.59       0.00        2,621.12    15,726.71
 the entire roof

 Totals: Roof                                                                                                 0.00        2,621.12    15,726.71




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        ~ j~r~        William Griffin, Public Insurance Adjuster
        YU            128 Poplar Street, Gadsden, TN 38337




                                       Soffit/Gutters

 DESCRIPTION                                        QTY          RESET    REMOVE     REPLACE     TAX             O&P      TOTAL

 Begin Soffit/Gutter Repairs
 47. Scaffold - per section (per week)          2.00 WK                       0.00      51.21     0.00           20.48      122.90
 2 sections over the course of 1 weeks
 48. Scaffolding Setup & Take down -            2.00 HR                       0.00      39.51     0.00           15.80       94.82
 per hour
 Labor to take down and move scaffolding from elevation to elevation
 49. Soffit - vinyl                           130.00 SF                       0.33       5.35    19.03          151.48      908.91
 Lacks uniform appearance
 50. Gutter / downspout - aluminum -          226.00 LF                       0.54      11.00   101.29          541.86    3,251.19
 6"



 Totals: Soffit/Gutters                                                                         120.32          729.62    4,377.82




                                       Exterior - Vinyl Siding

 DESCRIPTION                                        QTY          RESET    REMOVE     REPLACE      TAX            O&P      TOTAL

 Begin Sfding Repairs
      Tear Off
 51. Scaffold - per section (per week)          2.00 WK                       0.00      51.21      0.00          20.48      122.90

 2 sections over the course of 1 weeks
 52. Scaffolding Setup & Take down -            4.00 HR                       0.00      39.51      0.00           31.60     189.64
 per how
 Labor to take down and move scaffolding from elevation to elevation
 53. Siding - vinyl                         1,730.00 SF                       0.46       0.00      0.00          159.16     954.96
 54. House wrap (air/moisture barrier)      1,730.00 SF                       0.05       0.00      0.00           17.30     103.80
      Installatfon
 55. House wrap (air/moisture barrier)      1,730.00 SF                       0.00       0.34     17.65          121.18     727.03
 56. Siding - vinyl                         1,730.00 SF                       0.00       3.82    176.46        1,357.02    8,142.08

 57. Final cleaning - construction -        1,730.00 SF                       0.00       0.19     23.66           65.74     418.10
 Commercial

 Totals: Exterior - Vinyl Siding                                                                 217.77        1,772.48   10,658.51




                                       Exterior - Brick

 DESCRIPTION                                        QTY          RESET    REMOVE     REPLACE      TAX             O&P      TOTAL


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                    William Griffin, Public Insurance Adjuster
                    128 Poplar Street, Gadsden, TN 38337




                                                         CONTINUED - Egterior - Brick

 DESCRIPTION                                        QTY          RESET       REMOVE     REPLACE      TAX            O&P      TOTAL

 Begin Brfck Repairs
   Removal
 58. Two ladders with jacks and plank          4.00 VJK                          0.00     363.69      0.00         290.96     1,745.72
 (per week)
 2 sets of ladders with jacks and plank over the course of 2 weeks
 59. Exterior light fixtnre                    4.00 EA               62.63       0.00        0.00     0.00          50.10      300.62
 60. Meter base and main disconnect -          2.00 EA                          98.15        0.00     0.00          39.26      235.56
 400 to 2000 amp
 61. 7unction box                              1.00 EA                          16.80        0.00     0.00           3.36       20.16
 62. Brickveneer                           3,100.00 SF                           2.46        0.00     0.00        1,525.20    9,151.20
 63. House wrap (air/moisture barrier)     3,100.00 SF                           0.05        0.00     0.00          31.00      186.00
   Installation
 64, House wrap (air/moisture barrier)     3,100.00 SF                           0.00        0.34    31.62         217.12     1,302.74
 65. Brick veneer                          3,100.00 SF                           0.00       15.36   716.10        9,666.42   57,998.52
 66. Brick - Add for soldier or sailor       300.00 LF                           0.00        3.76     0.00         225.60     1,353.60
 course
 67. Brick - Add for rowlock course           72.00 LF                           0.00        3.76     0.00          54.14      324.86
 68. Meter base and main disconnect -          2.00 EA                           0.00      344.24     0.00         137.70      826.18
 400 to 2000 amp
 69. 7unction box                              1.00 EA                           0.00       85.36     0.00          17.08      102.44
 70. Final cleaning - construction -       3,100.00 SF                           0.00        0.19    42.41         117.80      749.21
 Commercial

 Totals: Exterior - Brick                                                                           790.13       12,375.74   74,296.81




                                       Windows

 DESCRIPTION                                        QTY          RESET       REMOVE     REPLACE      TAX             O&P      TOTAL

 71. Shutters - simulated wood                 1.00 EA                           6.76      120.71     3.25           26.16     156.88
 (polystyrene)
 72. Shutters - siinulated wood               23.00 EA                           6.76      120.71    74.81          601.32    3,607.94
 (polystyrene)
 Lacks uniform appearance
 Begfn Wfndow Repairs
    Removal
 73. Scaffold - per section (per week)         4.00 WK                           0.00       51.21     0.00           40.96     245.80
 2 sets of scaffolding for 2 weeks
 '74. Scaffolding Setup & Take down -          4.00 HR                           0.00       39.51     0.00           31.60      189.64
 per hour

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    ~ij~ p7 William Griffin, Public Insurance Adjuster
      M'Vllm GeIHry M
                         128 Poplar Street Gadsden! TN 38337
                                        ~
     Y~~




                                                            CONTINUED - Windows

DESCRIPTION                                           QTY        RESET        REMOVE       REPLACE      TAX            O&P      TOTAL
Labor to take down and move scaffolding from elevation to elevation
75. Vinyl window, single hung, 9-12 sf           16.00 EA                          24.42        0.00     0.00          78.14     468.86

76. Vinyl window, horizontal sliding,             8.00 EA                          38.25        0.00     0.00          61.20     367.20
24-32 sf
    T....a../1..+~...,                      •

77. 2" x 4" lumber - treated (.667 BF           304.00 LF                           0.00        3.32   31.19          208.10    1,248.57
per LF)
Material for window bucking
78. Carpentry - General Laborer - per            24.00 HR                           0.00       39.51     0.00         189.64    1,137.88
 hour
 Labor to remove and replace window bucking
 79. Vinyi window, single hung, 9-12 sf          16.00 EA                           0.00      414.20   332.01        1,391.84   8,351.05


 https://www.lowes, com/pd/JELD-WEN-V2500-Vinyl-Double-Pane-Doubl e-Strength-Singl e-Hung-Window-Rough-Opening-36-in-x-48-in-Actual-3
 5-5-in-x-47-5-in/5000000225
 80. Vinyl window, horizontal sliding,            8.00 EA                           0.00      560.33   225.16         941.56    5,649.36
 24-32 sf

 https://www.lowes.com/pd/JELD-WEN-V4500-Left-Operable-Vinyl-Double-Pane-Double-Strength-Egress-Sliding-Window-Rough-Opening-72-in
 x-48-in-Actual-71-5-in-x-47-5-in/50000003 09
 81. Add, charge for a retrofit window,       8.00 EA                             0.00        218.26          9.18 351.06  2,106.32
 12-23 sf - difficult
 82. Add, charge for a retrofit window,       8.00 EA                             0.00        281.10         14.47 452.66  2,715.93
 24-40 sf - difficult
 83. Additional charge for vinyl            32.00 LF                              0.00         12.19         15.84  81.18    487.10
 window   mullion  -  per LF
 84. Flashing - Sill flashing - moldable   304.00 LF                              0.00           7.67        49.98 476.34  2,858.00
 tape
 The entire opening of each window must be flashed. This would be installed inside the window frame opening.
 85. Metal Z flashing / drip cap                 96.00 LF                           0.64        2.42     4.26           59.60     357.62

 Metal flashing required above all openings.
 86. Flashing - Sill flashing - moldable     304.00 LF                              0.00        7.67    49.98          476.34   2,858.00
 tape
 This is required to flash the outside windows where the nail flange is located.
 87. Caulking - acrylic                         304.00 LF                           0.00        3.08     2.55          187.78   1,126.65

 To caulk around the windows
 88. Urethane foam sealant                      304.00 LF                           0.00        0.91     5.11           56.34     338.09

 Non-expanding foam is required around the frames of all new windows.

 Totals: Windows                                                                                       817.79        5,711,82   34,270.89




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    j~~1              William Griffin, Public Insurance Adjuster
            ~ U 1 128 Poplar Street, Gadsden, TN 38337
        V:m OrVnn M




                                    Doors

                                                   QTY          RESET     REMOVE        REPLACE         TAX            O&P        TOTAL
DESCRIPTION
                                              8:00 EA                         23.17        321.89     119.71          576.04      3,456.23
89. Exterior door - metal - insulated -
flush or panel style
Lacks uniform appearance

                                                                                                       119.71         576.04      3,456.23
Totals: Doors



                                    HVAC
                                                                 RESET    REMOVE        REPLACE         TAX            O&P        TOTAL
DESCRIPTION                                         QTY
                                                                             149.92       3,532.55     142.13         764.92       4,589.52
`90. .Central air conditioning system - 3      1.00 EA
 ton - 14-15 SEER
                                                                                0.00       260.51        9.90          54.08        324.49
 91. Central air cond. system - recharge       1.00 EA
 - 101b refrigerant
                                                                                                       152.03         819.00       4,914.01
Totals: HVAC
                                                                                                      2,217.75      24,605.82    147,700.98
 Total: Building B Units 9-12 & 13-16

                                                              Building C Units 17-20



                                     Roof

                                                                 RESET    REMOVE        REPLACE          TAX            O&P        TOTAL
 DESCRIPTION                                         QTY
                                                                                0.00     16,057.59        0.00       3,211.52     19,269.11
 92. State Auto Estimate that paid for          1.00 EA
 the entire roof
                                                                                                          0.00       3,211.52     19,269.11
 Totals: Roof



                                      Soffit/Gutters

                                                     QTY          RESET    REMOVE       REPLACE          TAX            O&P        TOTAL
 DESCRIPTION

 Begin Soff:dGutter Repairs
                                                                                 0.00       363.69        0.00         145.48         872.86
  93. Two ladders with jacks and plank            2.00 WK
  (per week)
  2 sets of ladders with jacks and plank over the course of 1 weeks
                                                                                 0.33          5.35        0.88           7.00         41.96
  94. Soffit - vinyl                            6.00 SF
                                                                                 0.33          5.35      37.48         298.32       1,789.88
  95. Soffit - vinyl                          256.00 SF

  Lacks uniform appearance

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        Y'j J       128 Poplar Street, Gadsden, TN 38337




                                                          CONTINUED - Soffit/Gutters

                                                               RESET        REMOVE      REPLACE       TAX           O&P        TOTAL
DESCRIPTION                                        QTY
                                                                               0.54        11.00     181.97        973.44      5,840.65
96. Gutter / downspout - aluininum -         406.00 LF
6"
                                                                                                     220.33       1,424.24     8,545.35
Totals: Soffit/Gutters



                                   Exterior - Brick
                                                                            REMOVE      REPLACE       TAX            O&P       TOTAL
DESCRIPTION                                        QTY          RESET

Begin Brick Repairs
     Removal
                                                                                0.00       363.69      0.00         290.96     1,745.72
97. Two ladders with jacks and plank            4.00 WK
(per week)
2 sets of ladders with jacks and plank over the course of 2 weeks
                                                                                0.00         0.00       0.00         50.10       300.62
98. Exterior light fixture                     4.00 EA              62.63
                                                                               98.15         0.00       0.00         19.64       117.79
99. Meter base and main disconnect -            1.00 EA
400 to 2000 amp
                                                                               16.80         0.00       0.00           3.36       20.16
100. Junction box                               1.00 EA
                                                                                2.46         0.00       0.00       1,279.20     7,675.20
 101. Brick veneer                          2,600.00 SF
                                                                                0.05         0.00       0.00          26.00      156.00
 102. House wrap (air/moisture barrier)     2,600.00 SF

     Installation
                                                                                0.00         0.34      26.52         182.10     1,092,62
 103. House wrap (air/moisture barrier)     2,600.00 SF
                                                                                0.00        15.36     600.60       8,107.32    48,643.92
 104. Brick veneer                          2,600.00 SF
                                                                                0.00         3.76       0.00          30.08       180.48
 105. Brick- Add for soldier or sailor         40.00 LF
 course
                                                                                0.00          3.76      0.00          36.10       216.58
 106. Brick - Add for rowlock course           48.00 LF
                                                                                0.00        344.24      0.00          68.84       413.08
 107. Meter base and main disconnect -          1.00 EA
 400 to 2000 amp
                                                                                 0.00        85.36      0.00          17.08       102.44
 108. Junction box                              1.00 EA
                                                                                 0.00         0.19     35.57          98.80       628.37
 109. Final cleaning - construction -        2,600.00 SF
 Commercial
                                                                                                      662.69       10,209.58   61,292.98
  Totals: Exterior - Brick



                                        Exterior - Vinyl Siding
                                                                             REMOVE      REPLACE        TAX            O&P       TOTAL
  DESCRIPTION                                        QTY            RESET

  Begfn Sfding Repairs
      Tear Off

                                                                                                               3/16/2022           Page:10
CLINTON

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       S~ rl n    William Griffin, Public Insurance Adj uster
                  128 Poplar Street, Gadsden, TN 38337




                                                   CONTINUED - Exterior - Vinyl Siding

                                                             RESET       REMOVE        REPLACE           TAX            O&P         TOTAL
DESCRIPTION                                        QTY
                                                                             0.00          51.21          0.00          20.48        122.90
110. Scaffold - per section (per week)         2.00 WK

2 sections over the course of I weeks
                                                                              0.00         39.51          0.00           31.60       189.64
111:' Scaffolding Setup & Take down -       4.00 HR
per hour
Labor to take down and move scaffolding from elevation to elevation
                                                                              0.46           0.00         0.00           64.68       388.06
112. Siding - vinyl                          703.00 SF
                                                                              0.05           0.00         0.00            7.04        42.19
113. House wrap (air/moisture barrier)       703.00 SF
  Installatfon
                                                                              0.00           0.34          7.17          49.24       295.43
114. House wrap (air/moisture barrier)       703.00 SF
                                                                              0.00           3.82         71.71         551.44      3,308.61
115. Siding - vinyl                          703.00 SF
                                                                              0.00           0.19          9.61          26.72       169.90
'l 16. Final cleaning - construction -       703.00 SF
 Commercial
                                                                                                          88.49         751.20      4,516.73
Totals: Exterior - Vinyl Siding



                                         Windows

                                                                          REMOVE       REPLACE            TAX             O&P       TOTAL
 DESCRIPTION                                        QTY       RESET
                                                                               6.76        120.71          3.25           26.16       156.88
 117. Shutters - simulated wood                1.00 EA
(polystyrene)
                                                                               6.76        120.71         35.78         287.60      1,725.55
 118. Shutters - simulated wood                11.00 EA
 (polystyrene)
 Lacks uniform appearance
 Begin Window Repairs
      Removal
                                                                              24.42           0.00          0.00          97.68       586.08
 119. Vinyl window, single hung, 9-12          20.00 EA
 sf
    Installation
                                                                               0.00           3.32         28.73         191.66      1,149.99
 120. 2" x 4" lumber - treated (.667 BF       280.00 LF
 per LF)
 Material for window bucking
                                                                               0.00          39.51          0.00         158.04        948.24
  121. Carpentry - General Laborer - per       20.00 HR
  hour
  Labor to remove and replace window bucking
                                                                               0.00         414.20        415.01        1,739.80    10,438.81
  122. Vinyl window, single hung, 9-12         20.00 EA
  sf

                                                                                        le-Hung-Window-Rough-Opening-36-in-x-48-in-Actual-3
  https://www.lowes.com/pd/JELD-WEN-V2500-Vinyl-Double-Pane-Double-Strength-Sing
  5-5-in-x-47-5-in/5000000225
                                                                                0.00        218.26         22.94          877.62-    5,265.76
 123. Add. charge for a retrofit               20.00 EA
 window, 12-23 sf - difficult
                                                                                                                   3/16/2022           Page:ll
CLINTON

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                   William Griffin, Public Insurance Adjuster
          ~.~„~M   128 Poplar Street, Gadsden, TN 38337
   l1"

                                                            CONTINUED - Windows

                                                    QTY          RESET       REMOVE          REPLACE        TAX             O&P       TOTAL
DESCRIPTION
                                                                                 0.00           7.67        46.03          438.72      2,632.35
124. Flashing - Sill flashing - inoldable 280.00 LF
tape
The entire opening of each window must be flashed. This would be installed inside the window frame opening.
                                                                                 0.64           2.42         2.66           37.26       223.52
125. Metal Z flashing / drip cap           60.00 LF

Metal flashing required above all openings.
                                                                                     0.00         7.67      46.03          438.72      2,632.35
126. Flashing - Sill flashing - moldable    280.00 LF
tape
This is required to flash the outside windows where the nail flange is located.
                                                                                     0.00         3.08        2.35         172.96      1,037.71
127. Caulking - acrylic                       280.00 LF

To caulk around the windows
                                                                                     0.00         0.91        4.70          51.90        311.40
128. Urethane foam sealant                    280.00 LF
Non-expanding foam is required around the frames of all new windows.

                                                                                                            607.48        4,518.12    27,108.64
Totals: Windows



                                     Doors

                                                                  RESET           REMOVE     REPLACE         TAX             O&P        TOTAL
DESCRIPTION                                          QTY
                                                                                     23.17       321.89     119.71          576.04      3,456.23
 129. Exterior door - metal - insulated -       8.00 EA
 flush or panel style
 Lacks uniform appearance

                                                                                                            119.71          576.04      3,456.23
 Totals: Doors
                                                                                                           1,698.70      20,690.70    124,189.04
 Total: Building C Units 17-20

                                                               Building D Units 21-24



                                      Roof

                                                                   RESET          REMOVE      REPLACE         TAX            O&P        TOTAL
 DESCRIPTION                                          QTY
                                                                                      0.00     16,057.59       0.00        3,211.52    19,269.11
 130. State Auto Estimate that paid for          1.00 EA
 the entire roof
                                                                                                               0.00        3,211.52    19,269.11
 Totals: Roof



                                      Soff3t/Gutters

                                                                   RESET          REMOVE      REPLACE          TAX            O&P        TOTAL
  DESCRIPTION                                         QTY
                                                                                                                      3/16/2022           Page:12


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       jh~~~ William Griffin, Public Insurance Adjuster

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                           128 Poplar Street, Gadsden, TN 38337




                                                             CONTINUED - Soffit/Gutters

 DESCRIPTION                                          QTY           RESET    REMOVE       REPLACE      TAX            O&P      TOTAL

 Begin Soffit/Gutter Repafrs
 131. Two ladders with jacks and plank            2.00 WK                       0.00        363.69      0.00         145.48      872.86
(per week)
 2 sets of ladders with jacks and plank over the course of 1 week
 132. Soffit - vinyl                              4.00 SF                       0.33           5.35     0.59           4.66       27.97
 133. Soffit - vinyl                            258.00 SF                       0.33           5.35    37.77         300.64    1,803:85
 Lacks unifonn appearance
 134. Gutter / downspout - aluminum -           406.00 LF                       0.54          11.00   181.97         973.44    5,840.65
 6"

 Totals: Soffit/Gutters                                                                               220.33        1,424.22   8,545.33




                                         Exterior - Brick

,DESCRIPTION                                          QTY           RESET    REMOVE       REPLACE      TAX            O&P      TOTAL

 Begfn Brick Repairs
      Removal
 135. Two ladders with jacks and plank            4.00 WK                        0.00        363.69     0.00         290.96     1,745.72
 (per week)
 2 sets of ladders with jacks and plank over the course of 2 weeks
 136. Exterior light fixture                      4.00 EA            62.63       0.00          0.00     0.00          50.10      300.62

 137. Meter base and main disconnect -            1.00 EA                       98.15          0.00     0.00          19.64      117.79
 400 to 2000 amp
 138. Junction box                                1.00 EA                       16.80          0.00     0.00            3.36      20.16

 139. Brick veneer                            2,600.00 SF                        2.46 .        0.00     0.00        1,279.20    7,675.20

 140. House wrap (air/moisture barrier)       2,600.00 SF                        0.05          0.00     0.00           26.00     156.00

      Installation
 141. House wrap (air/moisture barrier)       2,600.00 SF                        0.00          0.34    26.52          182.10    1,092.62

    Brick veneer
 142.                                         2,600.00 SF                        0.00         15.36   600.60        8,107.32   48,643.92

 143. Brick - Add for soldier or sailor          40.00 LF                        0.00          3.76     0.00           30.08     180.48
 course
 144. Brick - Add for rowlock course             48.00 LF                        0.00          3.76     0.00           36.10     216.58

 145. Meter base and main disconnect -            1.00 EA                        0.00        344.24     0.00           68.84     413.08
 400 to 2000 amp
 146. Junction box                                1.00 EA                        0.00         85.36     0.00           17.08      102.44

 147. Final cleaning - construction -          2,600.00 SF                       0.00          0.19    35.57           98.80      628.37
 Commercial

 Totals: Exterior - Brick                                                                             662.69       10,209.58   61,292.98

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                                     Exterior - Vinyl Siding

DESCRIPTION                                           QTY      RESET      REMOVE       REPLACE      TAX            O&P       TOTAL

Begin Sfding Repairs
   Tear Off
 148. Scaffold - per section (per week)          2.00 WK                       0.00        51.21     0,00          20.48      122.90

 2 sections over the course of 1 weeks
                                             4.00 HR                           0.00        39.51     0.00          31.60      189.64
 149. Scaffolding Setup & Take down -
 per hour
 Labor to take down and move scaffolding from elevation to elevation
                                                703.00 SF                      0.46         0.00     0.00           64.68     388.06
 150. Siding - vinyl
                                                703.00 SF                      0.05         0.00     0.00            7.04      42.19
 151. House wrap (air/moisture barrier)
  , Installation
                                                703.00 SF                      0.00         0.34     7.17           49.24     295,43
 152. House wrap (air/rnoisture barrier)
                                                703.00 SF                      0.00         3.82    71.71          551.44    3,308.61
 153. Siding - vinyl
                                                703.00 SF                      0.00         0.19     9.61           26.72     169.90
 154. Final cleaning - construction -
 Commercial

                                                                                                    88.49          751.20    4,516.73
 Totals: Exterior - Vinyl Siding



                                        Doors

                                                      QTY      RESET       REMOVE      REPLACE       TAX            O&P      TOTAL
 DESCRIPTION
                                                  1.00 EA                     23.17       321.89    14.96           72.02      432.04
 155. Exterior door - metal - insulated -
 flush or panel style
                                                  7.00 EA                     23.17       321.89    104.75         504.04    3,024.21
 156. Exterior door - inetal - insulated -
 flush or panel style
 Lacks uniform appearance

                                                                                                    119.71         576.06    3,456.25
 Totals: Doors



                                        Windows

                                                       QTY      RESET      REMOVE       REPLACE      TAX            O&P      TOTAL
  DESCRIPTION
                                                 12.00 EA                       6.76       120.71    39.03         313.72    1,882.39
  157. Shutters - simulated wood
  (polystyrene)
  Lacks uniform appearance
  Begin Window Repairs
     Removal
                                                  20.00 EA                     24.42         0.00     0.00           97.68     586.08
 158. Vinyl window, single hung, 9-12
 sf
CLINTON                                                                                                      3/16/2022         Page:14


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                                                           CONTINUED - Windows

                                                   QTY          RESET        REMOVE         REPLACE              TAX            O&P       TOTAL
DESCRIPTION

  Inslallation
                                            280.00 LF                               0.00         3.32           28.73          191.66      1,149.99
159. 2" x 4" lumber - treated (.667 BF
per LF)
Material for window bucking
                                              20.00 HR                              0.00        39.51             0.00         158.04       948.24
160. Carpentry - General Laborer - per
hour
Labor to reinove and replace window bucking
                                              20.00 EA                              0.00       414.20          415.01         1,739.80    10,438.81
161. Vinyl window, single hung, 9-12
sf • ,

                                                                                                          ow-Rough-Opening-3 6-in-x-48-in-Actual-3
https://www.lowes.com/pd/JELD-WEN-V2500-Vinyl-Double-Pane-Double-Strength-Single-Hung-Wind
5-5-in-x-47-5-in/5000000225
                                                                                 0.00        218.26         22.94              877.62      5,265.76
162. Add. charge for a retrofit            20.00 EA
window, 12-23 sf - difficult
                                                                                 0.00           7.67        46.03               438.72     2,632.35
163. Flashing - Sill flashing - moldable 280.00 LF
tape
The entire opening of each window must be flashed. This would be installed inside the window frame opening.
                                                                                 0.64           2.42         2.66                37.26       223.52
164. Metal Z flashing / drip cap           60.00 LF

Metal flashing required above all openings.
                                                                                     0.00         7.67           46.03          438.72     2,632.35
165. Flashing - Sill flashing - moldable    280.00 LF
tape
This is required to flash the outside windows where the nail flange is located.
                                                                                     0.00         3.08            2.35          172.96      1,037.71
 166. Caulking - acrylic                      280.00 LF

 To caulk around the windows
                                                                                     0.00         0.91             4.70          51.90       311.40
 167. Urethane foam sealant                   280.00 LF

 Non-expanding foam is required around the frames of all new windows.

                                                                                                                607.48         4,518.08    27,108.60
 Totals: Windows
                                                                                                               1,698.70       20,690.66   124,189.00
 Total: Building D Units 21-24

                                                                    Leasing Office



                                     Roof

                                                     QTY          RESET           REMOVE     REPLACE              TAX             O&P       TOTAL
 DESCRIPTION
                                                                                     0.00      3,666.66            0.00          733.34     4,400.00
 168. State Auto Estimate that paid for         1.00 EA
 the entire roof
                                                                                                                   0.00          733.34     4,400.00
 Totals: Roof



                                                                                                                          3/16/2022           Page:15
CLINTON

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        ~(7
        yu             128 Poplar Street, Gadsden, TN 38337




                                     Soffit/Gutters
 DESCRIPTION                                        QTY             RESET    REMOVE     REPLACE      TAX           O&P      TOTAL

 Begin SofftdGutter Repairs
 169. Two ladders with jacks and plank         2.00 WK                          0.00      363.69     0.00         145.48     872.86
 (per week)
 2 sets of ladders with jacks and plank over the course of 1 week
 170. Soffit - vinyl                          58.00 SF                          0.33        5.35     8.49          67.58     405.51
 Lacks uniform appearance
 171. Gutter / downspout - aluminum -        106.00 LF                          0.54       11.00    47.51         254.14    1,524.89
 6"

 Totals: Soffit/Gutters                                                                             56.00         467.20    2,803.26




                                     Exterior - Vinyl Siding

 DESCRIPTION                                        QTY             RESET    REMOVE     REPLACE      TAX           O&P      TOTAL

 Accessorfes
 172. Exterior light fixture                   2.00 EA               62.63       0.00        0.00    0.00          25.06     150.32
 Begin Siding Repairs
      Tear Off
 173. Scaffold - per section (per week)        2.00 WK                           0.00       51.21     0.00         20.48     122.90
 2 sections over the course of I weeks
 174. Scaffolding Setup & Take down -          4.00 HR                           0.00      39.51      0.00         31.60     189.64
 per hour
 Labor to take down and move scaffolding from elevation to elevation
 175. Mailboxes - commercial/group -           2.00 EA                           3.38        0.00     0.00           1.36       8.12
 keyed
 176. Surveillance camera - color              4.00 EA                          54.07        0.00     0.00         43.26     259.54
 177. Siding - vinyl                         632.00 SF                           0.46        0.00     0.00          58.14    348.86
 178. House wrap (air/moisture barrier)      632.00 SF                           0.05        0.00     0.00           6.32      37.92
      Installation
 179. House wrap (air/moisture barrier)      632.00 SF                           0.00        0.34     6.45          44.28    265.61
 180. Siding - vinyl                         632.00 SF                           0.00        3.82    64.46         495.74   2,974.44
 181. Mailboxes - commercial/group -           2.00 EA                           0.00        6.32     0.00           2.52      15.16
 keyed
 182. Surveillance camera - color              4.00 EA                           0.00      556.65    96.00         464.52   2,787.12
 183. Final cleaning - construction -        632.00 SF                           0.00        0.19     8.64          24.02     152.74
 Commercial

 Totals: Exterior - Vinyl Siding                                                                    175.55       1,217.30   7,312.37
CLTNTON                                                                                                     3/16/2022        Page:16

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         I~ TI rt    William Griffin, Public Insurance Adjuster
                     128 Poplar Street, Gadsden, TN 38337




                                    Exterior - Brick

 DESCRIPTION                                        QTY          RESET       REMOVE     REPLACE      TAX          O&P         TOTAL
 Accessorfes

 184. Exterior light fixture                   1.00 EA               62.63       0.00        0.00     0.00        12.52         75.15
 185. Wall mount mailbox                       1.00 EA               28.34       0.00        0.00     0.00            5.66      34.00
 Begfn Brfck Repairs
      Removal
 186. Two ladders with jacks and plank         4.00 WK                           0.00      363.69     0.00       290.96       1,745.72
 (per week)                                                                                           -
 2 sets of ladders with jacks and plank over the course of 2 weeks
 187. Meter base and main disconnect -         1.00 EA                          48.93        0.00     .0.00           9.78      58.71
 200 amp
 188. Junction box                             1.00 EA                          16.80        0.00     0.00            3.36      20.16
 189. Brick veneer                           690.00 SF                           2.46        0.00     0.00       339.48       2,036.88
 190.. House wrap (air/moisture barrier)     690.00 SF                           0.05        0.00     0.00            6.90      41.40
      Installation
 191. House wrap (air/moisture barrier)      690.00 SF                           0.00        0.34     7.04        48.32        289.96
 192. Brickveneer                            690.00 SF                           0.00       15.36   159.39     2,151.56      12,909.35
 193. Meter base and main disconnect -         1.00 EA                           0.00      243.90     0.00        48.78        292.68
 200 amp
 194. Junction box                             1.00 EA                           0.00       85.36     0.00        17.08        102.44
 195. Final cleaning - construction -        690.00 SF                           0.00        0.19     9.44        26.22        166.76
 Commercial

 Totals: Exterior - Brick                                                                           175.87     2,960.62      17,773.21




                                        Windows

 DESCRIPTION                                        QTY          RESET       REMOVE     REPLACE      TAX          O&P         TOTAL
 Begin Window Repafrs
      Removal
 196. Vinyl window, single hung, 9-12          5.00 EA                          24.42        0.00     0.00        24.42         146.52
 sf
      Installation
 197. 2" x 4" lumber - treated (.667 BF       56.00 LF                           0.00        3.32     5.75        38.34        230.01
 per LF)
 Material for window bucking
 198. Carpentry - General Laborer - per        5.00 HR                           0.00       39.51     0.00        39.52        237.07
 hour
 Labor to remove and replace window bucking

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     u Y           128 Poplar Street, Gadsden, TN 38337




                                                             CONTINUED - Windows

DESCRIPTION                                          QTY          RESET        REMOVE      REPLACE       TAX            O&P      TOTAL

199. Vinyl window, single hung, 9-12            5.00 EA                            0.00       414.20    103.75         434.96    2,609.71
sf

https://www.lowes.com/pd/JELD-WEN-V2500-Vinyl-Double-Pane-D ouble-Strength-Single-Hung-Window-Rough-Opening-3 6-in-x-48-in-Actual-3
5-5-in-x-47-5-in/5000000225
200.' Add. charge for a retrofit            5.00 EA                              0:00        218.26         5.74 219.40    1,316.44
window, 12-23 sf - difficult
201. Flashing - Sill flashing - moldable   56.00 LF                              0.00           7.67        9.21  87.74 '    526.47
tape
The entire opening of each window must be flashed. This would be installed inside the window frame opening.
 202. Metal Z flashing / drip cap              15.00 LF                            0.64         2.42      0.67           9.32       55.89

 Metal flashing required above all openings.
 203. Flashing - Sill flashing - moldable      56.00 LF                            0.00         7.67      9.21          87.74      526.47
 tape
 This is required to flash the outside windows where the nail flange is located.
 204. Caulking - acrylic                       56.00 LF                            0.00         3.08      0.47          34.60      207.55

 To caulk around the windows
 205. Urethane foam sealant                    56.00 LF                             0.00        0.91      0.94          10.38       62.28

 Non-expanding foam is required around the frames of all new windows.

 Totals: Windows                                                                                        135.74         986.42    5,918.41




                                     Doors

 DESCRIPTION                                         QTY          RESET        REMOVE      REPLACE       TAX            O&P      TOTAL

 206. Exterior door - metal - insulated -       3.00 EA                            23.17      321.89     44.89         216.02    1,296.09
 flush. or panel style
 Lacks unifonn appearance
 .207. Overhead door & hardware - 10' x         1.00 EA                            81.10     1,022.14    49.68         230.58    1,383.50
  7' ,
  208. Overhead (garage) door opener -         24.00 EA                             0.00      153.18      0.00         735.26    4,411.58
  Detach & reset
 209. Overhead door weather stop               24.00 LF                             0.00         2.84     1.76          14.00       83.92


 Totals: Doors                                                                                           96.33        1,195.86    7,175.09

 Total: Leasing Office                                                                                  639.49        7,560.74   45,382.34

                                                                         Gazebo




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                     WiIliam Griffin, Public Insurance Adjuster
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                     128 Poplar Street, Gadsden, TN 38337




                                       Roof

                                                        246.66 Surface Area                                          2.47 Number of Squares
                                                         62.00 Total Perimeter Length                                5.00 Total Ridge Length
                                                         3 7.78 Total Hip Length




 DESCRIPTION                                          QTY          RESET        REMOVE         REPLACE                TAX             O&P          TOTAL
    Tear Off
 All of the following are tear off line items and in Florida anyone who works on a roof carries the burden of roofing Worlrman's Compensation and
 General Liability insurances along with the safety conditions present in the rooffng trade. These items have been updated to reflect the correct 'labor
 burdens.
 210. 3 tab - 25 yr. - composition                2.47 SQ                          115.86             0.00          0.00           57.24          343.41
 shingle roofing - incl. felt
 211. Ridge cap - composition shingles           42.78 LF                            2.28             0.00          0.00           19.50          117.04

 212. Drip edge/gutter apron                   62.00 LF                                0.75            0,00            0.00             9.30          55.80

 213. Re-nailing of roof sheathing -          246.66 SF                                0.00            0.20            0.15             9.90          59.38
 complete re-nail
 = Dry In Process
 214. Prepare deck sheathing for felt         246.66 SF                                0.00            0.15            2.66             7.40          47.06

 215. Ice & water barrrier                    372.00 SF                                0.00            1.35            8.70          102.18          613.08

 216. Roofmg felt - 15 lb.                       2.47 SQ                               0.00           27.36            0.92           13.70           82.20

 217. Drip edge/gutter apron                   68.20 LF                                0.00            2.55            4.95           35.78          214.64

 218. Seal & paint trim - two coats            62.00 LF                                0.00            1.84             0.45          22.92          137.45

 To paint the drip edge
  ` Shingle Installation
 219. Asphalt starter - laminated double       68.20 LF                                0.00            3.99             7.49          55.92          335.53
 layer starter
 Starter course comes in 78 LF bundles and is not included in the field shingle line item.


 220. 3 tab - 25 yr. - comp. shingle             3.00 SQ                                0,00         194.67           17.25          120.26          721.52
 roofing - w/out felt
 Includes a standard 15% cutting loss factor for a hip roof. It is clear in Xactimate's item description pane for this line item, that it is designed for
 field shingles only. This line item does include a sufficient waste factor to account for the cutting loss that would be expected for a roof of this
 complexity.
 221. Ridge cap - High profile -                42.78 LF                                0.00             5.29            7.29           46.72          280.32
 composition shingles
 Ridge cap rounded up to account for 28 LF bundles and is not included in the field shingle line item. As per description in the second line item
 under roofing, this is not included in waste.

 222. Final clean up of jobsite.              246.66 SF                                 0.00            0.24            4.26           11.84           75.30

 Removal line items only include cleaning for immediate area which is the roof top. This does not including cleaning up around the grounds.


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                        William Griffin, Public Insurance Adj uster
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                        128 Poplar Street, Gadsden, TN 38337




                                                               CONTINUED - Roof

DESCRIPTION                                          QTY        RESET        REMOVE       REPLACE               TAX            O&P           TOTAL
Totals: Roof                                                                                                    54.12         512.66         3,082.73




                                      Soffit

DESCRIPTION                                          QTY        RESET        REMOVE       REPLACE               TAX            O&P           TOTAL

Begin Soffit/Repairs
223. Soffit - vinyl                            256.00 SF                           0.33           5.35          37.48         298.32         1,789.88

224. Two ladders with jacks and plank            1.00 WK                           0.00        363.69            0.00          72.74           436.43
(per week)

 Totals: Soffit                                                                                                 37.48         371.06         2,226.31

 Total: Gazebo                                                                                                  91.60         883.72         5,309.04




                                      General Conditions

 DESCRIPTION                                         QTY        RESET        REMOVE        REPLACE              TAX             O&P           TOTAL

 225. Commercial Supervision / Project         320.00 HR                           0.00          68.86           0.00        4,407.04        26,442.24
 Management - per hour
 226. Site Safety Supervisor                   320.00 HR                           0.00          68.86           0.00        4,407.04        26,442.24


  OSHA regulation Tftle 29 CFR §1926.502(h)- Safety MonitorfngSystems - www.osha.gov/Publicatfons/Const Res Man/1926m_interps.html

 . 1926.502(h)(1)(f)
     The safety monitor shall be competent to recognfze fall hazards;

     1926.502(h)(1)(ii)
     The safety monitor shall warn the employee when ft appears that the employee is unaware of a fall hazard or is acting in an unsafe manner;

     1926.502(h)(1)(iif)
     The safety monitor shall be on the same walking/working surface and within visual siglzting distance of the employee being monitored;

     1926.502(h)(1)(iv)
     The safety monitor shall be close enough to communicate orally with the employee; and 1926.502(h)(1)(v) The safety monitor shall not have
 other responsibilities which could take the monitor's attention from the monitorfngfunction.
 227. Central air conditioning systein -      24.00 EA                             149.92        0.00          0.00        719.62         4,317.70
 3 ton - up to 13 SEER
 228. HVAC Technician - per hour              24.00 HR                               0.00     100.00           0.00        480.00         2,880.00

 To disconnect and reconnect the HVAC units. Calculated at 1 hour per unit
 229. Central air conditioning system -         24.00 EA                           0.00       1,163.64            0.00       5,585.48        33,512.84
 3 ton - up to 13 SEER
 230. Central air cond. system -                24.00 EA                           0.00         151.61            0.00         727.72         4,366.36
 refrigerant evacuation

CLINTON                                                                                                                 3/16/2022               Page:20



             Case 1:23-cv-00041                 Document 1-2            Filed 06/20/23          Page 99 of 161 PageID #: 241
      T A'I n         William Griffin, Public Insurance Adjuster
        (~j GM~aJ M
       ~~             128 Poplar Street, Gadsden, TN 38337




                                                      CONTINUED - General Conditions

                                                   QTY          RESET        REMOVE         REPLACE              TAX             O&P       TOTAL
DESCRIPTION
                                             24.00 EA                               0.00         260.51        237.60         1,297.96     7,787.80
231'. Central air cond. system -
recharge - l Olb refrigerant
                                            320.00 HR                               0.00         122.92           0.00        7,866.88    47,201.28
232. Telehandler/forklift and operator
For uploading of materials to roof top.
                                              .1.00 MO                              0.00         115.84           8.34           23.16       147.34
233. Job-site cargo/storage container -
40' long - per month
For HVAC units
                                               2.00 EA                              0.00         128.69          18.53           51.48       327.39
234. Job-site cargo container - pick
up/del. (each way) 16'-40'
                                               2.00 MO                              0.00         279.08           0.00          111.64       669.80
235. Temporary construction office -.
portable (trailer)
                                              80.00 HR                              0.00           39.51          0.00          632.16     3,792.96
236. General Laborer - per hour
Progressive cleaning. 2 laborers, 1 hour per day, 5 days a week, for 8 weeks.
                                               4.00 EA                              0.00           52.50          0.00           42.00       252,00
 237. Barricade/warning sign/traffic
 cone - Min. equip. charge
                                           1,318.00 LF                              0.00               2.10       0.00          553.56     3,321.36
.238. Temporary fencing - 1-4 months
 (per month)
                                             160.00 HIt                            49.00               0.00       0.00        1,568:00     9,408.00
 239. General Demolition - per hour
 Additional labor to cart debris to the dumpster area. Calculated at 2 workers for 2 hours per day for 4 weeks
                                             22,487. SF                               0.00           1.40      1,888.91       6,674.14    40,044.85
 240. Sheathing - OSB - 1/2"
                                                 00
 Asphalt protection from heavy equipment.
                                            22,487. SF                               0.61              0.00       0,00         2,743.42   16,460.49
 241. Sheathing - OSB - 1/2"
                                                 00
                                             640.00 SF                               0.00              1.40      53,76          189.96      1,139.72
 242. Sheathing - OSB - 1/2"
 Place under the dumpster to protect the asphalt. 40 yard dumpsters are 20 feet long by 8 feet wide.
                                             640.00 SF                               0.61              0.00        0.00           78.08      468.48
 243. Sheathing - OSB - 1/2"
                                              13.00 EA                            640.00               0.00        0.00        1,664.00     9,984.00
 244. Dumpster load - Approx. 40
 yards, 7-8 tons of debris

                                                                                                              2,207.14        39,823.34   238,966.85
 Totals: General Conditions

 Labor Minimums Applied

                                                      QTY         RESET         REMOVE       REPLACE              TAX             O&P       TOTAL
 DESCRIPTION
                                                1.00 EA                              0.00         127.48           0.00           25.50       152.98
 245. Finish hardware labor minimum
                                                1.00 EA                              0.00         150.99           0.00           30.20       181.19
 246. Specialty items labor minimum

                                                                                                                   0.00           55.70       334.17
 Totals: Labor Minimums Applied

                                                                                                              10,934.54      140,833.22   845,272.91
 Line Item Totals: CLINTON


CLINTON                                                                                                                   3/16/2022           Page:21


          Case 1:23-cv-00041                 Document 1-2             Filed 06/20/23             Page 100 of 161 PageID #: 242
                    William Griffin, Public Insurance Adjuster
    Y      ~J
   Mllll:fn G~MqN
                    128 Poplar Street, Gadsden, TN 38337




Grand Total Areas:
          0.00 SF Walls                              0.00 SF Ceiling                   0.00 SF Walls and Ceiling
          0.00 SF Floor                              0.00 SY Flooring                  0.00 LF Floor Perimeter
          0.00 SF Long Wall                          0.00 SF Short Wall                0.00 LF Ceil. Perimeter


           0.00 Floor Area                           0.00 Total Area                   0.00 Interior Wall Area
           0.00 Exterior Wall Area                   0.00 Exterior Perimeter of
                                                          Walls

        246.66 Surface Area                          2.47 Number of Squares           62.00 Total Perimeter Length
        - 5.00 Total Ridge Length                   37.78 Total Hip Length




                                                                                                   3/16/2022         Page:22
CLINTON


         Case 1:23-cv-00041              Document 1-2          Filed 06/20/23     Page 101 of 161 PageID #: 243
                    William Griffin, Public Insurance Adjuster
         ~ve M1,A   128 Poplar Street, Gadsden, TN 38337




                                                           Summary for Dwelling
Line Item Total                                                                                           693,505.15

Material Sales Tax                                                                                          10,660.17

Subtotal                                                                                                  704,165.32
Overhead                                                                                                   70,416.61
Profit                                                                                                     70,416.61
Total Tax                                                                                                     274.37

Replacement Cost Value                                                                                    $845,272.91
Net Claim                                                                                                 $845,272.91




CLINTON                                                                                       3/16/2022         Page:23


           Case 1:23-cv-00041            Document 1-2          Filed 06/20/23   Page 102 of 161 PageID #: 244
   ~h
  ~r          — I William Griffin, Public Insurance Adjuster
                    128 Poplar Street Gadsden TN 38337
   y~ VJ
     ruun~neunn~x                  ~       ~




                                                     Recap by Category

O&P Items                                                                                  Total             %
CLEANING                                                                                  3,437.92     0.41%
CONTENT MANIPULATION                                                                        373.22     0.04%
GENERAL D'EMOLITION                                                                      74,405.90     8.80%
DOORS                                                                                    16,032.77     1.90%
ELECTRICAL                                                                                3,424.62     0.41%
ELECTRICAL - SPECIAL SYSTEMS                                                              2,226.60     0.26%
HEAVY EQUIPMENT                                                                          39,334.40     4.65%
FINISH HARDWARE                                                                             140.12     0.02%
FRAMING & ROUGH CARPENTRY                                                                41,069.43     4.86%
HEAT, VENT & AIR CONDITIONING                                                            47,804.36     5.66%
INStJLATION                                                                               1,288.56     0.15%
LABOR ONLY                                                                               47,231.20     5.59%
LIGHT FIXTURES                                                                            1,189.97     0.14%
MASONRY                                                                                 189,161.60    22.38%
MOISTURE PROTECTION                                                                      26,082.72     3.09%
PAINTING                                                                                    114.08     0.01%
ROOFING                                                                                  63,868.48     7.56%
SCAFFOLDING                                                                              12,210.57     1.44%
SIDING                                                                                   36,580.90     4.33%
SOFFIT, FASCIA, & GUTTER                                                                 20,944.30     2.48%
SPECIALTY ITEMS                                                                             179.33     0.02%
TEMPORARY REPAIRS                                                                         3,535.96     0.42%
WINDOWS - VINYL                                                                          62,868.14     7.44%

 O&P Items Subtotal                                                                     693,505.15     82.05%
 Material Sales Tax                                                                      10,660.17      1.26%
 Overhead                                                                                70,416.61      8.33%
 Profit                                                                                  70,416.61         8.33 %
 Total Tax                                                                                  274.37         0.03%

 Total                                                                                  845,272.91    100.00%




CLINTON                                                                                  3/16/2022         Page:24


          Case 1:23-cv-00041            Document 1-2      Filed 06/20/23   Page 103 of 161 PageID #: 245
Gazebo




                                                                                                              1
                                                                                                             Gazebo
                                                                                                 3/16/2022    Page:25
  CLINTON   Case 1:23-cv-00041   Document 1-2   Filed 06/20/23   Page 104 of 161 PageID #: 246
               William Griffin, Public Insurance Adjuster
               128 Poplar Street, Gadsden, TN 38337




                                               Sketch Roof Annotations


 Gazebo
 Face                          Square Feet                 Number of Squares                  Slope - Rise / 12
F1                                    44.54                              0.45                             4.00
F2                                    44.54                              0.45                             4.00
F3                                    78.79                              0.79                             4.00
F4                                    78.79                              0.79                             4.00
 Estimated Total:                    246.66                              2.47




CLINTONCase    1:23-cv-00041        Document 1-2       Filed 06/20/23     Page 105 of 1613/16/2022
                                                                                           PageID #: 247 Page:26
u                                                   EXH1BB1' C
   STIe,TE AllTO
 A     Insurance Companies
                                                    6/30/22
                                                    Denial letter



      CERTIFIED MAIL
      RETURN RECEIPT REQUESTED
      RECEIPT ND:
      AND REGULAR MAIL



       Jun 30, 2022



 '     Volunteer Management & Development Company, Inc.
       Attn: Chris Tursky & Tyler Tursky
       60 Miller Avenue
       Jackson, TN 38305



       Our Insured: Volunteer MGMT & Development Company, Inc.
       Policy No:    PBP2864751
       File Number: PR-0000000-400349
       Date of Loss: 12/10/2021
       Locations:    73 Hobbs Street, Arlington, KY 42021
                     205 Ringo Drive, Clinton, KY 42031
                     1230 Ellington Pkwy, Lewisburg, TN 37091
                     1520 Glen Avenue, Lewisburg, TN 37091
       Company:      State Auto Property & Casualty Insurance Company
       NAIC No:       25127
                                           PARTIAL DECLINATION


       Dear Mr. Tursky:

                                                                                     Auto"). State
       I write on behalf of State Auto Property & Casualty Insurance Company ("State
                                                                                   ment &
       Auto is in receipt of the supplemental claim presented by Volunteer Manage
                                                                                  above listed locations
       Development Company, Inc., for a building exterior storm loss at your four
                                                                                  12/10/21.
       under policy number PBP2864751. Damage claimed is for the date of loss,

                                                                                    damages. Our recent
         We initially inspected, adjusted, and paid for the actual cash value minor
                                                                                covered damages.
        engineering inspection finds no additional damage and unrelated non

        Please see damage and coverage evaluation below:
                                                                     614.464.5000    StateAuto.com
 Corporate Headquarters 518 East Broad Street Columbus, Ohio 43215




      Case 1:23-cv-00041        Document 1-2       Filed 06/20/23    Page 106 of 161 PageID #: 248
   I.       FACTUAL BACKGROUND


12/10/21.....Mayfield, Kentuckytornado loss date
12/11/21.....claim was reported to State Auto Insurance
12/12/21......1oss site inspected by our GAJeff Maday
01/18/22......additional claim for other locations reported to State Auto Insurance
01/18/22......loss sites inspected by our CAT adjuster Aaron Rundberg
03/07/22......actual cash:value payments issued for all loss sites
04/Ol/22...... received letter of representation from public adjuster William Griffin, Griffin Loss
Consuitants
06/01/22......our hired engineers, 'Ben Hall and Noah Monfiemius, EES Group, inspected
additional loss sites

In review of EES Group's inspection report, no additional covered storm damage was
discovered. In addition, older wind and hail, mechanical, and wear/tear damages were
discovered. I have attached EES Group's report for your review.

THE EE:S G,ROUP REPORT WAS'REFUTED IN ITS ENTIRETY AND THEIR P,HOTOS
S-HOWED DAMAGE THAT WAS COVERED BUT CARRIER DID NOT PAY FOR NOR DID
E'NGINEERS CORRECT THE ERRORS.
    11,     STATE AUTO POLICY

                                                                                        ent
State Auto issued Businessowners Policy No. PBP2864751 to Volunteer Managem
                                                                             (the "State Auto
&'Development Company, Inc., for the policy period of 05/12/2021— 05/12/2022
                                                                               10/12) and
Policy"). The State Auto Policy provides coverage pursuant to form (CP0010
various endorsements. THE READINGS WERE TAKEN MILES AWAY.

 We quote pertinent portions of the State Auto Policy in the letter below. The provisions in the
                                                                                            policy
 Ietter are for your ease of reference and are not intended to be an exhaustive list of all
                                                                                     d in this
 terms,_ conditions, and exclusions that may ultimately apply to the issues presente
              9
 matlll~: Ple~VEO  AuMRb69ittthlAuto Policy for its complete terms and conditions.

                                                                                     cal          and
    A. Wind and hail damage outside of the date of loss and coverage period, mechani
       wear/tear damage are not covered under this policy
                                                             NONE HAS BEEN CLAIMED.

 Pursuant to Building and Personal Property Coverage Form (CP0010 10/12), coverage applies to
 direct physical loss of or damage to Covered Property:

     A. Coverage
          We will pay for direct physical loss of or damage to Covered Property at the premises
          described in the Declarations caused by or resulting from any Covered Cause of Loss.
          1. Covered Property




Case 1:23-cv-00041         Document 1-2        Filed 06/20/23        Page 107 of 161 PageID #: 249
           Covered Property, as used in this Coverage Part, means the type of property
           described in this section, A.1., and limited in A.2. Property Not Covered, if a Limit Of
           Insurance is shown in the Declarations for that type of property.
           a. Building...

       3. Covered Causes Of Loss
          See applicable Causes Of Loss form as shown in the Declarations.

   B. Exclusions And Limitations
      See applicable Causes Of Loss form as shown in the Declarations.

Next, please see Causes of Loss - Special Form (CP1030 10/12)



A. Covered Causes Of Loss

When Special is shown in the Declarations, Covered Causes of Loss means direct physical loss
unless the loss is excluded or limited in this poiicy

                                                                                        loss
When Special is shown in the Declarations, Covered Causes of Loss means direct physical
unless the loss is excluded or limited in this policy.

B. Exclusions

        2. We will not pay for loss or damage caused by or resulting from any of the following,
                                                                                                   a
3.a. through 3.c. But if an excluded cause of loss that. is listed in 3.a. through 3.c. results in
                                                                                                 of Loss.
Covered Cause of Loss, we will pay for the loss or damage caused by that Covered Cause
                                  At no time has this cond,ition been submitted as a cause
        d.(1) Wear and tear;
                                  of these losses
       (2) Rust or other corrosion, decay, deterioration, hidden or latent defect or any quality
in property that causes it to damage or destroy itself;

        (3) Smog;

        (4) Settling, cracking, shrinking or expansion;

m. Neglect of an insured to use all reasonable means to save and preserve property from
further damage at and after the time of loss.

         3. We will not pay for loss or damage caused by or resulting from any of the following,
                                                                                                   a
 3.a. through 3.c. But if an excluded cause of loss that is listed in 3.a. through 3.c. results in
                                                                                                 of Loss.
 Covered Cause of Loss, we will pay for the loss or damage caused by that Covered Cause

         a. Weather conditions. But this exclusion only applies if weather conditions contribute
                                                                                         damage.
 in any way with a cause or event excluded in Paragraph 1. above to produce the loss or



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       b. Acts or decisions, including the failure to act or decide, of any person, group,
organization or governmental body.

       c. Faulty, inadequate or defective:

          (1) Planning, zoning, development, surveying, siting;

       (2) Design, specifications, workmanship, repair, construction, renovation, remodeling,
grading, compaction;

          (3) Materials used in repair, construction, renovation or remodeling; or

          (4) Maintenance;

of part or all of any property on or off the described premises.




Next, please see Commercial Property Conditions (CP0090 07/88)

This Coverage Part is subject to the following conditions, the Common Policy Conditions and
applicable Loss Conditions and Additional Conditions in Commercial Property Coverage Forms.

D. LEGAL ACTION AGAINST US

   No one may bring a legal action against us under this Coverage Part unless:
    1. There has been full compliance with all of the terms of this Coverage Part; and
    2. The action is brought within 2 years after the date on which the direct physical loss or
       damage occurred.                    THIS lS 1i+lHY 1'OU h!A`JE TO PARTICIPATE IN
                                           APPRAISAL WHEN DEMANDED.
   H. POLICY PERIOD, COVERAGE TERRITORY
    Under this Coverage Part:
    1. We cover loss or damage commencing:
           a. During the policy period shown in the Declarations; and
              b.   Within the coverage territory.



 State Auto reserves its rights under the policy provisions cited above and all other provisions of
 the Policy. State Auto does not waive any provisions of the Policy.

    IV.       CONCLUSION

  We are always willing to reconsider our coverage evaluation in light of any new
                                                                                   If you
 or additional facts, information, evidence, reported case law or federal statute.
                                                                                       or
 are aware of any new .or additional facts, information, evidence, reported case law
 federal statute which would
State Auto has been in possession of our information and it was provided to EE.1
as well.
Case     However, it
     1:23-cv-00041 Document   given
                     was not1-2      to the engineers prior to their inspection and
                                  Filed 06/20/23 Page 109 of 161 PageID #: 251
thus could not have been properly considered. (see rebuttal attached)
 EES WAS GIVEN A COPY OF EVERYTHING WEEKS IN ADVANCE.


have any bearing on the coverage issues outlined in this correspondence, please provide the
same to us as soon as possible and we will give any new information due consideration. Please
be advised, however, that our invitation to submit additional information or documentation is
made without waiving or limiting State Auto's coverage position as stated in this letter.


This letter is not intended to, nor should it be construed as, setting forth all coverage defenses
that may arise in connection with the claim. We specifically reserve all of our rights under the
Policy and the laws of the States of Kentucky & Tennessee and no waiver or estoppel of any kind
is intended, nor should it be inferred. State Auto reserves its rights under the Policy and
applicable law to cite additional policy provisions and defenses as may be appropriate. By
limiting policy references to the policy language cited above, State Auto does not waive any
other provisions of the Policy. The Policy in its entirety is incorporated by reference as though
fully set forth in this letter.   APPRAISAL IS A TERM AND CONDITION OF THE POLICY.

Please let me know if you have any questions.

Respectfully,



Mike Wakefietd, CPCU, AIC
CARE Manager J EGA
State Auto Insurance Companies
Phone: 614-301-5769

cc: Griffen Loss Consultants,
    Commercial Insurance Associates, LLC




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       ~w                                                             William Griffin <william@griffinlossconsultants.com>
    Griffin Building
       Consultants



Volunteer MGMT Inspection Report, Letter, and Business Income Loss Report
14 messages

Mike Wakefield <mike.wakefield@stateauto.com>                                                Fri, Jul 1, 2022 at 1:00 PM
To: Chris Tursky <ctursky@vo lunteermgmt. com>, Tyler  Tursky <ttursky@vol unteermgmt.c om>, Ryan  Taylor
<rtaylor@com-ins.com>, William Griffin <william@griffinlossconsultants.com>

  Gentlemen, we completed our investigation into the additional damage loss sites and our business income loss
  calculations.

  See attached reports and letter.

  Please contact me if you have any questions.

  Thanks,

  Mike

  Mike Wakefield, CPCU, AIC I CARE Manager
  State Auto Insurance Companies
  E I mike.wakefield@stateauto.com
  P 16143015769


  Log in here to access your claim information whenever you need it




   3 attachments
   .® Volunteer MGMT Partial Declination.docx - Google Docs.pdf
      175K

   ~     Volunteer MGMT BI Report.pdf
         359K

   .~ Volunteer EES Report.pdf
      11889K


 William GrifPin <william@griffinlossconsultants.com>                                                    Fri, Jul 1, 2022 at 2:09 PM
 To: Mike Wakefield <mike.wakefield@stateauto.com> PJ Smith
 <pj@coveredloss.consulting>

   Mike,

                                                                                                                          any supportive facts
   I have reviewed one of the first reports compiled by the two inspectors I met from EES and was shocked to not see
                                                                                                   with these  gentlemen,      obsenring their
   or evidence that would cause me to change anything in my assessments. After speaking
                                                                                                          policy  definitions of  damage and
   inspection techniques, discussions with them about their knowledge of damage, or lack thereof,
                                                                                                                        reports  that you have
   coverage, etc — I have several concerns that will be need to be addressed in the coming days pertaining to these
                                                                                                                    best; so, for expediency
   used as basis for your denials. Quite frankly, these reports you relied upon are inadequate and inaccurate at
                                                                        unfortunate  matters. Let me know  what  you  think/
   purposes, we should probably proceed to appraisal to resolve these
       Case 1:23-cv-00041             Document 1-2           Filed 06/20/23          Page 111 of 161 PageID #: 253
    Regards,
  ~      Volunteer MGMT BI Report.pdf
         359K
  ~      Volunteer EES Report.pdf
         11889K


                                                                                            Tue, Jul 5, 2022 at 11:39 AM
Chris Tursky <ctursky@volunteermgmt.com>
                                                                             volunteerm gmt.com> , Ryan Taylor
To: Mike Wakefield <mike.wakefield@stateauto.com>, Tyler Tursky <ttursky@
<rtaylor@com-ins.com>, William Griffin <william@griffin[ossconsultants .com>


  Mike, what backup do you need to repay the costs for debris removal to date?



 :Chris Tursky

  President

  Volunteer Management & Development Company, Inc.

  60 Miller Avenue

  Jackson, TN 38305

  Ph: (731) 554-2320

  Fax: (731) 554-2322

  Email: ctursky@volunteermgmt.com




   From: Mike Wakefield <mike.wakefield@stateauto.com>
   Sent: Friday, July 01, 2022 1:01 PM
                                                                                         >; Ryan Taylor
   To: Chris Tursky <ctursky@vo[unteermgmt.com>; Tyler Tursky <ttursky@volunteermgmt.com
   <rtaylor@com-ins.com>; William Griffin <william@griffin[ossconsultants.com>
   Subject: Volunteer MGMT Inspection Report, Letter, and Business Income Loss Report



                                                                                       our business income loss
   Gentlemen, we comp[eted our investigation into the additional damage loss sites and
   calculations.

   [Quoted text hidden]


                                                                                                Mon, Jul 11, 2022 at 12:25 PM
 William Griffin <william@griffin[ossconsu[tants.com>
 To: Chris Tursky <ctursky@volunteermgmt.com>
                                                                                           in a few for your review prior   to
   We just need an invoice on this Chris. I am sending the first rebuttal to the engineers
   submission to carrier.

      They have no shame on this one!!
      [Quoted text hidden]


                                                                                                 Mon, Jul 11, 2022 at 1:01 PM
 William Griffin <william@griffinlossconsu[tants.com>
 To: Chris Tursky <ctursky@volunteermgmt.com>
 Cc: Tyler Tursky <ttursky@volunteermgmt.com>



          Case 1:23-cv-00041        Document 1-2          Filed 06/20/23         Page 112 of 161 PageID #: 254
Gentlemen,
I have reviewed one of the first reports compiled by the two inspectors I met with from EES and was
shocked to not see any supportive facts or evidence that would cause me to change anything in my
                                                                                                       with
assessment. After speaking with these gentlemen, observing their inspection techniques, discussions
thern about their knowledge of damage, or lack thereof, policy definitions of damage and     coverage, etc
-- I have several concerns that will be addressed in the coming days pertaining to these reports they put
their stamp on and that Mike used as basis for his denials. Quite frankly, these reports the camer relied
upon are inadequate and inaccurate at best; so, for expediency purposes, I am providing you with the first
 rebuttal that I will send to Mr Wakeield today after your approval.

 Let me know if I need to amend or add anything I may have missed or am unaware of (Any damage
 repair or mitigation that you have incurred since opening claim)

 Thanks

 On Tue, Jul 5, 2022 at 11:39 AM Chris Tursky <ctursky@volunteermgmt.com> wrote:
 [Quoted text hidden)



  2 attachments
  .~ EES Arlington Ky Report Rebuttal.pdf
     1672K
  ~    Arlington companycam_report.pdf
       13473K


                                                                                              Mon, Jul 11, 2022 at 1:26 PM
TylerTursky <ttursky@volunteermgmt.com>
                                                      om>, Chris Tursky <ctursky@ volunteerm gmt.com>
To: William Griffin <william@griffinlossconsultants.c


  Go ahead and send it on to Mike. Let us know how it goes.



  Thanks,



  Tyler Tursky

  Tursky Construction Company, LLC

  60 Miller Avenue

  Jackson, TN 38305-4333

  Ph. 731-554-2320

  Fax 731-554-2322

  Email: ttursky@volunteermgmt.com




       Case 1:23-cv-00041          Document 1-2         Filed 06/20/23        Page 113 of 161 PageID #: 255
                                          -00  1s
                                             004
                                            1M          TURSKY
                                                        Can+sTRUc-riON Ca.,LLE.


 [Quoted text hidden]



Mike Wakefield <mike.wakefield@stateauto.com>                                           Mon, Jul 11, 2022 at 3:43 PM
To: Chris Tursky  <ctursky@vo[u  nteermgmt.com>
Cc: Tyler Tursky. <ttursky@vo[unteermgmt.com>, Ryan Taylor <rtaylor@com-ins.com>, William Griffin
<william@ griffinlossconsultants.com>

  Chris, if you remain interested in sett[ing the remaining claim for $250k plus the $52,628 ($302,628 -$250k advance)
  business income loss, I do not need additional documentation from you. I'will simp[y send you a release for
  signatures.

  If you are not interested in the.above sett[ement offer, I will need all re[ated debris removal invoices. This inc[udes
  mini excavator total hours per location, dump trucks labor logs, dump fee load tickets, laborer time sheets, skid steer
  total hours, and supervisor tota hours.

  Thank you.

  Mike


  Mike Wakefield, CPCU, AIC I CARE Manager
  State Auto Insurance Companies
  E mike.wakefield@stateauto.com
  P 6143015769


  Log in here fo access your c/airn informafion whenever yotr need it




  On Tue, Jul 5, 2022 at 11:39 AM Chris Tursky <ctursky@vo[unteermgmt.com> wrote:
  [Quoted text hidden]



Tyler Tursky <ttursky@volunteermgmt.com>                                                     Mon, Jul 11, 2022 at 4:13 PM
To: Chris Tursky <ctursky@volu nteermgmt.com>, William Griffin <williarn@griffi nlossconsultan ts.com>

  Pretty sure it's bullshit all of that is required. We hired contractors to do the work and paid their invoices. That's our
  back up.

   Sent from my Verizon, Samsung Galaxy smartphone
   Get Out[ook for Android

   From: Mike Wakefield <mike.wakefield@stateauto.com>
   Sent: Monday, July 11, 2022 3:43:26 PM
   To: Chris Tursky <ctursky@volunteermgmt.com>
   Cc: Tyler Tursky <ttursky@volunteermgmt.com>; Ryan Taylor <rtaylor@com-ins.com>; William Griffin
   <william@griffinlossconsultants.com>
   Subject: Re: Volunteer MGMT Inspection Report, Letter, and, Business Income Loss Report
       Case 1:23-cv-00041            Document 1-2          Filed 06/20/23          Page 114 of 161 PageID #: 256
 [Quoted text hidden]



Chris Tursky <ctursky@vo[unteermgmt.com>                                              Wed, Jul 13, 2022 at 11:05 AM
To: Mike Wakefield  <mike.wakefie[d@s tateauto.com>
Cc: Tyler Tursky <ttursky@vo[unteermgmt.com>, Ryan Taylor <rtaylor@com-ins.com>, W[Iliam Griffin
<william@griffin[ossconsultants.com>


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  or two about the business income loss that we addressed to Trent Kral.

  [Quoted text hidden]



Mike Wakefield <mike.wakefie[d@stateauto.com>                                        Wed, Jul 13, 2022 at 12:35 PM
To: Chris Tursky <ctursky@volunteer mgmt.com>
Cc: Tyler Tursky <ttursky@volunteermgmt.com>, Ryan Taylor <rtay[or@com-ins.com>, William Griffin
<william@griffin[ossconsu[tants.com>

  Chris, once we resolve the business income loss, it is my intent to sett[e on your offer for all locations. .

  Thanks,

  Mike



  Mike Wakefield, CPCU, AIC I CARE Manager
  State Auto Insurance Companies
  E mike.wakefie[d@stateauto.com
  P 6143015769


  Log in here to access your claim information whenever you need it




  [Quoted text hidden]



William Griffin <william@griffin[ossconsultants.com>                                               Wed, Jul 20, 2022 at 1:56 PM
To: Chris Tursky <ctursky@vo[unteermgmt.com>

  Demand an appraisal ... that will settle it.

  I am in Xactware training today til 6 pm -- I am sending mike the rebuttals on every break

   If you need me to make the demand let me know on email ok
   [Quoted text hidden]



 Chris Tursky <ctursky@volunteermgmt.com>                                                          Wed, Jul 20, 2022 at 2:17 PM
 To: William Griffin <william@griffin[ossconsultants.com>


   We are frustrated with the process so would like you to take it from here. We have several invoices, but are
   concerned that however, we categorize them Wakefield will say it is incorrect. We really wou[d like to ta[k to you prior
        Case 1:23-cv-00041           Document 1-2           Filed 06/20/23         Page 115 of 161 PageID #: 257
to your submittal, I know you are busy so just tell us when you are available and we will talk.



Chris Tursky

President

Volunteer Management & Development Company, Inc.

60 Miller Avenue

Jackson, TN 38305

Ph: (731) 554-2320

Fax: (731) 554-2322

Email: ctursky@volunteermgmt.com




From: William Griffin <william@griffinlossconsultants.corn>
Sent: Wednesday, July 20, 2022 1:57 PM
To: Chris Tursky <ctursky@volunteermgrnt.com>
Subject: Re: Volunteer MGMT Inspection Report, Letter, and Business Income Loss Report



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If you need me to make the demand let me know on email ok



On Mon, Jul 11, 2022 at 3:43 PM Mike Wakefield <mike.wakefieid@stateauto.com> wrote:

 ! Chris, if you remain interested in settling the remaining claim for $250k plus the $52,628 ($302,628 -$250k
 ~ advance) business income loss, I do not need additional documentation from you. I will simply send you a release
 ~ for signatures.



   If you are not interested in the above settlement offer, I will need all related debris removal invoices. This includes
   mini excavator total hours per location, dump trucks labor logs, dump fee load tickets, laborer time sheets, skid
   steer total hours, and supervisor tota hours.



   Thank you.



   Mike




     Case 1:23-cv-00041             Document 1-2         Filed 06/20/23         Page 116 of 161 PageID #: 258
    Mike Wakefield, CPCU, AIC I CARE Manager

    State Auto Insurance Companies

    E I mike.wakefield@stateauto.com

    P 16143015769


    Log in here to access your claim information whenever you need it
i
,




    On Tue, JuI 5, 2022 at 11:39 AM Chris Tursky <ctursk      volunteermgmt.com> wrote:

       Mike, what backup do you need to repay the costs for debris removal to date?
     i
     ;
     ~
     ' Chris Tursky

     I President

     i Volunteer Management & Development Company, Inc.

         60 Miller Avenue

         Jackson, TN 38305
     ;
         Ph: (731) 554-2320

         Fax: (731) 554-2322

         Email: cturskyOvolunteermgmt.com




     ;    From: Mike Wakefield <mike. wakefield @statea uto. com>
     ~    Sent: Friday, July 01, 2022 1:01 PM
                                                                                                    Ryan Taylor
     ;    To: Chris Tursky <ctursky_@volunteermgmt.com>; Tyler Tursky <ttursky_@volunteermgmt.com>;
     ;    <rtaylor@com-ins.com>; William   Griffin <william@.g riffinlosscons ultants.com>
          Subject: Volunteer MGMT Inspection Report, Letter, and Business Income Loss Report



                                                                                                  business income loss
          Gentlemen, we completed our investigation into the additional damage loss sites and our
          calculations.



          See attached reports and letter.



          Please contact me if you have any questions.



         : Thanks,
      Case 1:23-cv-00041             Document 1-2        Filed 06/20/23       Page 117 of 161 PageID #: 259
       Mike




       Mike Wakefield, CPCU, AIC I CARE Manager

     : State Auto Insurance Companies

       E I mike:wakefield@stateauto.com

       P 16143015769


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                                                                                                 the link will be analyzed for
 Links contained in this email have been replaced. If you click on a link in the email above,
 known threats. If a known threat is found, you will not be able to proceed   to the destinatio n. If suspicious content is
 detected, you will see a warning.


                                                                                                 Wed, Jul 20, 2022 at 2:25 PM
William Griffin <william@griffinlossconsultants.com>
To: Chris Tursky <ctursky@volunteermgmt.com>

  Sure thing -- 6 pm tonight ok ?
                                                                                   now if ok with you -- we can
  I was going to go ahead and get the rebuttals and appraisal demands on apts gong
  address the debris removal demands later as well.

  Let me know
  [Quoted text hidden]


                                                                                                  Wed, Jul 20, 2022 at 2:27 PM
Chris Tursky <ctursky@volunteermgmt.com>
To: William Griffin <william@griffinlossconsultants.com>
Cc: Tyler Tursky <ttursky@volunteermgmt.com>


  Yes, call Tylers phone he knows how to connect me in.

  [Quoted text hidden]




      Case 1:23-cv-00041            Document 1-2           Filed 06/20/23         Page 118 of 161 PageID #: 260
     .~
                                                                       William Griffin <william@griffinlossconsultants.com>
    Griffm Building
      Coneulrants


                                                                                                                     Report
Volunteer MGMT Inspection Report, Letter, and Business Income Loss
14 messages
                                                                                           Fri, Jul 1, 2022 at 1:00 PM
Mike Wakefield <mike.wakefield@stateauto.com>
                                                                      @volunteermgmt.com>, Ryan  Taylor
To: Chris Tursky <ctursky@volunteermgmt.com>, Tyler Tursky <ttursky
                                                                       .com>
<rtaylor@com-ins.com>, William Griffin <william@griffinlossconsultants

                                                                       loss sites and our business income loss
  Gentlemen, we completed our investigation into the additional damage
  calculations.

  See attached reports and letter.

  Please contact me if you have any questions.

  Thanks,

  Mike

  Mike Wakefield, CPCU, AIC I CARE Manager
  State Auto Insurance Companies
  E mike.wakefieid@stateauto.com
  P 6143015769


   Log in here to access your claim information whenever you need it




    3 attachments
                                                               df
    .~ Volunteer MGMT Partial Declination.docx - Google Docs.p
         175K
    .~ Volunteer MGMT BI Report.pdf
       359K

    .n Volunteer EES Report.pdf
       11889K


                                                                                                            Fri, Jul 1, 2022 at 2:09 PM
 William Griffin <william@griffinlossconsultants.com>
 To: Mike V1lakefield <mike.wakefield@stateauto.com> PJ Smith
 <pj@coveredloss.consulting>

    Mike,
                                                                                                                                          ve facts
                                                                           rs I met from EES and was shocked to not see any supporti
    I have reviewed one of the first reports compiled by the two inspecto                                                                  g their
                                                                      assessments. After speaking with these gentlemen, observin
    or evidence that would cause me to change anything in my                                                                         damage   and
                                                                         ge of damage, or lack     thereof, policy  definition s of
    inspection techniques, discussions with them about their knowled                                                                that you have
                                                                      addressed in the coming days pertainin g  to these  reports
    coverage, etc -- I have several concerns that will be need to be                                                                  expediency
                                                           reports you relied upon are inadequate and inaccurate at best; so, for
    used as basis for your denials. Quite frankly, these
                                                                           unfortunate mafters. Let me knowwhat you think/
    purposes, we should probably proceed to appraisal to resolve these
      Case 1:23-cv-00041               Document 1-2            Filed 06/20/23          Page 119 of 161 PageID #: 261
     Regards,
  on Volunteer MGMT BI Report.pdf
     359K

  ~      Volunteer EES Report.pdf
         11889K


                                                                                        Tue, Jul 5, 2022 at 11:39 AM
Chris Tursky <ctursky@volunteermgmt.com>
                                                                                  rmgmt.co m>, Ryan Taylor
To: Mike Wakefield <mike.wakefield@stateauto.com>, Tyler Tursky <ttursky@vo[untee
<rtaylor@com-ins.com>, William Griffin <william@griffin[ossconsultants.com>


  Mike, what backup do you need to repay the costs for debris removal to date?



  Chris Tursky

  President

  Volunteer Manageroent & Development Company, Inc.

  60 Miller Avenue

  Jackson, TN 38305

  Ph: (731) 554-2320

  Fax: (731) 554-2322

  Email: ctursky@volunteermgmt.com




   From: Mike Wakefield <mike.wakefield@stateauto.com>
   Sent: Friday, July 01, 2022 1:01 PM
                                                                                      rmgmt.com>; Ryan Taylor
   To: Chris Tursky <ctursky@volunteermgmt.com>; Tyler Tursky <ttursky@vo[untee
   <rtaylor@com-ins.com>; William Griffin <william@ griffin[os sconsulta nts.com>
                                                                                Loss Report
   Subject: Volunteer MGMT Inspection Report, Letter, and Business Income


                                                                                   and our business income loss
   Gentlemen, we completed our investigation into the additional damage loss sites
   calculations.

   [Quoted text hidden]


                                                                                                  Mon, Jul 11, 2022 at 12:25 PM
 William Griffin <william@griffin[ossconsultants.com>
 To: Chris Tursky <ctursky@vo[unteermgmt.com>
                                                                                            s in a few for your review prior to
      We just need an invoice on this Chris. I am sending the first rebuttal to the engineer
      submission to carrier.

      They have no shame on this one!I
      [Quoted text hidden]


                                                                                                    Mon, Jul 11, 2022 at 1:01 PM
 William Griffin <william@grifflnlossconsultants.com>
 To: Chris Tursky <ctursky@volunteermgmt.com>
 Cc: Tyler Tursky <ttursky@volunteermgmt.com>



         Case 1:23-cv-00041            Document 1-2          Filed 06/20/23        Page 120 of 161 PageID #: 262
 Gentlemen,
 I have reviewed one of the first reports compiled by the two inspectors I met with from EES and was
 shocked to not see any supportive facts or evidence that would cause me to change anything in iny
 assessment. After speaking with these gentlemen, observing their inspection techniques, discussions with
 them about their knowledge of damage, or lack thereof, policy definitions of damage and coverage, etc
 -- I have several concerns that will be addressed in the coming days pertaining to these reports they put
 their stainp on and that Mike used as basis for his denials. Quite frankly, these reports the carrier relied
 upon are inadequate and inaccurate at best; so, for expediency purposes, I am providing you with the first
 rebuttal that I will send to Mr Wakeield today after your approval.

 Let me know if I need to amend or add anything I may have missed or am unaware of (Any damage
 repair or mitigation that you have incurred since opening claim)

 Thanks
 On Tue, Jul 5, 2022 at 11:39 AM Chris Tursky <ctursky@volunteermgmt.com> wrote:
 [Quoted text hidden]


  2 attachments

  ~    EES Arlington Ky Report Rebuttal.pdf
       1672K

  ~    "Arlington companycam_report.pdf
       13473K


Tyler Tursky <ttursky@volunteermgmt.com>                                                    Mon, Jul 11, 2022 at 1:26 PM
To: William Griffin <william@griffinlossconsultants.com>, Chris Tursky <ctursky@volunteer mgmt.com >


  Go ahead and send it on to Mike. Let us know how it goes.



  Thanks,



  Tyler Tursky

  Tursky Construction Company, LLC

  60 Miller Avenue

  Jackson, TN 38305-4333

  Ph. 731-554-2320

  Fax 731-554-2322

  Email: ttursky@volunteermgmt.com




      Case 1:23-cv-00041          Document 1-2         Filed 06/20/23       Page 121 of 161 PageID #: 263
                                           00W
                                             0!-!! 1N
                                                        TURSKY
                                                         CGhISTRl1CTi0iN CO.,LE.C.


 [Quoted text hidden]



Mike Wakefield <mike.wakefield@stateauto.com>                                          Mon, Jul 11, 2022 at 3:43 PM
To: Chris Tursky <ctursky@volunteermgmt.com>
Cc: Tyler Tursky <ttursky@volunteermgmt.com>, Ryan Taylor <rtaylor@com-ins.com>, William Griffin
<william@griffin[ossconsultants.com>

  Chris, if you remain interested in settling the remaining claim for $250k plus the $52,628 ($302,628 -$250k advance)
  business income loss, I do not need additional documentation from you. I will simply send you a release for
  signatures.

  If you are not interested in the above settlement offer, I will need all re[ated debris removal invoices. This includes
  mini excavator total hours per location, dump trucks labor logs, dump fee load tickets, laborer time sheets, skid steer
  total hours, and supervisor tota hours.

  Thank you.

  Mike


  Mike Wakefield, CPCU, AIC I CARE Manager
  State Auto Insurance Companies
  E mike.wakefield@stateauto.com
  P 6143015769


  Log in here to access your claim information whenever you need it




  On Tue, Jul 5, 2022 at 11:39 AM Chris Tursky <ctursky@volunteermgmt.com> wrote:
  [Quoted text hidden]



Tyler Tursky <ttursky@volunteermgmt.com>                                                  Mon, Jul 11, 2022 at 4:13 PM
To: Chris Tursky <ctursky@volunteermgmt.com>, William Griffin <william@griffinlossconsultants.com>

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  Sent from my Verizon, Samsung Galaxy smartphone
  Get Outlook for Android

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  Cc: Tyler Tursky <ttursky@volunteermgmt.com>; Ryan Taylor <rtaylor@com-ins.com>; William Griffin
  <william@grifFnlossconsultants.com>
  Subject: Re: Volunteer MGMT Inspection Report, Letter, and Business Income Loss Report
       Case 1:23-cv-00041            Document 1-2           Filed 06/20/23         Page 122 of 161 PageID #: 264
 [Quoted text hidden]



Chris Tursky <ctursky@volunteermgmt.com>                                              Wed, Jul 13, 2022 at 11:05 AM
To: Mike Wakefield <mike.wakefield@stateauto.com>
Cc: Tyler Tursky <ttursky@volunteermgmt.com>, Ryan Taylor <rtaylor@com-ins.com>, William Griffin
<william@griffin[ossconsuitants.com>


  Mike, if you are referring to on[y the four Mayfield properties we are still interested, however, we did have a question
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  [Quoted text hidden]



Mike Wakefield <mike.wakefield@stateauto.com>                                        Wed, Jul 13, 2022 at 12:35 PM
To: Chris Tursky <ctursky@vo[unteermgmt.com>
Cc: Tyler Tursky <ttursky@volunteermgmt.com>, Ryan Taylor <rtaylor@com-ins.com>, William Griffin
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  Chris, once we resolve the business income loss, it is my intent to settle on your offer for all locations.

  Thanks,

  Mike



  Mike Wakefield, CPCU, AIC I CARE Manager
  State Auto Insurance Companies
  E mike.wakefie[d@stateauto.com
  P 6143015769


  Log in here to access your claim information whenever you need it




  [Quoted text hidden]



William Griffin <william@griffinlossconsultants.com>                                              Wed, Jul 20, 2022 at 1:56 PM
To: Chris Tursky <ctursky@vo[unteermgmt.com>

   Demand an appraisal ... that will settle it.

   I am in Xactware training today til 6 pm -- I am sending mike the rebutta[s on every break

   If you need me to make the demand let me know on email ok
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 Chris Tursky <ctursky@volunteermgmt.com>                                                         Wed, Jul 20, 2022 at 2:17 PM
 To: William Griffin <william@griffinlossconsu[tants.com>


   We are frustrated with the process so would like you to take it from here. We have several invoices, but are
                                                                                                                      prior
   concerned that however, we categorize them Wakefield will say it is incorrect. We really would like to talk to you
        Case 1:23-cv-00041            Document 1-2          Filed 06/20/23        Page 123 of 161 PageID #: 265
to your submittal, I know you are busy so just tell us when you are available and we will talk.



Chris Tursky

President

Volunteer Management & Development Company, Inc.

60 Miller Avenue

Jackson, TN 38305

Ph: (731) 554-2320

Fax: (731) 554-2322

Email: ctursky@volunteermgmt.com




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Sent: Wednesday, July 20, 2022 1:57 PM
To: Chris Tursky <ctursky@volunteermgmt.com>
Subject: Re: Volunteer MGMT Inspection Report, Letter, and Business Income Loss Report



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                                                                            om> wrote:
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                                                                                          I will simply send you a release
    advance) business income loss, I do not need additional documentation from you.
    for signatures.


                                                                                                     invoices. This includes
    If you are not interested in the above settlement offer, I will need all related debris removal
                                                    trucks labor  logs, dump   fee load tickets, laborer time sheets, skid
    mini excavator total hours per location, dump
    steer total hours, and superviso  r tota hours.



    Thank you.



     Mike




      Case 1:23-cv-00041              Document 1-2         Filed 06/20/23        Page 124 of 161 PageID #: 266
; Mike Wakefield, CPCU, AIC I CARE Manager
i
I State Auto Insurance Companies
i
    E I mike.wakefieid@stateauto.com

; P 16143015769
i
~
    Log in here to access your claim information whenever you need it,
I




                                                                           om> wrote:
    On Tue, Jul 5, 2022 at 11:39 AM Chris Tursky <ctursky,@volunteermgmt.c
                                                                         al to date?
       Mike, what backup do you need to repay the costs for debris remov



       Chris Tursky

       President

       Volunteer Management & Development Company, Inc.

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       Jackson, TN 38305

       Ph: (731) 554-2320

       Fax: (731) 554-2322

       Email: cturskyOvolunteermgmt.com




                                                               >
        From: Mike Wakefield <mike.wakefield@stateauto.com
        Sent: Friday, July 01, 2022 1:01 PM
                                                               Tursky <ttursky_@volunteermgmt.com>; Ryan Taylor
        To: Chris Tursky <ctursky_@volunteermgmt.com>; Tyler
                                                                   sconsultants.com>
        <rtaylor@com-ins.com>; William Griffin <william@griffinios
                                                                        ss Income Loss Report
        Subject: Volunteer MGMT Inspection Report, Letter, and Busine


                                                                   nal damag e loss sites and our business income loss
        Gentlemen, we completed our investigation into the additio
        calculations.



        See attached reports and letter.



        Please,contact me if you have any questions.



         Thanks,
      Case 1:23-cv-00041           Document 1-2         Filed 06/20/23         Page 125 of 161 PageID #: 267
       Mike




       M.ike Wakefield, CPCU, AIC I CARE Manager

       State Auto Insurance Companies

       E I mike.wakefie[d@stateauto.com

       P 16143015769


       Log in here to access your claim information whenever you need it




                                                                             the email above, the link will be analyzed for
 Links contained in this email have been replaced. If you c[ick on a link in
                                                                 to proceed to the destination. If suspicious content is
 known threats. If a known threat is found, you will not be ab[e
 detected, you will see a warning.


                                                                                               Wed, Jul 20, 2022 at 2:25 PM
W[Iliam Griffin <william@griffin[ossconsultants.com>
To: Chris Tursky <ctursky@volunteermgmt.com>

  Sure thing — 6 pm tonight ok ?
                                                            al demands on apts gong now if ok with you -- we can
  I was going to go ahead and get the rebuttals and apprais
  address the debris removal demands later as well.

  Let me know
  [Quoted text hidden]


                                                                                                Wed, Jul 20, 2022 at 2:27 PM
Chris Tursky <ctursky@volunteermgmt.com>
To: William Griffin <william@griffin[ossconsultants.com>
Cc: Tyler Tursky <ttursky@volunteermgmt.com>


  Yes, call Tylers phone he knows how to connect me in.

  [Quoted text hidden]




       Case 1:23-cv-00041           Document 1-2           Filed 06/20/23        Page 126 of 161 PageID #: 268
/
                                                                                                                                                 Schedule 1
                                                                                                                                                  Page 1 of 32

    Summary of MDD Calculated Lost Business Income - By Property
    Volunteer Management & Development Co - Mayfield, KY
    Date of Loss - December 10, 2021


                                                   Mayfield Manor II      Windhaven         Windhaven III        Total
            Month            Mayfield Manor
                                (Sch 2)                 (Sch 5)            (Sch 8)            (Sch 11)

                                            -      $              -       $           -     $           -    $        -
    December 10-31, 2021     $
                                                              5,596               9,280             4,328        26,804
    January 2022                        7,600
                                                              5,596               9,280             4,328        26,804
    February                            7,600
                                                              5,596               9,280             4,328        26,804
    March                               7,600
                                                              5,596               9,280             4,328        26,804
    April                               7,600
                                                              5,596               9,280             4,328        26,804
    May                                 7,600
                                                              5,596               9,280             4,328        26,804   ESTIMATED
    June                                7,600
                                                              5,596               9,280             4,328        26,804   ESTIMATED
    July                                7,600
                                                              5,596               9,280             4,328        26,804   ESTIMATED
    August                              7,600
                                                              5,596               9,280             4,328        26,804   ESTIMATED
    September                           7,600
                                                              5,596               9,280             4,328        26,804   ESTIMATED
    October                             7,600
                                                              5,596               9,280             4,328        26,804   ESTIMATED
    November                            7,600
                                                              1,625               2,694             1,256         7,782   ESTIMATED
    December 1-9                        2,207

                                                    $         63,182       $    104,775      $      48,860   $302,628
    Total                     $        85,812




                                                                       i--dp     -
     2022-06-30 Prelim Calcs - Volunteer Mgmt
                                      Case 1:23-cv-00041            I
                                                                      "
                                                           Document 1-2            [:306/20/23
                                                                               MFiled  nccoNTANTS   Page 127 of 161 PageID #: 269
                                                                                                                                    For Discussion Purposes Only
     6/30/2022; 4:26 PM
                                                                                                                                        Schedule 2
                                                                                                                                         Page 2 of 32

MDD Calculation of Lost Business Income - Mayfield Manor
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021


                                muii              Less: Non-Continuing Expenses                   MDU
                             Calculated       Variable                                        Calculated
                             Lost Rent      Expenses @        Other       Total Saved        Lost Business
                              Revenue           0.05%       Expense  s     Expenses             Income
      Month
                               (Sch 3)         (Sch 4)       (Sch 4)

                         $             -    $         -     $       -         $        -     $            -
December 10-31, 2021
                                  10,684              5         3,078              3,083              7,600
January 2022
                                  10,684              5         3,078              3,083              7,600
February
                                  10,684              5         3,078              3,083              7,600
March
                                  10,684              5         3,078              3,083              7,600
April
                                  10,684              5         3,078              3,083              7,600
May                                                                                                            ESTIMATED
                                  10,684              5         3,078   (A)        3,083              7,600
June                                                                                                           ESTIMATED
                                  10,684              5         3,078   (A)        3,083              7,600
July                                                                                                           ESTIMATED
                                  10,684              5         3,078   (A)        3,083              7,600
August                                                                                                         ESTIMATED
                                  10,684              5         3,078   (A)        3,083              7,600
September                                                                                                      ESTIMATED
                                  10,684              5         3,078   (A)        3,083              7,600
October
                                  10,684              5         3,078   (A)        3,083              7,600    ESTIMATED
November                                                                                                       ESTIMATED
                                   3,102              1           894   (A)          895              2,207
December 1-9

                                 120,622     $        57     $ 34,753         $   34,810     r$       85,812
  Total                  $
                                                                                                  To Sch 1


 Note (A): Estimated.




                                                                ~--~
 2022-06-30 Preiim Calcs - Volunteer Mgmt                        h~ ~~            FORENSIC                                 For Discussion PurFoses OnlY
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MDD Calculated Lost Rent Revenue - Mavfeld Manor
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021



                               Projected            Actual       Lost           Avg. Rent per    Calculated Lost
           Month               Occupanc           Occupanc     Occupanc         Occupied Unit    Rent Revenue
                                  (A)              (Sch 14)                          (A)

December 2021                            23 (B)          23                -    $     479.68     $             -
January 2022                             22               -               22          479.68              10,684
February                                 22               -               22          479.68              10,684
March                                    22               -               22          479.68              10,684
April                                    22               -               22          479.68              10,684
May                                      22               -               22          479.68              10,684
June                                     22               -               22          479.68              10,684
July                                     22               -               22          479.68              10,684
August                                   22               -               22          479.68              10,684
September                                22               -               22          479.68              10,684
October                                  22               -               22          479.68              10,684
November                                 22               -               22          479.68              10,684
December 1-9                             22                               22          479.68               3,102 (C)

Total                                   290              23               267                    $      120,622
                                                                                                     To Sch 2



Note (A): Historical Occupancy & Rent Revenue:
                                                                   vg. en
                                                                    per
                                                     Rent       Occupied
           Month                Occu anc           Revenue        Unit
                                 (Sch 14)          (Sch 16)

January 2021.                            24       $   11,292   $     470.50
February                                 23           10,231         444.81
March                                    22           10,846         493.00
April                                    22            7,599         345.41
May                                      22            9,564         434.73
June                                     21           11,915         567.38
July                                     21           10,796         514.10
August                                   21           10,331         491.95
September                                23           11,730         510.00
October                                  23           11,875         516.30
November                                 23           11,342         493.13


 Average                                 22       $   10,684   $     479.68

 Note (B): Projected based on actual.
 Note (C): Lost revenue allocated to 9 days




2022-06-30 Prelim Calcs - Volunteer Mgmt                                                   Adpp---.Odwr
                                                                                            '~       ~~        FORENSIC                                 For Discussion PurPoses Only
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                                                                                                                                                                      Page 4 of 32
MDD Analysis of Saved Expenses - Mayfield Manor
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021


                                                                                                               Analysis of Non-continuing Expenses
                                                        Historical                 Basis of Projection               January 2022 - May 2022
                                                                      ercen      Average
                                           January 2021 -               to         per        Percent to
                                                                     Income       Month         Income       Projected      Actual         Saved                Comments
                Description                December 2021
                                              (Sch 16)                                                                     (Sch 17)


Income•
Tenant Rent                                 $          53,842         41.93%
Subsidy                                                74,577         58.07%
Subsidy - UA Paid to Tenants                                -          0.00%

Total Income                                       128,419           100.00%

Variable Expenses:
                                                              -        0.00%                         0.00%
Overage
                                                              -        0.00%                         0.00%
Tenant Late Fees
                                                          (350)       -0.27%                        -0.27%
Tenant Charges for Damages
                                                          (134)       -0.10%                        -0.10%
Application Fees
                                                          (562)       -0.44%                        -0.44%
Laundry & Vending Income
                                                             (0)       0.00%                         0.00%
Security Deposit Closeout
                                                             (2)       0.00%                         0.00%
Interest Security Deposit
                                                           (89)       -0.07%                        -0_07%
Interest Reserve
                                                              -        0.00%                         0.00%
Interest Escrow
                                                            (48)      -0.04%                        -0.04%
Interest ODR
Other Miscellaneous Income.                            (10,043)       -7.82%
                                                             30        0.02%                         0.02%
Painting & Decorating
                                                         1,216         0.95%                         0.95%
Furniture & Furnishing Replace

                                                        (9,982)        -7.77%                F       0.05%
Subtotal
                                                                                                 To Sch 2
 Gross Profit                                      138,400           107.77%

 OtherExpenses:                                                                                                                                          Est. 50% Saved
                                                         5,976         4.65%          498                        2,490           -             1,245
 Maintenance & Repairs Payroll                                                                                                                           Est. 50% Saved
                                                         3,463         2.70%          289                        1,443           -               721
 Maintenance & Repairs Supply                                                                                                                            Est. 50% Saved
                                                         1,609         1.25%          134                          670           -               335
 Maintenance & Repairs Contract                                                                                                                  990
                                                         2,375         1.85%          198                          990           -
 Grounds
                                                         3,006         2.34%          251                        1,253           -             1,253
 Services
                                                             -         0.00%            -                            -           -                 -
 Other Operating Expenses                                                                                                                        630
                                                         1,619         1.26%          135                          675            45
 Electricity




2022-06-30 Prelim Calcs - Volunteer Mgmt                                        ~~   ~~          FORENSIC                                              For Discussion Purposes Onl y
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MDD Analvsis of Saved Expenses - Mavfield Manor
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021

                                                                                                             Analysis of Non-continuing Expenses
                                                                                  Basis of Projection              January 2022 - May 2022
                                                       Historical
                                                                     ercent     Average
                                           January 2021 -              to         per        Percent to
                                                                                                           Projected      Actual            Saved               Comments
                                           December 2021            Income       Month         Income
              Description                                                                                                (Sch 17)
                                              (Sch 16)
                                                                                                                 247             21              226
                                                          594         0.46%           49
Water                                                                                                            234             23              211
                                                          562         0.44%           47
Sewer                                                                                                          1,139            -              1,139
                                                        2,733         2.13%          228
Garbage & Trash Removal                                                                                        1,789           480             1,309
                                                        4,293         3.34%          358
Site Management Payroll                                                                                        6,142            -              6,142
                                                       14,740        11.48%        1,228
Management Fee                                                                                                 1,424            -                   -     Variance Not BI Related
                                                        3,419         2.66%          285
ProjectAuditing Expense                                                                 -                           -           -                  -
                                                             -        0.00%                                                                               Variance Not BI Related
Legal Expenses                                                                         2                          11            -                   -
                                                            25         0.02%                                                                     360
Advertising                                                                          134                         672            312
                                                         1,612         1.26%
Telephone                                                                            100                         499              75             423
                                                        1,197          0.93%                                                                              Variance Not BI Related
Office Supplies                                                                        9                          45            108                 -
                                                           108         0.08%                                                                              Ratio to Payroll
Health Ins & Other Emp Benefits                                                                  11.65%                           37             297
                                                         1,196         0.93%                                                                              Variance Not BI Related
Payroll Taxes                                                                                                     55            -                   -
                                                           131         0.10%          11
Workers Compensation                                                                  22                         111            -                111
                                                           266         0.21%                                                                              Variance Not BI Related
OtherAdministrative Expenses                                                       1,070                       5,348             -                  -
                                                       12,834          9.99%                                                                              Variance Not BI Related
Real Estate Taxes                                                                     10                          50             -                  -
                                                           120         0.09%                                                                              Variance Not BI Related
Special Assessments                                                                  160                         802          1,063                 -
                                                         1,924         1.50%                                                                              Variance Not BI Related
 OtherTaxes, Licenses & Permits                                                      535                       2,674             -                   -
                                                         6,418         5.00%                                                                              Variance Not BI Related
 Property & Liability Insurance                                                       13                          63             -                   -
                                                           150         0.12%                                                                              Variance Not BI Related
 Fidelity Coverage Insurance                                                         186                         932          2,236                  -
                                                         2,236         1.74%                                                                              Variance Not BI Related
 Return to Owner                                                                                                    -       (62,800)                 -
                                                              -        0.00%            -
 Insurance Proceeds - Loss Rent                                                                                7,469          7,410                  -    Variance Not BI Related
                                                        17,925        13.96%       1,494
 Interest                                                                                                           -            -                   -    Variance Not BI Related
                                                              -         0.00%           -
 Depreciation                                                                                                       -            -                   -    Variance Not BI Related
                                                              -         0.00%           -
 Amortization
                                                                                                                                        $      15,391
                                                        90,531        70.50%
 Total Expenses                                                                                                                             To Sch 2

                                             $          47,869        37.28%
 Net Income (Loss)




 2022-06-30 Prelim Calcs - Voluntee r Mgmt                                                                                                               For Discussion Purposes Only
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                                                        r II
MDD Calculation of Lost Business Income - Mayfield Mano
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021

                                                                                                              MLJU
                                muu                 Less: Non-Continuing Expenses
                                                                                                          Calculated
                              Calculated        Variable
                                                                 Other      Total Saved                  Lost Business
                              Lost Rent       Expenses @
                                                              Expen  ses     Expenses                       Income
       Month                   Revenue           -3.71%
                                (Sch 6)          (Sch 7)        (Sch 7)

                                                               -    $        -          $         -      $           -
December 10-31, 2021      $              -     $
                                                                        2,862                2,559               5,596
                                    8,155                 (303)
January 2022                                                                                 2,559               5,596
                                    8,155                 (303)         2,862
February                                                                                     2,559               5,596
                                    8,155                 (303)         2,862
March                                                                                        2,559               5,596
                                    8,155                 (303)         2,862
April                                                                                        2,559               5,596
                                    8,155                 (303)         2,862
May                                                                                          2,559               5,596    ESTIMATED
                                    8,155                 (303)         2,862    (A)
June                                                                                         2,559               5,596    ESTIMATED
                                    8,155                 (303)         2,862    (A)
July                                                                                         2,559               5,596    ESTIMATED
                                    8,155                  (303)        2,862    (A)
August                                                                                       2,559               5,596    ESTIMATED
                                    8,155                  (303)        2,862    (A)
September                                                                                    2,559               5,596    ESTIMATED
                                    8,155                  (303)        2,862    (A)
 October                                                                                     2,559               5,596    ESTIMATED
                                    8,155                  (303)        2,862    (A)
 November                                                                                       743              1,625    ESTIMATED
                                     2,368                   (88)          831   (A)
 December 1-9
                                                                    $ 32,308             $   28,888      $       63,182
   Total                   $        92,070      $        (3,420)
                                                                                                             To Sch 1


 Note (A): Estimated.




 2022-06-30 Prelim Calcs - Volunte er Mgmt                                                                                               For Discussion Purposes Only
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MDD Calculated Lost Rent Revenue - Mavfield Manor II
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021



                                                    Actual        Lost             Avg. Rent per   Calculated Lost
                                Projected
                                                  Occupanc      Occupanc           Occupied Unit   Rent Revenue
          Month                 Occu anc
                                   (A)             (Sch 14)                             (A)

                                                         20                  -     $     407.74    $              -
December 2021                            20 (B)
                                                          -                 20           407.74               8,155
January 2022                             20
                                                          -                 20           407.74               8,155
February                                 20
                                                           -                20           407.74               8,155
March                                    20
                                                           -                20           407.74               8,155
April                                    20
                                                           -                20           407.74               8,155
May                                      20
                                                           -                20           407.74               8,155
June                                     20
                                                           -                20           407.74               8,155
July                                     20
                                                           -                20           407.74               8,155
August                                   20
                                                           -                20           407.74               8,155
September                                20
                                                           -                20           407.74               8,155
October                                  20
                                                           -                20           407.74               8,155
November                                 20
                                                                            20           407.74               2,368 (C)
December 1-9 .                           20

                                                          20                240                     $       92,070
Total                                   260
                                                                                                        To Sch 5



 Note (A): Historical Occupancy & Rent Revenue:
                                                                     vg. en
                                                                      per
                                                      Rent       Occupied
           Month                 Occupanc           Revenue        Unit
                                  (Sch 14)          (Sch 18)

                                          20       $    7,981   $      399.05
 January 2021
                                          20            7,747          387.35
 February
                                          20            8,652          432.60
 March
                                          20            8,115          405.75
 April
                                          20            8,152          407.60
 May
                                          20            9,006          450.30
 June
                                          20            7,430          371.50
 July
                                          20            7,791          389.55
 August
                                          20            8,537          426.85
 September
                                          20            8,188          409.40
 October
                                          20            8,103          405.15
 November

                                           20      $    8,155    $     407.74
 Average

  Note (B): Projected based on actual.
  Note (C): Lost revenue allocated to 9 days.




 2022-06-30 Prelim Calcs - Volunteer Mgmt                                                                         FORrNSIC                                      For Discussion Purposes
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MDD Analvsis of Saved Expenses - Mavfield Manor II
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021

                                                                                                                Analysis of Non-continuing Expenses
                                                                                 Basis of Pro'ection                  J nuary 2022 - May 2022
                                                       Historical
                                                                    Percent     Average
                                           January 2021 -              to        per          Percent to
                                                                                                                                Actual       Saved               Comments
                                                                    Income      Month          Income         Pro ected
                Description                December 2021
                                                                                                                                (Sch 19)
                                                (Sch 18)


Income:
                                            $          40,475        41.46%
Tenant Rent
                                                       59,210        60.65%
Subsidy
                                                       (2,052)       -2.10%
Subsidy - UA Paid to Tenants

                                                       97,633       100.00%
Total Income

Variable Expenses:                                                                                   0.84%
                                                           822         0.84%
Overage                                                                                              0.00%
                                                               -       0.00%
Tenant Late Fees                                                                                    -0.26%
                                                          (250)       -0.26%
Tenant Charges for Damages                                                                          -0.04%
                                                            (38)      -0.04%
Application Fees                                                                                    -4.78%
                                                        (4,667)       -4.78%
Laundry & Vending Income                                                                            -0.09%
                                                            (83)      -0.09%
Security Deposit Closeout                                                                            0.00%
                                                              (2)      0.00%
Interest Security Deposit                                                                           -0.01%
                                                            (10)      -0.01%
Interest Reserve                                                                                     0.00%
                                                              (5)      0.00%
Interest Escrow                                                                                      0.00%
                                                               -       0.00%
Interest ODR                                                                                         0.00%
                                                               -       0.00%
Other Miscellaneous Income                                                                            0.00%
                                                               -        0.00%
Painting & Deeorating                                                                                 0.62%
                                                           606          0.62%
Furniture & Fumishing Replace

                                                        (3,627)       -3.71%                  F      -3.71%
Subtotal                                                                                          To Sch 5
                                                       101,260       103.71%
 Gross Profit

 OtherExpenses:                                                                                                       2,414           480        1,207      Esl. 50% Saved
                                                         5,795         5.94%         483
 Maintenance & Repairs Payroll                                                                                          429           -            214      Est. 50% Saved
                                                         1,029         1.05%          86
 Maintenance & Repairs Supply                                                                                           832           -            416      Est. 50% Saved
                                                         1,997         2.05%         166
 Maintenance & Repairs Contract                                                      198                                990           -            990
                                                         2,375         2.43%                                                                     1,005
 Grounds                                                                             201                              1,005            -
                                                         2,412         2.47%                                                                         -      Variance Not BI Related
 Services                                                                                                                 -             20
                                                              -        0.00%            -
 Other Operating Expenses                                                            141                                706            -           706
                                                         1,693         1.73%                                                                       169
 Electricity                                                                          34                                169            -
                                                           406         0.42%
 Water                                                                                                                 182               -            182
                                                            436         0.45%            36
 Sewer                                                                                                                1,150              -       1,150
                                                          2,759         2.83%         230
 Garbage & Trash Removal                                                              357                             1,784              -       1,784
                                                          4,282         4.39%
 Site Management Payroll                                                            1,008                             5,042                      5,042
                                                         12,100        12.39%
 Management Fee




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 2022-06-30 Prelim Calcs - Volunteer Mgmt                                        ^^           ~~         FOREN  SIC

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MDD Analvsis of Saved Expenses - Mayfield Manor II
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021

                                                                                                                     Analysis of Non-continuing Expenses
                                                       Historical               Basis of Pro'ection                        Janua 2022 - Ma 2022
                                                                    Percent    verage
                                           Janua ry 2021 -             to       per        Percent to
                                                                                             Income                Pro'ected         Actual          Saved             Comments
              Description                  December 2021            Income     Month
                                                                                                                                    (Sch 19)
                                              (Sch 18)

                                                                                                                       1,424                                     Variance Not BI Related
                                                        3,419         3.50%       285
Project Auditing Expense
                                                            -         0.00%         -
Legal Expenses                                                                                                              10                                   Variance Not BI Related
                                                           24         0.02%         2
Advertising                                                                                                                595           242              353
                                                        1,429         1.46%       119
Telephone                                                                                                                  409             75             334
                                                          981         1.01%        82
Office Supplies                                                                                                             43           103                -    Variance Not BI Related
                                                          103         0.11%         9
Health Ins & Other Emp Benefits                                                                                                            37             267    Ratio to Payroll
                                                          900         0.92%                             8.93%
Payroll Taxes                                                                                                                52           -                 -    Variarice Not BI Related
                                                          126         0.13%         10
Workers Compensation                                                                                                        490           -               490
                                                        1,176         1.20%         98
OtherAdministrative Expenses                                                                                              5,828           -                 -    Variance Not BI Related
                                                       13,987        14.33%      1,166
Real Estate Taxes                                                                                                             8           -                 -    Variance Not BI Related
                                                           20         0.02%          2
Special Assessments                                                                                                         389           620               -    Variance Not BI Related
                                                          934         0.96%         78
Other Taxes, Licenses & Permits                                                                                           2,563           -                 -    Variance Not BI Related
                                                        6,150         6.30%        513
Property & Liability Insurance                                                                                               60           -                  -   Variance Not BI Related
                                                          144         0.15%         12
Fidelity Coverage Insurance                                                                                               4,673           -                  -   Variance Not BI Related
                                                       11,214        11.49%        935
Return to Owner                                                                                                                       (51,000)               -   Variance Not BI Related
                                                             -        0.00%          -
Insurance Proceeds - Loss Rent                                                                                                          1,236                -   Variance Not BI Related
                                                             -         0.00%          -
Interest                                                                                                                                  -                  -   Variance Not BI Related
                                                             -         0.00%          -
 Depreciation                                                                                                                              -                 -   Variance Not BI Related
                                                             -         0.00%          -
 Amortization
                                                                                                                                                 $      14,308
                                                       75,891         77.73%
 Total Expenses                                                                                                                                      To Sch 5
                                            $          25,369         25.98%
 Net Income (Loss)




                                                                                   i--.01111111111"',
 2022-06-30 Prelim Calcs - Volunteer Mgmt                                            NI'    ~~                  ~RENSIC                                                                          poses Only
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MDD Calculation of Lost Business Income - Windhaven
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021


                                muu               Less: Non-Continuing Expenses
                                               Variable                                         Calculated
                              Calculated
                                             Expenses @       Other       Total Saved          Lost Business
                              Lost Rent
                                                4.24%       Expenses       Expenses               Income
       Month                   Revenue
                                (Sch 9)        (Sch 10)      (Sch 10)

                                        -     $          -    $       -         $         -    $            -
December 10-31, 2021      $
                                                       715        6,869               7,584             9,280
January 2022                       16,864
                                                       715        6,869               7,584             9,280
February                           16,864
                                                       715        6,869               7,584             9,280
March                              16,864
                                                       715        6,869               7,584             9,280
Apr'tl                             16,864
                                                       715        6,869               7,584             9,280
May                                16,864
                                                                  6,869   (A)         7,584             9,280    ESTIMATED
June                               16,864              715
                                                       715        6,869   (A)         7,584             9,280    ESTIMATED
July                               16,864
                                                       715        6,869   (A)         7,584             9,280    ESTIMATED
August                             16,864
                                                       715        6,869   (A)         7,584             9,280    ESTIMATED
September                          16,864
                                                                  6,869   (A)         7,584             9,280    ESTIMATED
October                            16,864              715
                                                                  6,869   (A)         7,584             9,280    ESTIMATED
November..                         16,864              715
                                                       208        1,994   (A)         2,202             2,694    ESTIMATED
December 1-9                        4,896

                                              $       8,073   $ 77,558          $     85,631    $      104,775
  Total                   $        190,406
                                                                                                    To Sch 1


 Note (A): Estimated.




 2022-06-30 Prelim Calcs - Volunteer Mgmt                       ^^    ~~            FORENSIC                                   For Discussion PurPoses Only
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MDD Calculated Lost Rent Revenue - Windhaven
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021



                                                    Actual          Lost         Avg. ent per    Calculated Lost
                                     cted
                                                                  Occupanc       Occu led Unit    Rent Revenue
         Month                       anc          Occupanc
                             E                                                       (A)
                                   (A)             (Sch 14)

                                                          49              -      $     333.65    $              -
December 2021                           49 (B)
                                                           -             51            333.65              16,864
January 2022                            51
                                                                         51            333.65              16,864
February                                51
                                                              -          51            333.65              16,664
March                                   51
                                                              -          51            333.65              16,864
April                                   51
                                                              -          51            333.65              16,864
May                                     51
                                                              -          51            333.65              16,864
June                                    51
                                                              -          51            333.65              16,864
July                                    51
                                                              -          51            333.65              16,864
August                                  51
                                                              -          51            333.65              16,864
September                               51
                                                              -          51            333.65              16,864
October                                 51
                                                              -          51            333.65              16,864
November                                51
                                                                         51             333.65              4,896 (C)
December 1-9                             51

                                                          49             607                      $      190,406
 Total                                  656
                                                                                                      To Sch 8



 Note (A): Historical Occupancy & Rent Revenue:
                                                                    vg. en
                                                                      per
                                                     Rent          Occupied
                                 Occu anc           Revenue          Unit
            Month
                                  (Sch 14)          (Sch 20)

                                          51       $    17,391    $    341.00
 January 2021
                                          52            16,253         312.55
 February
                                          51            17,572         344.56
 March
                                          51            17,772         348.46
 April
                                          52            16,776         322.61
 May
                                          52            15,727         302.43
 June
                                          52            12,429         239.02
 July
                                          51            21,223         416.14
 August
                                          49            15,783         322.10
 September
                                          48            18,576         387:01
 October
                                          47            16,009          340.61
 November

                                            51      $   16,864     $   333.65
  Average

  Note (B): Projected based on actual.
  Note (C): Lost revenue allocated to 9 days




  2022-06-30 Prelim Calcs - Volunteer Mgmt                                                            ~~           FORENSIC                                   For Discussion PurPoses OnlY
                                                                                         ~~
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MDD Analvsis of Saved Exuenses - Windhaven
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021

                                                                                                             Analysis of Non-continuing Expenses
                                                                                   Basis of Pro'ection             J nuary 2022 - May 2022
                                                       Historical
                                                                    Percent      Average
                                           January 2021-               to          per        Percentto
                                                                                                           Pro'ected     Ectual]          Saved            Comments
                                           December 2021            Income        Month        Income
                Description                                                                                                (Sch 21)
                                              (Sch 20)

Income•
                                            $      117,403           57.18%
TenantRent
                                                    93,891           45.73%
Subsidy
                                                     (5,982)         -2.91%
Subsidy - UA Paid to Tenants
                                                   205,312          100.00%
Total Income

Variable Expenses:                                                                                1.73%
                                                         3,543         1.73%
Overage                                                                                          -0.05%
                                                          (100)       -0.05%
Tenant Late Fees                                                                                 -0.35%
                                                          (712)       -0.35%
Tenant Charges for Damages                                                                       -0.25%
                                                          (514)       -0.25%
Application Fees                                                                                 -1.51%
                                                        (3,097)       -1.51%
Laundry & Vending Income                                                                           1.68%
                                                         3,457          1.68%
Security Deposit Closeout                                                                        -0.01%
                                                            (14)      -0.01%
Interest Security Deposit                                                                        -0.06%
                                                          (127)       -0.06%
Interest Reserve                                                                                   0.00%
                                                             (9)        0.00%
Interest Escrow                                                                                    0.00%
                                                              -         0.00%
Interest ODR                                                                                      -0.06%
                                                           (129)       -0.06%
Other Miscellaneous Income                                                                         0.09%
                                                            180         0.09%
Painting & Decorating                                                                              3.03%
                                                         6,227          3.03%
 Furniture & Furnishing Replace
                                                         8,705         4.24%
 Subtotal                                                                                      To Sch 8
                                                       196,607        95.76%
 Gross Profit

 OtherExpenses:                                                                                                 6,000             -           3,000   Est. 50% Saved
                                                        14,399          7.01%        1,200
 Maintenance & Repairs Payroll                                                                                  4,750             -           2,375   Est. 50% Saved
                                                        11,399          5.55%          950
 Maintenance & Repairs Supply                                                                                   3,064             -           1,532   Est. 50% Saved
                                                          7,355         3.58%          613
 Maintenance & Repairs Contract                                                        368                      1,841             -           1,841
                                                          4,418         2.15%                                                                 1,173
 Grounds                                                                               235                      1,173             -
                                                          2,814         1.37%                                                                     -   Variance Not BI Related
 Services                                                                                 -                          -              50
                                                              -         0.00%
 Other Operating Expenses                                                              638                      3,190             169         3,021
                                                          7,656         3.73%
 Electricity                                                                                                      400             107           293
                                                            961         0.47%           80
 Water                                                                                                            468               93          374
                                                          1,122         0.55%           94
 Sewer                                                                                                          1,861             -           1,861
                                                          4,467         2.18%          372
 Garbage & Trash Removal                                                               888                      4,439           1,155         3,283
                                                        10,653           5.19%
 Site Management Payroll                                                             2,768                     13,842              -         13,842
                                                         33,220        16.18%
 Management Fee




                                   er Mgmt
  2022-06-30 Prelim Calcs - VolunteCase                                                               FORENSIC                                                      For Discussion Purposes Only
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MDD Analysis of Saved Expenses - Windhaven
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021

                                                                                                               Analysis of Non-continuing Expenses
                                                       Historical                Basis of Pro'ection                 J nuary 2022 - May 2022
                                                                    Percent    Average
                                           January 2021 -              to        per        Percentto
                                                                                              income         Pro'ected          Actual          Saved             Comments
              Description                  December 2021            Income      Month
                                                                                                                               (Sch 21)
                                              (Sch 20)

                                                                                   285                              1,425            -                 -    Variance Not BI Related
Project Auditing Expense                                3,419         1.67%
                                                                                    28                                139            -               139
LegalExpenses                                             333         0.16%
                                                                                     5                                 23            -                 -    Variance Not BI Related
Advertising                                                54         0.03%
                                                                                   208                              1,041            717             324
Telephone                                               2,498         1.22%
                                                                                    98                                489              75            414
Office Supplies                                         1,175         0.57%
                                                                                    21                                105            251               -    Variance Not BI Related
Health Ins & Other Emp Benefits                           251         0.12%
                                                                                                 8.90%                                 88            559    Ratio to Payroll
Payroll Taxes                                           2,229         1.09%
                                                                                     26                               128            -                 -    Variance Not BI Related
Workers Compensation                                      306         0.15%
                                                                                     63                               317            -               317
Other Administrative Expenses                             760         0.37%
                                                                                                                    7,342             -                 -   Variance Not BI Related
                                                       17,621         8.58%       1,468
Real Estate Taxes                                                                                                     145             -                 -   Variance Not Bi Related
                                                          347         0.17%          29
Special Assessments                                                                                                                2,257                -   Variance Not BI Related
                                                        4,217         2.05%         351                             1,757
OtherTaxes, Licenses & Permits                                                                                                        -                 -   Variance Not BI Related
                                                       14,975         7.29%       1,248                             6,240
Property & Liability Insurance                                                                                        146             -                 -   Variance Not BI Related
                                                          351         0.17%          29
Fidelity Coverage Insurance                                                                                                        4,741                -   Variance Not BI Related
                                                        4,741         2.31%         395                             1,975
Return to Owner                                                                                                          -       (51,000)               -   Variance Not BI Related
                                                             -        0.00%            -
Insurance Proceeds - Loss Rent                                                                                           -            -                 -   Variance Not BI Related
                                                             -         0.00%           -
Interest                                                                                                                 -            -                 -   Variance Not BI Related
                                                             -         0.00%           -
Depreciation ,                                                                                                           -            -                 -   Variance Not BI Related
                                                             -         0.00%           -
Amortization
                                                                                                                                            $      34,347
 Total Expenses                                    151,742            73.91%
                                                                                                                                                To Sch 8

 Net Income (Loss)                          $          44,865         21.85%




                                                                                   'W-- 0
 2022-06-30 Prelim Calcs - Volunteer Mgmt                                       ~~          ~~           FORENSIC                                                         For Discussion Purposes Only
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MDD Calculation of Lost Business Income - Windhaven III
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021


                                MUD                   Less: Non-Continuing Expenses                      MUD
                              Calculated          Variable                                             Calculated
                              Lost Rent      Expenses @           Other           Total Saved     Lost Business
                              Revenue           1.04%           Expenses           Expenses          Income
       Month
                               (Sch 12)        (Sch 13)          (Sch 13)

                          $             -     $            -    $       -         $           -   $              -
December 10-31, 2021
                                    5,824                 61        1,436                 1,496              4,328
January 2022
                                    5,824                 61        1,436                 1,496              4,328
February
                                    5,824                 61        1,436                 1,496              4,328
March
                                    5,824                 61        1,436                 1,496              4,328
April
                                    5,824                 61        1,436                 1,496              4,328
May                                                                                                                  ESTIMATED
                                    5,824                 61        1,436   (A)           1,496              4,328
June                                                                                                                 ESTIMATED
                                    5,824                 61        1,436   (A)           1,496              4,328
July                                                                                                                 ESTIMATED
                                    5,824                 61        1,436   (A)           1,496              4,328
August                                                                                                               ESTIMATED
                                    5,824                 61        1,436   (A)           1,496              4,328
September                                                                                                            EST(MATED
                                    5,824                 61        1,436   (A)           1,496              4,328
October                                                                                                              ESTIMATED
                                    5,824                 61        1,436   (A)           1,496              4,328
November                                                                                                             ESTIMATED
                                    1,691                 18          417   (A)             434              1,256
December 1-9

                                   65,751     $          685     $ 16,207          $     16,892    $        48,860
  Total                   $
                                                                                                        To Sch 1


 Note (A): Estimated.




 2022-06-30 Prelim Calcs - Volunteer Mgmt                         N'        ~~         FORENSIC                                   For Discussion Purposes Only
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MDD Calculated Lost Rent Revenue - Windhaven III
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021



                                                    Actual        Lost             Avg. Pent per   Calculated Lost
                               Projected
                               Occupanc           Occupanc      Occu anc           Occu ied Unit   Rent Revenue
          Month
                                   (A)             (Sch 14)                             (A)

                                                         11                  -      $    525.09    $               -
December 2021 .                          11 (B)
                                                          -                 11           525.09                5,824
January 2022                             11
                                                          -                 11           525.09                5,824
February                                 11
                                                          -                 11           525.09                5,824
March                                    11
                                                          -                 11           525.09                5,824
April                                    11
                                         11               -                 11           525.09                5,824
May                                                                                                            5,824
                                         11               -                 11           525.09
June                                                                                                           5,824
                                         11               -                 11           525.09
July                                                                                                           5,824
                                         11               -                 11           525.09
August                                                                                                         5,824
                                         11                -                11           525.09
September                                                                                                      5,824
                                         11                -                11           525.09
October                                                                                                        5,824
                                         11                -                11           525.09
November                                                                                                       1,691 (C)
                                         11                                 11           525.09
December 1-9

                                                          11                133                     $        65,751
Total                                    144
                                                                                                        To Sch 11



 Note (A): Historical Occupancy & Rent Revenue:
                                                                     vg. en
                                                                      per
                                                     Rent        Occupied
            Month               Occupanc           Revenue         Unit
                                 (Sch 14)          (Sch 22)

                                          12       $   6,393    $      532.71
 January 2021
                                          12           6,465           538.75
 February
                                          12           5,973           497.75
 March
                                          12           5,968           497.33
 April
                                          11           5,722           520.18
 May
                                          11           5,734           521.27
 June
                                          11           5,640           512.73
 July
                                          10           5,469           546.90
 August
                                          10           5,283           528.32
 September
                                          10           5,543           554.30
 October
                                          11           5,871           533.73
 November

                                          11       $    5,B24    $     525.09
  Average

  Note (B): Projected based on actual.
  Note (C): Lost revenue allocated to 9 days




                                                                                               Amp--oldw
  2022-06-30 Prelim Calcs - Volunteer Mgmt                                                                                                                       For Discussion Purposes Only
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MDD Analvsis of Saved Expenses - Windhaven III
Volunteer Management & Development Co - Mayfleld, KY
Date of Loss - December 10, 2021

                                                                                                           Analysis of Non-continuing Expenses
                                                       Historicai                Basis of Pro ection             January 2022 - May 2022
                                                                    Percent    Average
                                           January 2021-               to        per        Percentto
                                                                                              Income     Pro'ected   EctuaJ             Saved            Comments
                Description                December 2021            Income      Month
                                                                                                                      (Sch 23)
                                              (Sch 22)

Income:
Tenant Rent                                 $          23,568        33.61%
Subsidy                                                47,432        67.65%
Subsidy - UA Paid to Tenants                             (884)       -1.26%

Total Income                                           70,116       100.00%

Variable Expenses:
                                                            -          0.00%                     0.00%
Overage
                                                            -          0.00%                     0.00%
Tenant Late Fees
                                                            -          0.00%                     0_00%
Tenant Charges for Damages
                                                            -          0.00%                     0.00%
Application Fees
                                                            -          0.00%                     0.00%
Laundry & Vending Income
                                                          (23)        -0.03%                    -0.03%
Security Deposit Closeout
                                                           (2)         0.00%                     0.00%
Interest Security Deposit
                                                          (37)        -0.05%                    -0.05%
Interest Reserve
                                                            -          0.00%                     0.00%
Interest Escrow
                                                          (21)        -0.03%                    -0.03%
Interest ODR
                                                            -          0.00%                     0.00%
Other Miscellaneous Income
                                                           80          0.11%                     0.11%
Painting & Decorating
                                                          733          1.05%                     1.05%
Fumiture & Fumishing Replace

                                                          730          1.04%                    1.04%
 Subtotal
                                                                                            To Sch 11
 Gross Profit                                          69,386         98.96%

 Other Exaenses:                                                                                                              -              598    Est. 50% Saved
                                                        2,871          4.09%        239                      1,196
 Maintenance & Repairs Payroll                                                                                 644            -               322   Est. 50% Saved
                                                        1,547          2.21%        129
 Maintenance & Repairs Supply                                                                                  122            -                61   Est. 50% Saved
                                                          294          0.42%         24
 Maintenance & Repairs Contract                                                                                500            -               500
                                                        1,200          1.71%        100
 Grounds                                                                                                       741            -               741
                                                        1,778          2.54%        148
 Services                                                                                                        -             10               -   Variance Not BI Related
                                                            -          0.00%          -
 Other Operating Expenses                                                                                      217            119              98
                                                          521          0.74%         43
 Electricity                                                                                                   155              11            144
                                                          372          0.53%         31
 Water                                                                                                          32            -                32
                                                           76          0.11%          6
 Sewer                                                                                                         780            -               780
                                                        1,872          2.67%        156
 Garbage & Trash Removal                                                                                       969            406             563
                                                        2,326          3.32%        194
 Site Management Payroll                                                                                     3,048            -             3,048
                                                        7,315         10.43%        610
 Management Fee




 2022-06-30 Prelim Calcs - Volunteer Mgmt                                       n^         ~~      FOReNsIc                                                      For Discussion Purposes Only
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MDD Analysis of Saved Expenses - Windhaven 111
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021


                                                                                                            Analysis of Non-continuing Expenses
                                                       Historlcal               Basis of Pro'ection               J nuary 2022 - May 2022
                                                                    ercent     Average
                                            January 2021 -             to       per        Percent to
                                                                                            Income        Pro'ected I                                       Comments
              Description                   December 2021           Income     Month
                                                                                                                          (Sch 23)
                                               (Sch 22)

                                                                                                              1,424                                   Variance Not BI Related
                                                        3,419        4.88%         285
Project Auditing Expense
                                                            -         0.00%          -
Legal Expenses                                                                                                      5                                 Variance Not BI Related
                                                           12         0.02%          1
Advertising
                                                            -         0.00%          -
Telephone                                                                                                       263             75            187
                                                          631         0.90%         53
Office Supplies                                                                                                  22              54             -     Variance Not BI Related
                                                           54         0.08%         .4
Health Ins & Other Emp Benefits                                                                                                  31           104     Ratio to Payroll
                                                          463         0.66%                      8.92%
Payroll Taxes                                                                                                    18             -               -     Variance Not BI Related
                                                           44         0.06%           4
Workers Compensation
                                                             -        0.00%           -
Other Administrative Expenses                                                                                 2,339             -                 -   Variance Not BI Related
                                                        5,614         8.01%        468
Real Estate Taxes                                                                                                25             -                 -   Variance Not BI Related
                                                           60         0.09%           5
Special Assessments                                                                                             378             485               -   Variance Not BI Related
                                                          906         1.29%          76
Other Taxes, Licenses & Permits                                                                               1,337             -                 -   Variance Not BI Related
                                                        3,209         4.58%         267
Property & Liability Insurance                                                                                   31             -                 -   Variance Not BI Related
                                                           75         0.11%           6
Fidelity Coverage Insurance                                                                                                   1,280               -   Variance Not BI Related
                                                        1,280         1.83%         107                         534
Return to Owner                                                                                                                 -                 -   Variance Not BI Related
                                                             -        0.00%            -
Insurance Proceeds - Loss Rent                                                                                 5,830          5,266               -   Variance Not BI Related
                                                       13,992        19.95%       1,166
Interest                                                                                                                        -                 -   Variance Not BI Related
                                                             -         0.00%           -
Depreciation                                                                                                                     -                -   Variance Not BI Related
                                                             -         0.00%           -
 Amortization
                                                                                                                                       $     7,176
                                                       49,929        71.21%
 Total Expenses                                                                                                                         To Sch 11

                                             $         19,457        27.75%
 Net Income (Loss)




                                                                                   ~--~
 2022-06-30 Prelim Calcs - Volunteer Mgmt                                                         O   FORENSIC                                                      For Discussion Purposes Only
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Volunteer Manegement S Develupment Co - Mayfieid, KY
Date of Loss - December 10, 2021                                                                                                                                                                                                Windha I                               F
                                                                                                                                                                      Wuufhaven                                                                      Vacanc                           Oceu
                                             MayfieldManor                                               Ma ieldMannrll                                                                  Vaeanc                       . Occu anc
                                                                                                  Occu anc                     Varanc                           Occu anc                                                                                                   Total
                                    Occu anc                         Vacanc                                                                                                                                  Total                                                                                                  Units
                                                                                                                                                  T                                                                             Percent      Unils        Pen:ent          Units   Units       ~
                     Total                                                               Tatal                                                                        Percent     UnBs        Percent        Unitx    Un'ds
~                                                                                                                      Un'ds        Pen:ent       UnNs       UniLs
                                 UniLs        Percent        Units        Pen:ent        Units
      Month          Unrts
                                                                                                                                                                                                                                                              0.00%         115     109             94.78%              6     5.22%
                                                                                                                                                                                     4             7.14%       12       12      100.00%          -
                                                                                                                                         4.35%        56       52     92-86%                                                                                  0.00%         115     106             9217%               9    7.83%
                                                                               4.17%       23     22        95.65%        1                                                                                    12       12      100.00%          -
Jenuary2020             24          23          95.83%          1                                                                                     56       50     89.29%.        6            10,71%                                                                            110             95.65%              5    4.35%
                                                                                           23     22        95.65%        1              4.35%                                                                 12       12      100.00%          -            0.00%         115
                        24          22          91.67%          2              8.33%                                                                  56       55     9821%          1             1.79%                                                                            109             94.78%              6     522%
February                                                                                   23     21        91.30%        2               8.70%                                                                         12      100.60%          =            0.00%         115
                        24          22          91.67%          2              8.33%                                                                           54     96.43%         2             3.57%       12                                                                                   94.78%              6     5.22%
March                                                                                             21        91.30%        2               8.70%       56                                                                12      100.00%                       0.00%         115     109
                                    22          91.67%          2               8.33%      23                                                                  54     96.43%         2             ].57%       12                                                                                                       7     6.09%
Apnl                    24                                                                                  91.30%        2               8.70%       56                                                                                                      0.00%         115     108             93.91%
                                                91.67%          2               8.33%      23     21                                                                                 2             3.57%       12       12      100.00%                                                                                       5.22%
May                     24          22                                                                                    2               8.70%       56       54     96.43%                                                                                  0.00%         115     109             94.78%              6
                                                                3             12.50%       23     21        91.30%                                                                                 5.36%       12       12      100.00%          -
June                    24          21          87.50%                                                                                    8.70%       56       53     94-64%         3                                                                        0.00%         115     110              95.65%             5     4.35%
                                                                                4.17%      23     21        91.30%        2                                                                                    12       12      100.00%
                        24          23          95.83%          1                                                                                     56       53     94.64%         3              5.36%                                                                           109              94.78%             6     522%
July                                                                                       23     21        91.30%        2               8.70%                                                                12       12      10D.00%          -            0.00%         115
                        24          24         10D.00%           -              0.00%                                                                          53     94.64%         3              5.36%                                                                                            95.fi5%            5     4.35%
August                                                                                            20        86.96%        3             13.04%        56                                                                        100.00%                       11.00%        115     110
                                    24         100.00%           -              0.00%      23                                                                         96.43%         2              3.57%      12       12                                                                                              6     5.22%
September               24                                                                        20        86.96%        3             13.04%        56       54                                                                                -            0.00%         115     109              94.78%
                                               10D.00%           -              0.00%      23                                                                                        2              3.57%      12       12      100.00%                                                                                       6.09%
October                 24          24                                                                                    3             13.04%        56       54     96.43%                                                                     -            0.00%         115     108              93.91%             7
                                                                1               4.17%      23     20        86.96%                                                                    3             5.36%      12       12      100.00%
November                24          23           95.83%                                                                                 13.04%         56      53      94.64%                                                                               0.00%           115     107              93.04%             8     6.96%
                                                                                4.17%      23     20         86.96%       3                                                                                    12       12      100.OD%          -
                        24          23          95.83%          1                                                                                     56       51     91.07%         5              8.93%                                                                           10T              93.04%             B     6.96%
December                                                                                   23     20        86.96%        3             13.04%                                                                 12       12       tOD.00%         -          0.00%           115
                        24          24         100.60%                          0.00%                                                                           52     92,86%         4             7.14%                                                                            105             91.30%            10     8.70%
January 2021                                                                                       20        86.96%       3             13.04%         56                                                                12      100.00%         -          0.00%            115
                                    23           95.83%         1               4.17%      23                                                                          91.07%         5             8.93%       12                                                                                                     10     8.70%
 February               24                                                                                   86.96%        ]             13.D4%        56       51                                                                               -          0.00%           115     105              91.30%
                                                 91.67%          2              6.33%       23     20                                                                                 5             8.93%      12       12      100.00%                                                                                        8.70%
 March                   24          22                                                                                    3             13.04%        56       51     91.117%                                                                              8.33%           115      1D5             91.30%            10
                                                                 2              8.33%       23     20        86.96%                                                                   4             7.14%       12       it       91.67%         1
 Apnl                    24          22          91.67%                                                                                  13.04%        56       52     92.86%                                                                                                115     104             90.43%            11      9.57%
                                                                                 8.33%      23     20        86.96%        3                                                                                    12       11       91.67%         1          8.33%
 May                     24          22          91.67%          2                                                                                     56       52     92.86%         4             7.14%                                                                            104             90.43%            11      9.57%
                                                                                            23     20        86.96%        3             13.04%                                                                 12       11       91.67%'        1          8.33%            115
                         24          21          87.50%          3             12.50%                                                                           52     9286%          4             7.14%                                                                                            88.70%            13    11.30%
 June                                                                                              20        86.96%        3             13.04%        56                                                                         83.33%         2         16.67%            115     102
                                     21          87.50%          3             12.50%       23                                                                         91.07%         5              8.93%      12       10                                                                                            13    11.30%
 July                    24                                                                        20        86.96%        3             13.04%        56       51                                                                               2         16.67%            115     102             88.70%
                                                 87.50%          3             12.50%       23                                                                                        8            14.29%       12       10       83.33%
 Aupust                  24          21                                                                                    3             13.04%        56       49     87.50%                                                                              16.67%            115     1D7           ~ 87.83%            14    12.17%
                                                                 1               4.17%      23     20        86.96%                                                                                1429%        12       10        83.33%        2
 September               24          23          95.83%                                                                                  13.04%        56       48     65.71%         8                                                                                      115     101             87.83%            14    12.17%
                                                                                 4.17%      23     20        86.96%         3                                                                                   12       11        91.67%        1          8.33%
                         24          23          95.63%          1                                                                                     56       47     83.93%         9            16.07%                                                                            103              89.57%           12    10.43%
 Ockber                                                                                     23     20        86.96%         3            13.04%                                                                          11        91.67%        1          8.33%            115
                         24          23          95.83%          1               4.17%                                                                          49      87.50%        7            12.50%       12                                                                                     0.00%          115   100.00%
 November                                                                                          2D        86.96%         3            13.04%        56                                                                           0.00%       12        100.00%            115        -
                                     23           95.83%         1               4.17%      23                                                                           0.00%       56           100.00%       12          -                                                                                         115   100,00%
 December                24                                                                                   0.00%       23            100.00%         56        -                                                                             12        100.00%            115                       O.110%
                                                   0.00%        24            100.00%       23       -                                                                               56           100.00%       12          -       0.00%                                                                                   100.00%
 Januery 2022            24            -                                                                                  23            100.00%        56         -      0.00%                                                                            100.00%            115                       0.00%          115
                                                                24            100.00%       23       -        0.00%                                                                  56           100.00%       12          -       L7.00%      12
 February                24            -           0.00%                                                                                100.00%         56        -      0.00%                                                                                               115           -           0.00%          115   1D0.00%
                                                                              100.00%       23       -         0.00%      23                                                                                    12          -       0.00%       12        100.00%
                          24                       0.00%        24                                                                                      56        -      0.00%       56           100.00%                                                                                              0.00%          115   100.00%
 March                                                                                       23      -         0.00%      23            100.00%                                                                  12         -       0.00%       12        100.00%            115
                          24             -         0.00%        24            100.OD%                                                                   56        -      0.00%       56           100.00%
  Apnl                                                                                       23      -         0.00%      23            100.00%
                          24             -         0.00%        24            100.00%
  May



    Source - Rent Rolls ('ProJect Worksheet")




     2022-06-30 Prelim Calcs - Volunteer Mgmt                                                                                                                                                                                                                                         For Discussion Purposes Only
     6/30/2022; 4:26 PM
                                     Case 1:23-cv-00041                                                                Document 1-2
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Income Statements - Total - 2020
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021
                                                                                                         Windhaven III                   Windhaven                       Total
                                        Ma field Manor I               Mayfield Manor II

                                                                                                                   % to Inc.          Amount      % to Inc.        Amount         % to Inc.
                                     Amount        % to Inc.         Amount        % to Inc.          Amount
           Description
Income                                                                                                               32.66%       $    123,847       57.27%    $    245,809        45.41%
                                                       43.73%    $     38,010        33.74%       $     26,318
TenantRent                          $   57,634                                                                                          94,719       43.80%         285,263        52.70%
                                                                       66,621        59.14%             52,204       64.79%
Subsidy                                 71,719         54.42%                                                                                        -2.76%          (9,091)       -1.68%
                                                                                     -1.90%               (984)      -1.22%             (5,971)
                                             -          0.00%          (2,136)                                                                                                     -0.62%
Subsidy - UA Paid to Tenants                                                                                 -        0.00%             (3,310)      -1.53%           (3,359)
                                           (49)        -0.04%               -         0.00%
Overage                                                                                                               0.00%                  -        0.00%                -        0.00%
                                                        0.00%               -         0.00%                  -
Tenant Late Fees                             -                                                                                             679        0.31%              936        0.17%
                                                                          100         0.09%                   -       0.00%
Tenant Charges for Damages                 157          0.12%                                                                                         0.29%              828        0.15%
                                                                           39         0.03%                  -        0.00%                635
Application Fees                           154          0.12%                                                                                         1.04%            3,854        0.71%
                                                                           19         0.02%                   -       0.00%              2,243
 Laundry & Vending Income                1,593          1.21%                                                                                         1.20%            3,396        0.63%
                                                                                      0.00%                489        0.61%              2,603
                                           304          0.23%                -                                                                                                      0.01%
 Security Deposit Closeout                                                                                   4        0.01%                 31        0.01%               39
                                             4          0.00%               0         0.00%                                                                                         0.06%
 Interest Security Deposit                                                                                  57        0.07%                149        0.07%              337
                                           124          0.09%               8         0.01%
 Interest Reserve                                                                                                     0.00%                 21        0.01%               26        0.00%
                                                        0.00%               5         0.00%                   -
 Interest Escrow                             0                                                                                                        0.09%              389        0.07%
                                                                                      0.00%                 55        0.07%                185
                                           149          0.11%                -                                                                                       12,851         2.37%
 Interest ODR                                                                                            2,433        3.02%                437        0.20%
                                              -         0.00%           9,981          8.86%
 Other Miscellaneous Income
                                                                                                                    100.00%            216,267     100.00%           541,278      100.00%
                                                    100.00%           112,646        100.00%            80,575
Totallncome                             131,789

 OtherExpenses                                                                                                           3.83%          14,499        6.70%           28,386         5.24%
                                          5,575         4.23%            5,228         4.64%             3,084
 Maintenance & Repairs Payroll                                                                                           1.68%           8,614        3.98%           12,899         2.38%
                                                        1.37%            1,135         1.01%             1,350
 Maintenance & Repairs Supply             1,799                                                                                          4,096        1.89%           13,983         2.58%
                                                                         4,129         3.67%               805           1.00%
 Maintenance & Repairs Contract           4,953         3.76%                                                                                         0.04%              295         0.05%
                                                                                       0.04%                  -          0.00%               90
                                            155         0.12%               50                                                                                                       2.43%
 Painting & Decorating                                                                                   1,275           1.58%           5,890        2.72%           13,165
                                          3,060         2.32%            2,940         2.61%                                                                                         0.98%
 Grounds                                                                                                   988           1.23%           2,478        1.15%            5,294
                                            926         0.70%              902         0.80%                                                                                         1.00%
 Services                                                                                                  750           0.93%           2,442        1.13%            5,404
                                          1,086         0.82%            1,126         1.00%                                                                                         0.02%
 Furniture & Furnishing Replace                                                                               -          0.00%                -       0.00%              110
                                               -        0.00%              110         0.10%                                                                                         1.93%
 Other Operating Expenses                                                                                                0.33%           6,276        2.90%           10,472
                                                        1.35%            2,152         1.91%               269
 Electricity                              1,776                                                                                            723        0.33%            2,016         0.37%
                                                                           404         0.36%               392           0.49%
 Water                                       497        0.38%                                                                                         0.39%            1,687         0.31%
                                                                                       0.41%                  -          0.00%             846
                                             384        0.29%              458                                                                                        10,335         1.91%
 Sewer                                                                                                   1,510           1.87%           4,210        1.95%
                                          2,301         1.75%            2,314         2.05%                                                                                         4.55%
 Garbage & Trash Removal                                                               4.20%             2,578           3.20%          12,391        5.73%           24,616
                                          4,914         3.73%            4,732                                                                                                      12.91%
 Site Management Payroll                                                                                 7,632            9.47%         34,397       15.90%           69,854
                                         14,575        11.06%           13,250        11.76%                                                                                         2.23%
 Management Fee                                                                                          3,617           4.49%           3,617        1.67%           12,045
                                           3,617        2.74%            1,192         1.06%                                                                                         0.08%
 ProjectAuditing Expense                                                                                                  0.00%             313       0.14%               453
                                                         0.11%                -         0.00%                  -
 Legal Expenses                              140                                                                                             88       0.04%               279        0.05%
                                                                             77         0.07%                36           0.05%
 Advertising                                  78         0.06%                                                                                         0.93%           4,980         0.92%
                                                                                        1.29%                  -          0.00%          2,019
                                           1,505         1.14%            1,456                                                                                         3,080         0.57%
 Telephone                                                                                                  514           0.64%          1,188         0.55%
                                             704         0.53%              674         0.60%                                                                                         0.34%
 Office Supplies                                                                                            243           0.30%             989        0.46%            1,834
                                             307         0.23%              295         0.26%                                                                                         0.81%
  Health Ins & Other Emp Benefits                                                       0.74%               466           0.58%           2,241        1.04%            4,397
                                             859         0.65%              831                                                                                           733         0.14%
  Payroll Taxes                                                                                              60           0.07%             417        0.19%
                                             179         0.14%               77         0.07%
  Workers Compensation




 2022-06-30 Prelim Calcs - Volunteer Mgmt                                 '~           ~~         FORENSIC                                                     For Discussion Purposes Only
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Income Statements - Total - 2020
Volunteer Management & Development Co - Mayfleld, KY
Date of Loss - December 10, 2021

                                                                       Ma field Manor II                    Windhaven III              Windhaven                      Total
                                       Ma field Manor I

                                                                     Amount              % to Inc.       Amount       % to Inc.    Amount       % to Inc.       Amount        % to Inc.
            Description              Amount       % to Inc.                     I
                                                                            -               0.00%           1,488        1.85%          794        0.37%           4,624        0.85%
OtherAdministrative Expenses           2,342        1.78%
                                                                       13,652              12.12%           5,308        6_59%       22,623      10.46%           53,939        9.97%
Real Estate Taxes                     12,356        9.38%
                                                                           20               0.02%              75        0.09%          249        0.11%             424        0.08%
Special Assessments                       80        0.06%
                                                                          824               0.73%           1,072        1.33%        4,602        2.13%           8,586        1.59%
OtherTaxes, Licenses & Permits         2,088        1.58%
                                                                                            3.00%           2,445        3.03%       12,745        5.89%          23,617         4.36%
Property & Liability Insurance         5,049         3.83%              3,379
                                                                                            0.10%             130        0.16%          203        0.09%             605        0.11%
Fidelity Coverage Insurance               161          0.12%              111
                                                                                            4.98%           1,280        1.59%        4,741        2.19%          13,864        2.56%
Return to Owner                          2,236          1.70%           5,607
                                                                            -               0.00%               -        0.00%            -        0.00%               -         0.00%
Insurance Proceeds - Loss Rent               -          0.00%
                                                                                           18.39%          17,947       22.27%       27,759      12_84%           96,670       17.86%
Interest                                30,246         22.95%          20,717
                                                                                           22.26%          34,458       42.76%      166,440      76.96%          308,390       56.97%
Depreciation                            82,415         62.54%          25,077
                                                                                             3.06%              -        0.00%            -        0.00%           3,452         0.64%
Amortization                                 -          0.00%           3,452 .

                                                                                          103.31%          89,775      111.42%       347,979    160.90%          740,488       136.80%
Total Expenses                         186,364     141.41%            116,371

                                                                                           -3.31%    $      (9,199)    -11.42%    $ (131,711)    -60.90%    $    (199,210)     -36.80%
Net Income (Loss)                    $ (54,575)    -41.41%       $      (3,724)



Source - Profit & Loss statements




2022-06-30 Prelim Calcs - Volunteer Mgmt                                            '~      ~~       FoneHsIc                                               For Discussion Purposes Only
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I                       xaM    1-
Yolunlwr Manepemem 6 DnebpmeN G-Merfeb.l(Y
Date al laa - DemmEer 10. 3031
                                                                                                                                                                                                                                     Jul                       Au A                                  Ber                     GctpOer                  Npvemher                     DecemCer
                                      Ja nua Z031                                                   MarcM1                          A HI
                                                                                                                                                                                                                                           %leln~         Ameunl       u %lolnc         Amounl eT %telnC                Amevnt       %loin~     Ameunl       %Inlnc          Amovnt       %Ipinc               llmounl       %Iqlnc
                                                                             %telnc         IlmouN           %tolne.        AmeuN          %lolnc.              ou         %teinc            Amounl        %lolnc          IUnaunt
         Oeacrl Bon               Amour 1        %tolnc     ~ IunouM                                                                                    nt~                          ~
nwme                                                                                                                                                                                                                          ISN           Ii.R%     3      4,w9         ]l.L6x    i       9.~1c     HABY          S      S.Sw        AN%      !~J99         ]d.]915    f        4AR      4O11Y       f          SJAal
                              f       Slm         ~Sllx      f       4.K9     ~J.]1%    f       5,%1          eB.65%    i       1,8J1       S~.wx       i       J,BIx       ]J.TT%       f       53BJ       1196%      T                                                                                                                                                                                          1e.1T          WAOX
TemNRaN                                                                                                                                                                                                                       fi3T]         5T.%%            63]3         60.05%            6J16      51.e9%               6J66        5196%       6ycJ       6131%               6,MB     5613x
                                      6,OB8       S3A6x              6,T~3    55.9xX            S,T65         W./5%             S,T65       TSMx                5,95x       611J%                8,551      JOJI%                                                                                                                                                                                                                 o.m%
5upelpr                                                                                                                                                                                                                           -           O.w%              -          O.w%                        o.wx                             OmX                    O.W%                         O.wX
                                                   O.OD%                       Omx                             O.W%                 •        O.wX                   -        O.wx                    -       O.w%                                                                                                                                                                           o.m%                         -        o.w%
fiutnl0v-UAPeldioTaronb                                                                                                                                                                                                                                                     Omx                 -      O.wX                      -      0.00%           -      O.w%                  •
pe~aqa                                             O.w%                        Om%                                                                                                                                                                                                                     omx                       •      omx             -      o.wx                  -      o.wx                         -       nwx
                                                                                                               O.m%                          o.w%                     -      o.m%                     -      o.w%                    -       o.DOx                 -        o.oax               -
Te~unl lere Feea                                   o.wx                        D.m%                                                                                                                                                                                        o.w%              Sw        S.wx
                                        1w         odT%                        o.w%                  -         omx                  -        omx                      -      omx                      -      o.mx                    -       o.wx                  -                                                                                                                                                1]I          0.10%
TenaNGurqeefor0.mapsa                                                                                                                                                                                                                        O.mX              J6          OJ6%               18       0.16%                 10       0.17%                      Omx                  -       o.m%
bp6ca0onFea                              1!        0.1I%                       OJTx                  -         Om%                  -        OmY                      -      Om%                     -                                                                                                                                                                                        1.15%                 563          O.eOX
                                                                                                                                                                                                     -       O.mx                11          0.19x             ]6          O.Tlx             111       091}                 ix1       1.W%              -        omx               111
lAundMdVm6lnpbmme                       tw         0,90x                 -     O.w%                  -         Om%                           O.mx                     -      0.00%                                                                                                                                                                                                            o.wx                    o          omx
                                                                                                                                                                             o.mx                    -       o.wx                 -          o.wx                  -       D.mX                 -      o.mx                   -       o.aox                      om%                  -
sxurM oemall neaeoN                       o        o.wx                        o.mx                            omx                           o.Dox                    -                                                                                                                                                                                                              o        o.wx                    x          Om%
                                                                                                                                                                      o      o.m}                    0       0¢0}                 o          o.wx                  D       O.wx                o       o.wx                   0       omx
Mernls«vRfGepoafl                         0        omx                  B      o.m%                  o         a.wx                 0        O.00x                                                                                                                                                                                                      -      omx                  ]t        o38x                               omx
                                                                                                                                                                      -      v.wx                   18       0.1]%                -          Om%                   -       o.aox              JO       OSex                   •       Omx
wermlReeuw                                -        o.a0%                -      o.a0x                 -         D.w%                 -        o.w}                                                                                                                                                                                                              o.Wx                   -       omx                    ~           omx
                                                                                                                                                                             o.Wii                   -       D.mx                 -          O.wx                  -       o.mx                 -      o.wx                           O.w%
~mernlExmw                                -        o.w%                 -      oA0%                  -         o¢0%                 -        o.w%                     -                                                                                                                                                                                        omx                  16        o.15x
                                                                                                                                             o.W}                     -      o.mx                    -       o.m%                 -          O.wx                  -       o.mX               x        o3ex                           o.mx
 wo~ealooR                                         Omx                         D.w14                           Ulp%                                                                                                                                                                                  o_m%                        -   O~WX                    o~Wx                             Omx                 lo.W       J_19Y
                                                                                                                                             o.5615                          OADx                lU.wO      4557%                            o.ms                          om%                  -
qMrlAimnaneouahmms                       _         Ox
                                                    .m                         Omx                             Umx
                                                                                                                                                                                                                              1V.617       1wA0%            tOMs         1mm%               lx.tn    100_mX               u.o19        lw0w%        11JR     lm_m%               11¢Ir    imAO%                              _
                                      11514      lwm%                10369    Imm%              f0.61B       Im.W%              7.611      lwmx                 9A6e       lmm%                  119M       100.wY
TWllrrtame

~r e~ea~mfa                                                                                                                                                                                                                     3(1]         ~AS%               -          O.w%               dl1          6A3%             561         ~.6]%         561        ~95%              561         SA1%                5,9
                                                                       e60     l6T}                            0.00%             U9          5.69%              1¢96        tl.e6x                 1%        336%
6tainlenanw6RpminPatroll                152        ]93%                                                                                                                                                                                      1.fi0}           ]9J          ].Td}              55f          ~Slx             191         ]AS%          19B        ~J6%              163         1.65%               ]A6]          l.e6x
                                         5e        OAJ%                3N      ]]TY               ~TO          ~JI%              ~01         316}                1%          199x                   1J       0.%}               1TJ                                                                                                                                                                                1m9           1.15x
MawenamedRepainSupOh                                                                                                                                                                                                            115          1A61{            Sm           lT9%                 -          Om%                          O.m}                     o.00X               -         O.w%
                                                   Om%                         U.w%               619          5.T1%             3T5         ].m%                 50         033%                   50       Ol]%                                                                                                                                                                                                      JO        O.WR
MawenonmlRapalnCon0acl                                                                                                                                                                                                             -         D.W%               -          o.m%                ~0          OJJ%               -         O.m%            -        O.mX              1501       -0ASx
                                             -     0.0U%                 -     om%                 ~0          OJix                -         O.W%                  -         O.wx                      -     D.w%                                                                                                                                                                                                  x?15          1.10%
PalntlnOdDerAniLq                                                                                                                                                                                                               ]]5          JATx             ]TS          J59%               ]TS          ].%%             ]IS         ].13%         150        33UX                          Om%
                                                   om%                         Om%                             Omx                           LLw1l                 -         O.WX                  6L5       SASX                                                                                                                                                                              OAI%                ]p06          x.t5x
GmimEa                                                                                                                                                                                                                           %           oA9%              %           09x%                96          O.T9%             %          OAOX           %         0.65x              %
                                                   Om%                         0.00%              193          1.77%            xp15        16.T1%                %           tmx                   %        O.N%                                                                                                                                                                                                  1316          oAT%
SeMue                                                                                                                                                                                                                              -         o.wX               -          O.w%               561          LT9X               -         O.W%            -        O.m%                -         0.00X
                                                   O.m%                  -     Om%                WJ           5.61X               -         O.wx                  -         O.w%                      -     O.w%                                                                                                                                                                                                                omx
Fumilum6FumlahhqRmluce                       -                                                                                                                                                                                               o.Wx               -          D.mx                 -          0.m%                         0mx                                                    om%                      -
                                                   om}                         Omx                             Omx                           omx                   -         o.mY                      -     omx                   •                                                                                                                                                                               1,619         1.16%
tYJnroper+rpPpmwe                                                                                                                                                                                                               1U           1J3X             165          136%               116          1ASx                  -      Om%           118        1.01%             ]36         3%%
                                        1%         lA6x                 ~6     OM%                166          1.T1%               66        OA6%                 68         09x%                  ill       0.51%                                                                                                                                                                             0.60X                 5%          OAJ%
pxlAcitJ                                                                                                                                                                                                                        1N           1.0611            69          O.6fix              65          0A5%                  -      o.w%           ])        OJS%               66
                                         SZ        0.19%                x1     O30%                61          OSi%                ~i        0.51%                JS         OJIx                    5]      OS~x                                                                                                                                                                             0.61X                 S6x          oA0%
Waler                                                                                                                                                                                                                           1~1          iJt%              TO          o.fiT%              51          OA3%                  -      o.wx           J1        O18%               61
                                         15        D.11x                13     O1J%                ~1          oAJ%               ]5         oA6%                    ]5      oJM                    R        011x                                                                                                                                                                  3J9      3.16%                  1.'I31
5aeer                                                                                                                                                                                                        1.09%              1l9          xll%             ]J9          139%              x]9            1%%             x39         199x          x]9      x.11%
                                                                       191      1A9%              191          1.T9%             1]9         ].1]%                3l9        l.mx                   x]9                                                                                                                                                                                                                           I.
                                                                                                                                                                                                                                                                                                                                                                                                                                  ].oix
GaibapoSTraehRemwal                     191        1.69X
                                                                                                               o.w%              JSL         i.60%                x%         ].WX                     -      O.m%                ]IS         3.19%              -          O.mx              6B0            11]%            SM          e5lX          12.      e.66%               511      L63X                   i3W
SIIeFYnepemanlPam00                     eJl        ].Tfi%              e06      ]9!%                                                                                                                                                                                                        xA10           19A6%           1365        10.53%       1165      11.15%              13fi5    11A3%                  14.T40         1036%
                                                                                                              11.16%            1310        15A%                 1310       11.65%                1,159      536%              1,155        10.66%                         Om%
IHnaqemenlFw                           ly0        11.c6%              1165     1xJlY             1310                                                                                                                                                                      o.00x            1m0             dl:x              -         O.m%           -       O.wx                   -     p.mx                   JA19           lA5%
                                                                                                              13J0%                -         omX                    -        0.w%                     -      Om%                   -         Dm%                -
Pro~mlAUEAInqErpema                                o.Wx                         0.00%            xA1B
                                                                                                                                                                                                                                                                           Om%                 -            O.mX              -         O.w%           -       omX                    -     O.wx                        -         Om}
                                                                                O.m%                 -         Omx                 -         O.m%                   -        O.w%                     -      0.00X                  -        o.mX               -
LepalEapemea           ~                     -     Omx                   -                                                                                                                                                                                                 O.w%                -            O.m%               -        O.w%           •       O.m%                 x5      OSJ%                       25         0.03}
                                                                                                               O.w%                          Omx                             O.w%                     -      O.w%                   •        o.w%               -
AdronWiy                                           Om%                          Om%                                                                                                                                                                           119          1.1~}             1J0            1.w%            155         l.lx%         68       036%                1]0      1.1J%                  1¢13           1.15%
                                                                       13/      1]O%              1T1          136%               116        135%                    119     11~%                   119      O.SIx               119         1.10x
Tehphons                                1]3        1.15%                                                                                                                                                                                                       %           0.91%              1T1          1A1%              ]I         039%         ]OJ       1.11%               165      1A9%                   1,191          0.66%
                                                                                0m%                 -          O.w%                 -        0.w%                     51     o.SJ%                   U       o11%                   -        om%
CI16u6upp0ea                            3xB        3AJX                                                                                                                                                                                                         -          O.wx                 -          om%                 -        o.Wx           -       o.wx                iW       0.9T%                    1W           0.06%
                                                                                O.w%                           O.wx                           omY                      -     o.wx                     -      0.00%                  -        omX                                                                                                                                                                                  OA6X
HeaqM1badGlM1etFmP6e.flle                          O.w%                                                                                                                                                                                                         -          o.mx               131          1.OB%            36D         ]m%           dT       D.1]%               211      1.%%                   M.
                                                                                0.66%                -         o.DOx               m          o.T9%                  tm      1.11x                   ]8      O.1T%                65         U.60x                                                                                                                                                                                o.wx
PMo1lTvaee                               65        059x                 bi
                                                                                                                                                                                                                                             +31X                  -       omx                             0mx                   -      o.w%             -       omx                  -       o.mX                   +]t
                                                   o.w%                         o.wx                           Dmx                           omx                       -     o.Do%                    -      o.aox              1]1                                                                                                                                                                                  168       o.t9x
Wona~compen..11m                                                                                                                                                             U.                     ]e        o.tTx               19         o.lex              -          o.wx                         oltx                 re         o.Wx             -       o.wx                 -     O.wx
OlnarldminMnll+eE.p.neea                           o.wx                 19      o.19x               ]e          O.u%               19         OSSY~                19                                                                                                                                                                                            Om%             tt,63I   11391}                  11,W         9.19%
                                                                                                                                                                                                              Om%                  -         O.m%               -          O.w%                ~        om%                      -      Om%              -
RealEalaleTean                                     Om%                          Om%                             Om%                 •         Om%                    -       D.W%                    -                                                                                                                                                                               ]0     0.16}                    1I0       Om%
                                                                                                                                                                                                    SO        O.mX                 -         O.w1t              -          O.wx                ]0       0.16%                    -      Omx             -        O.w%
5peclelAueuimNa                                    OAO%                 x0      o.19%              40           03T%                -         Om%                    -       O.wx
                                                                                                                                                                                                                                  16         016X              10          0.19X               19       0.16%                    -      O.wx           1]        0.15%               ]9     oJ5%                   1,931       116%
                                         S]        O30%                  9      O.m%              B68           9.11%             T%         10A1x                  ]        Om%                    tl        O.m%                                                                                                                                                                                                 6A16        lWX
GiM1erTaan,llmnan6Pemtlle                                                                                                                                                                                                            •       omx                -          a.wx                  _      O.m}                     _      D.wx            -        oA0%                 -     o.W%
Hemm'8uad~Mlmun~                          -        O.00F                 -      O.mx                -           Omx                 -         O.wx                   -       D.wx                 eAte       1lSsx
                                                                                                                                                                                                                                                                                                                                                                                            O.mY                               0.11%
                                                                                                                                                                                                   150        O.fi9Y               -         Om%                           OmX                          o.w%                            Om%                      Om%
                                                   0.00%                        oA0%                            omx                 -         D.m%                   -       O.m%                                                                                                                                                                                                           omx                    33]6
                                                                                                                                                                                                                                                                                                                                                                                                                    I.         1.60%
FIdeMCaenpelmunlse                                                                                                                                                                                   -        D.wx                 -         OmY                -          oA01t                -       o.w%                  -        o.m%              -     O.wx                  -
Retumledmer                                        o.wx                         Om%              x3]B          l0.etx               •         o.wx                   -       o.wx                                                                                                                                                                                                    -      Om%                        -       D.m%
                                                                                                                                                                                                     -        o.mX                 -         OmX                -          omR                  -       O.m%                  -        o.w%              -     Om%
                                                   o.Wx                         o.wX                            Om}                 -         Om}                    -       O.W%                                                                                                                                                                                                 lAee     1]AxX                  1TAT3       1x.61X
bnuranmProoeede-Lw+Rml
                                                                                                                                 tA91        1839%               1A%        15.6Ix                1A91        461%             1,A9J        1].60x           IA91         1e18%              lA%       1134%               1A69       1339%          M.       1J.13%
BNerrsl                                lm1        IJ.w%               1,Sw     11.61%            1A99          1]Ax%                                                                                                                                                                                    o.wx                  -        oADY              -     D.m}                  -      o.wx                       -       o.wx
                                                                                                                                              o.wx                   -       O.wx                     -       o.wx                 -         Omx                -          o.wx                 -
Geprada6on                                         o.w4                         oA0%                            o.mX                                                                                                                                                                                  O~m%                           0_mx                      0m%                   -    D~w%                               o~wx
                                                                                                                o.mX                          o.1101L                      o_WX                      -        00wx                           o.00%                         O.mx
Mrontre4on                                       D_wx                    -      o.00x
                                                                                                                                                                                                                               5151        ~.5T%             J.611        31.T6}             9396          76.39%          5.589       edA6%        536]      4912%              10,313   165]9x                  91.TT8     65_T3%
                                       e.Tl/     ~1_11%               4A]D     0.1.%            11.ON         101.61%           TS6J         969r%               5,111      5]O55%               11331     51_1JY
TolelEapanen
                                                                                                                                                                                                                                                                          6533%         s    leTe          x]M61x   S      6.1J5       5]SIx    3    5.T59   50~16%          t     N0      Ji539%          f      47A69          ]116}
                                                                               5B.66Y                          -1Lx%        3      T9         1m%           f    I.MI       AdA5%            3   t0.T1]      46ATx     S       536]         51ADY     S      fi.611
Natlroeme(lnas)                   f    6.160     56~9%           !    5A19                  f     f1l11


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 2022-06-30 Prelim Calcs - Volunteer Mgmt
                                                                                                                                                                                     ~'                    ~~                  FORENSIC                                                                                                                                          For Discussion Purposes Only
 6l30/2022; 4:26 PM               Case 1:23-cv-00041                                                                                          Document 1-2                                                 Filed 06/20/23
                                                                                                                                                                                                                  ACCOUNTANT9                                          Page 147 of 161 PageID #: 289
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                                                                                                                                         .
Income Statements - Mayfield Manor 1- 2022
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021
                                                                                                                                                          April                             May                                   tal
                                         Janua       2022                       Februa                               March

                                                                                                                                                 Amount           % to Inc.        Amount         % to Inc.          Amount             % to Inc.
                                      Amount          % to Inc.        Amount            %~ ,-C-            Amount           % to Inc.                      I
           Description
Income                                                                                                                                       $                       0.00%     $        (13)        6.10%        $        (13)            -0.22%
                                             -          0.00%      $            -             0.00%     $             -      #DIV/01
Tenant Rent                          $                                                                                                                                                    -         0.00%               6,011            100.74%
                                                                                              0.00%                   -      #DIV/01                   -             0.00%
Subsidy                                  6,011        100.00%                   -                                                                                                                                           -              0.00%
                                                                                                                      -      #DIV/01                   -             0.00%                -         0.00%
                                             -          0.00%                   -             0.00%
Subsidy - UA Paid to Tenants                                                                                                                           -             0.00%                -         0.00%                   -              0.00%
                                             -          0.00%                   -             0.00%                   -      #DIV/01
Overage                                                                                                                                                -             0.00%                -         0.00%                   -              0.00%
                                             -          0.00%                   -             0.00%                   -      #DIV/01
Tenant Late Fees                                                                                                                                                     0.00%                -         0.00%                   -              0.00%
                                                                                -             0.00%                   -      #DIV/01                   -
Tenant Charges for Damages                   -          0.00%                                                                                                                                                               -              0.00%
                                                                                                                      -      #DIVl01                   -             0.00%                -         0.00%
                                             -          0.00%                   -             0.00%
Application Fees                                                                                                                                       6             3.54%                -         0.00%                   6              0.10%
                                             -          0.00%                   -             0.00%                   -      #DIV/01
Laundry & Vending Income                                                                                                                               -             0.00%             (200)       93.90%                (200)            -3.35%
                                             -          0.00%                   -             0.00%                   -      #DIV/01
 Security Deposit Closeout                                                                                                                             -             0.00%                -         0.00%                   0              0.00%
                                             -          0.00%                   0           100.00%                   -      #DIV101
 Interest Security Deposit                                                                                                                             -             0.00%                -         0.00%                   -              0.00%
                                             -          0.00%                   -             0.00%                   -      #DIV/01
 Interest Reserve                                                                                                                                                    0.00%                -         0.00%                   -              0.00%
                                                                                -             0.00%                    -     #DIV/01                   -
 Interest Escrow                             -          0.00%                                                                                                                                       0.00%                   -              0.00%
                                                                                                                       -     #DIV/o!                    -            0.00%                -
                                              -         0.00%                    -            0.00%                                                                                                                                        2.73%
 Interest ODR                                                                                                                                        163            96.46%                          0.00%                 163
                                                        0.00%                                 0.00%                          #DIV/ol
 Other Miscel!aneous Income
                                                                                                                                                      169          100.00%             (213)      100.00%                5,967           100.00%
                                                       100.00%                  0           100.00%                           #DIV/0!
Totallncome                               6,011

OtherExpenses                                                                                                                                            -           0.00%                 -          0.00%                   -             0.00%
                                               -         0.00%                 -               0.00%                 -        #DIV/01
Maintenance & Repairs Payroll                                                                                                                            -           0.00%                 -          0.00%                                 0.00%
                                               -         0.00%                 -               0.00%                 -        #DIV/0!
Maintenance & Repairs Supp!y                                                                                                                             -           0.00%                 -          0.00%                   -             0.00%
                                               -         0.00%                 -               0.00%                 -        #DIV/01
Maintenance & Repairs Contract                                                                                                                           -           0.00%               (50)        23.47%                 (50)           -0.84%
                                               -         0.00%                 -               0.00%                 -        #DIV/Ol
Painting & Decorating                                                                                                                                                0.00%                 -          0.00%                   -             0.00%
                                                                               -               0.00%                 -        #DIV/o!                    -
Grounds                                        -         0.00%                                                                                                                             -          0.00%                   -             0.00%
                                                                                               0.00%                 -        #DIV/0!                    -            0.00%
Services                                       -         0.00%                 -                                                                                                                                              -             0.00%
                                                                                                                     -        #DIV/01                    -            0.00%                -          0.00%
                                               -         0.00%                 -               0.00%
Fumiture & Furnishing Replace                                                                                                                          10             5.92%                -          0.00%                   -             0.00%
                                               -         0.00%                 -               0.00%             .(10)        #DIV/0!
Other Operating Expenses                                                                                                                                45          26.61%                 -          0.00%                  45              0.75%
                                               -         0.00%                 -               0.00%                 -        #DIV/01
Electricity                                                                                                                                             21          12.70%                 -          0.00%                  21              0.36%
                                               -         0.00%                 -               0.00%                 -        #DIV/01
Water                                                                                                                                                   23          13.82%                 -          0.00%                  23             0.39%
                                               -         0.00%                 -               0.00%                 -        #DIV/01
Sewer                                                                                                                                                    -            0.00%                -          0.00%                   -              0.00%
                                                -         0.00%                -               0.00%                 -        #DIV/01
Garbage & Trash Removal                                                                                                                                   -           0.00%                -          0.00%                480               8.04%
                                            480          7.99%                 -               0.00%                 -        #DIV/01
Site Management Payroll                                                                                                                                   -           0.00%                -          0.00%                   -              0.00%
                                                -         0.00%                 -              0.00%                  -       #DIV/01
Management Fee                                                                                                                                            -           0.00%                 -         0.00%                    -             0.00%
                                                -         0.00%                 -              0.00%                  -       #DIV/0!
ProjectAuditing Expense                                                                                                                                   -           0.00%                 -         0.00%                   -              0.00%
                                                -         0.00%                 -              0.00%                  -       #DIV/0!
Legal Expenses                                                                                                                                            -           0.00%                 -         0.00%                    -             0.00%
                                                -         0.00%                 -              0.00%                  -       #DIV/01
Advertising                                                                                                                                             15            8.86%               30        -14.06%                 312              5.23%
                                                          2.16%             122           135811.11%                15        #DIV/01
Telephone                                   130                                                                                                                                           75        -35.39%                  75              1.26%
                                                                                -              0.00%                  -        #DIV/01                    -           0.00%
OfFlce Supplies                                 -         0.00%                                                                                                                             -         0.00%                 108              1.80%
                                                                                                0.00%                 -       #DIV/Ol                     -           0.00%
                                            108           1.79%                 -                                                                                                                                                            0.62%
Health Ins & Other Emp Benefits                                                                                                #DIV/0!                    -           0.00%                 -         0.00%                  37
                                              37          0.61%                  -              0.00%                 -
PayrollTaxes                                                                                                                                              -           0.00%                 -         0.00%                    -             0.00%
                                                 -        0.00%                 -               0.00%                 -        #DIV/01
Workers Compensation                                                                                                                                                  0.00%                 -          0.00%                   -             0.00%
                                                                                 -              0.00%                  -       #DIV/01                     -
 OtherAdministrative Expenses                    -        0.00%                                                                                                                                        0.00%                   -             0.00%
                                                                                                                       -       #DIV/01                     -          0.00%                 -
                                                 -        0.00%                  -              0.00%                                                                                                                                        0.00%
 Real Estate Taxes                                                                                                                                         -          0.00%                 -          0.00%                   -
                                                 -        0.00%                  -              0.00%                  -       #DIV/01
 Special Assessments                                                                                                                                   103           61.21%                  -         0.00%              1,063            17.82%
                                                 -        0.00%              960         1066666.67%                   -       #DIV/0!
 Other Taxes, Licenses & Permits                                                                                                                                       0.00%                 -         0.00%                    -            0.00%
                                                                                 -              0.00%                  -       #DIV/01                     -
 Property & Liability Insurance                  -        0.00%                                                                                                                             -          0.00%                   -             0.00%
                                                                                 -              0.00%                  -       #DIV/0!                     -           0.00%
 Fidelity Coverage Insurance                     -        0.00%                                                                                                                              -         0.00%              2,236             37.47%
                                                                                 -              0.00%            2,236         #DIV/0!                     -           0.00%
 Return to Owner                                 -        0.00%                                                                                                                              -         0.00%            (62,800)        -1052.44%
                                                                                 -              0.00%          (62,800)        #DIV/01                     -           0.00%
 Insurance Proceeds - Loss Rent                  -         0.00%                                                                                                                                   -694.40%               7,410           124.17%
                                                                                                                 1,482         #DIV/01               1,481          876.14%            1,479
                                           1,485         24.70%            1,483         1648144.44%                                                                                                                            -             0.00%
 Interest                                                                                                                      #DIV/01                     -           0.00%                 -         0.00%
                                                 -         0.00%                  -             0.00%                  -
 Depreciation




                                                                                                   i    - -~
 2022-06-30 Prelim Calcs - Volunteer Mgmt                                                      N'              M      m      FOReNsIc                                                                          For Discussion Purposes Only
 6/30/2022; 4:26 PM                  Case 1:23-cv-00041                              Document 1-2                  Filed 06/20/23
                                                                                                                          ACCOUNTANT,              Page 148 of 161 PageID #: 290
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Income Statements - Mavfield Manor 1- 2022
Volunteer Management & Development Co - Mayfeld, KY
Date of Loss - December 10, 2021
                                                                                                                 rch                            A riI                            Ma
                                         Janua   2022                       Febrn
                                                                                                                                                                        Amount        % to Inc.        Amount          % to Inc.
                                                                                                                       % to Inc.       Amount           % to Inc.
                                     Amount       % t o Inc.       Amount           ~~]          E~       i
           Descri tlon
Amortization
                                                                                                                                                                           1,534      -720.38%           (51,040)      -855.36%
                                                                                                      (59,077)          #DIV/01           1,699         1005.26%
                                         2,239        37.25%          2,566      2850622.22%
Total Expenses
                                                                                                                                                                    $     (1,747)     820.38%      $     57,007         955.36%
                                                                                                      59,077            #DIV/0!    $     (1,530)        -905.26%
                                                      62.75%   $     (2,565)     -2850522.22%     $
Net Income (Loss)                   $    3,772



Source - Profit & Loss statements




                                                                                                i---Ndpw
  2022-06-30 Prelim Calcs - Voluntee r Mgmt                                                           ~~                FORENSIC                                                                  For Discussion Purposes Only
                                  Case 1:23-cv-00041                           Document 1-2
                                                                                         ^~            Filed           06/20/23
                                                                                                                        ACCOUNTANTS      Page 149 of 161 PageID #: 291
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                                                                                                                                                                                                                                                                                                                                                                                                             Schedule 18
                                                                                                                                                                                                                                                                                                                                                                                                                      Page 24 of 32
                                                                                                                                                                                                                                                                                                                                                          '
Income stelemenlf-MaMeld Menar II-lOSt
Velunlnr Manpemenl e DerebpmeN Cb-MrAlek, KY
wle ottpm-Depem6.r lo. zv21                                                                                                                                                                                                                                                                                                                                   wem                            am
                                                                                                                                                                                                                                     Jul
                                                                                                        March                                                                                                                                                                                                                                                                                     %binc          I1muuNTolal %IeNc
                                                                                                                                                                                                                                                                                              11m ~ lem %lelnc               Nrou m~ e~ r%IpNc        1lmpwl        %roNc      I1mowOt
                                                                                                                                                                                             MpunlJune %roNc                pmounl           %rolne.         NnouM u Va %lpinc
                                                                                %lolnc.     IUnewt              %lolnc     Nnounl            dl %lolnc          pmouMMa
         Oefctl Ibn             /unewlua        %lotne          Wneunl e0~                                                                                                                                                                                                                                                                            3!3!3          40.01%   9     lJSa           36.ee%    3       aU.aTS
                                                                                                                                                                                                                                                                 1AaT          4027%      3       l.b6]       41.98%     3       l,Rl       aUBl%
                                                                                                                                                                    l,He       !]AO%     3       eJD!         H.OSx     3       ],116         ]6.Tex     7                                                                                              5,0]S        fi330%         5,m!           519I%             59310       35.1]%
                                                                    ]AU          ]9S1%      3       ],91!        aSAi%     3       3.411        !15!%       S                                                                                                    4.111         619T%              5,d1        5T.11%             5,035      6193%
T~leN SflaN                    3]3T]             a1m%       3                                                                                                                  .13Ix             aA15         SaAS%             4AeS          66.ISx                                                                                                                                 (1T1)         -I.1T%            R.DSI)      -2A1%
                                                 6139%              4.875        6T39%              ~,615        59]9%             ~AT3         aeAex               aAT5                                                                       -IJS%              (tTt)        -I36%                (1]tl     •1%%                (tnl      -2.tOx       (nt)        -].11%
                                                                                                                                                                                                                                                                                                                                                                                                                                 -0Alx
fiulnMy                           a,6e0                                                                                                          A.                   (tit)     -1.G6%            (1T11       •191%               (1T1)                                                                                            15a)     -0.66%        (50         -0AT%           15a)         -0.69%              (eT])
                                                 -I.15%              (111)        -33I%               (t)1)      -19e%              (111)                                                                                          (Sal        -0.T]x             (22e)        JD1x                   (Sa)    -0.5I%                                                                                                              Om%
fiuEaldy-UAPaW1oTwW                (111)                                                                                             (SIj        -051x                 (SO      -053%              (511       -0.WR                                                                                                                  -       0.00%          -          O.m%             -           O.m%                    .
                                    (511         -0.Qx                RO          -0.TD%               (Sa)      -0.6!%                                                                                                              -          Omi                  -          0.m%                    -      Om%                                                                                                      Im        035%
(Mnpe                                                                                                                                  -          oA0%                   -       O.00Y               -         O.m%                                                                                                                  -       O.mx           -          M.               -           ODOx
                                      -           Cm%                   -          Q00%                  -        ODO%                                                                                                                         Om%                   -          Om%                  I50       I.66%                                                                                                     !e       C.01%
T NWaFen                                                                                                                               -          omx                    -       O.Wx                -         OA016                 -
                                                                                                                                                                                                                                                                                                                                     -       O]A%          ]e          O.tT%            -           Dmx
                                                  Om%                   -          0.00%                 -        O.W%                                                                                                               -         0.D0%                 -          Om%                     -      Om%                                                                                                    4,66T       ~SSx
TeroNCM1aNnlorOalmpn                  -                                                                                                -          0,0014                 -       Omx                 -         Omx                                                                                                                   •       Omx            -          Om%              1           O.o1%
                                      -           OAO%                  •          O.W%                   -       OAOx                                                                                                               T         0.10x                 1          D.OI%                   1       OAIx                                                                                                     e]       ODe%
/~pplloUanFen                                                                                                                         11          0.10%             ~,555       M.15x                -         O.m%                                                                                                                  •       O.Wx           -          a.mx •           -           O.mx
                                     !a           OA]%                  e          0.11%                ~6        0.5]F                                                                                                              -         O.mx                  •          O.Wx                    -       oA0%                                                                                                       I      U.mR
leubryeVaMlnp9mrtb                                                                                                0.00%                           Om%                   et       0mx                 -         O.mx                                                                                                                  0       0.mx            -         oAox             o           O.mx
                                                  O.m%                             OAOx                                                                                                                                              0         0D011                 0          omx                     0       O.m%                                                                                                      lU
SeNdry0.pmeLbaeoN                                                                                                 O.aox                0          Omx                    0       om%                 0         OD011                                                                                                                 1       OAt%            -         Om%              1           ODI%
                                       0          DAox                  0          0.W%                 o                                                                                                                            1         O.DIx                 1          OA1%                    1       ODl%                                                                                                              O.00x
mumisecu~elDepun                                                                                                                       1          0.G1%                  1       OA1%                f         OAl%                                                                                                                  1       oAlx            -         O.Wx                         Om%
                                       1          OD1%                  1          OAI%                 1         OAt%                                                                                                               D         0.01x                 1          OAIx                            CDtx                                                                                                       -      0.0015
1NeInlReaeln                                                                                                                           0          0.00%                  /       OA1%                0         om%                                                                                              O.W%                  -      0.00%           -         O.W%              -          Om%
                                                  Om%                   0          Om%                  0         Om%                                                                                                                -         0.00%                 -          0.00%                   -                                                                                                                         O AO%
NleraalE+now               '                                                                                      Om%                             O.W%                           D.00%                -        ODOx                                                                                                                  -       O%                     O~AO%                         O~m%
NlerealODR                              -         0.m%                  -          0.00%                -
                                                                                                                                                                               -!]AOx                          ODO%                  -         ODOx                             O
                                                                                                                                                                                                                                                                              ~W%                            _~0 m%                           DO
                                                                                   0%A0                           O.W%             2A1e          2]m%               fJAl61
 OIM1w19'vsDuwoualname                             O110x                                                                                                                                                                                                                                                                                                 epeT        100.Wx         TdeO          1WW%               1G1.566     iW.00%
                                                                                                                                                                                                                                                                 7966          t00Mm%             e.TN       1W~.W%              e.l]6      1mD0%
                                                                                                                                                                    10.]IJ     1WA0'A            l9S1         1WAOx             T]d5         100.m%
                                                                    T.TOI        1WA0x              6.W5        100A0%             IO.H9        1WMm%
TNllnmme                             T•W2       1mD0%
                                                                                                                                                                                                                                                                                                                                              eA9x        SSe         6.5]%           5Ie           0.10%              5,T95       5.69%
                                                                                                                                                                                                                                                                      -         O.m%                eT1         9BT%               5]5
dherEaunsn                                                                                                                                                          1.Om        10A6%             4n            53e%              ~e0           e.50x                                                                                                     366         !39%              10          035%               tAL9        IDl%
                                                                      ~4           SAT%                  -         OAOx              4OS          ]A6%                                                                                                             1]]          1.51%               121         1]e%                 ~]       0.5T%
MalnlenvlweeRawlnPalmO                ~50         Sb5%                                                                                                                           Omx                eT          091%                -           OA0f4                                                                                                      15         OA]%                -         Om%                ty9T        196x
                                                                                   OAT%                            om%               214         IDIx                  -                                                                                           le9          19T%                  t0        0.e0Y                 -       Omx
MalmenmaeRepain6uqPM                  1!2          tA6x                 5
                                                                                                                                                                        -        O.W%             1]5           1.10x               -           Omx                                                                                                          -        D.mx                -         Omx                      -     O.Wx
                                                                                   O.m%              1,616        te.Rx                -          O.Wx                                                                                          O.mx                  -         Omx                    -        Om%                   -       o.Wx
ebinl<naKeeRewlnCpmrod                             O.m%                                                                                                                 -        oAOx                -          O.Wx                -                                                                                                                     15G         ]m%                 -         Om%                ].1T5       I]]x
                                                                                   D.00x                 -         Om%                 •          Om%                                                                                                              !T5          4.96Y               ]TS         ~]9%               !IS        a.el%
PelnllrqlOxmallnp                                  oA0%                                                                                                                          om%              6R5     '     695%              ]TS           SA6%                                                                                                      W           5.17%           H2            561%               2A11        L]1x
                                                                        -          0m%                             om%                            0m%                                                                                                                9I         132%                HI          S.m%                 9I       1.13%
GrouMf                                             Umx                                                                                                                  9'1      O.e9%              B2          lA]%                41          135%                                                                                                         •        O.m%                -         O.Wx                  60e      DbOx
                                                                        -          O.W%               511          6.1ex               92         D.6ex                                                                                                                         0.00%                  -        OmY                   -       oA019
seMnf                                              OAOx                                                                                                                6m        SAT%                •          O.W%                 •          Cm%                   -                                                                                               OAOx                -         Om%                      -     Om%
                                                                                   Omx                  -          0.00%                -         Om%                                                                                                                           O.Wx                   -        Omx                   -       oA0%           -
FumiluneFumhMnpReplan                              O.W%                 -                                                                                                        ODOY                -          Omx                  -          o.W%                  -                                                                                               0.6.5%           153          191%                t,fi9]     1.6b1{
                                                                                   Omx                  -          O.mR                 -         oAox                    -                                                                                          59         C.T~%                 6l        o.T!%                W        0.61%        5t
OIM1nrOpelaOnpEmemea                               Om%                                                                                                                 1d        tAl%             1m            IS]%              101           l.l6%                                                                                                      11          0.1]%            !I          oAl%                  ~O6      OAO%
                                                                     16e           1.19%              ~OD          l6lx               150         1.~]%                                                                                                              11         0.1~%                1G1        1.15%                1!       0.15%
EIeNM1:nr                             3T1          ]ASx                                                                                                                 It       0.10%              /1          0.13%               11          0.15%                                                                                                       tI         0.1a%            15          O.N%                  a]9      oA]%
                                                                                   O.1~x               {]          OSOx               111          l.m%                                                                                                              tI         0.15%                15a        1.T6%                1~       e.11x
Waler                                   Q          0.51%               11                                                                                               12       0.11%              11          0.11%               12          O.lfi%                                                                                                    I39          LW]%            ]]9          1m%                2,]59       LT1%
                                                                                   O.1SlG              aT          OSIx                69          0.66%                                                                                                           I!9          116%                 99         Lt]%                Z39       l9ax
 Sw.m                                   ~]         039x                12                                                                                              I65       ]36x              ]39           281%             I]9           !]!x                                                                                                                   53l%            513          630%               ~762
                                                                                   iSlx               I.           235%               219         13ex                                                                                                                          Omx                  Ta0        5AT74               TSz       93ax        51]
 GahaqeeTnahRamowl                     191         2H%               191                                                                                                         2.T%                 -         Omx               ]15           1.6t%                 -                                                                                                              t,tm          1396%              13.100      tl.6e%
                                                                                                                   o.mx              !H           !]e%                 ]ee                                                                                                      Om%                S.I00       ]S.te%             t,tm       1151x           -         Om%
 6MeMampemenlPaillo0                   ~05         5.12%             ]6]           •191x                                                                                                         1,1m          1I39%             1.tW          ta.90x                 -                                                                                                                   -         Om%                ]A19         ].]fi%
                                                                                                     1,1m         1].TIx            1,100        10.19%              t,1W       10.65%                                                                                                             tAOU        11.15%                 -       U.W%           -         Om%
                                     1,1W         11.51%            1,1m          1f35%                                                                                                               -          Om%                 -          Om%                    -        om%                                                                                                        -        o.aox                    -      omx
 MmupamanlFn                                                                                         ]A19         IT9lx                 •          Om%                    -      ODO%                                                                                                                   -        Om%                   -      oAox           -         Om%
 PnpN]wdlWpE~enae                        •         O.GO%                -           O.m%                                                                                                              •          Om%                 -          Om%                    -        o.Wx                                                                                                    24          O]1%                    11      O.OIx
                                                                                                         -         Om%                   -         omx                    -      oA0%                                                                                                                   -        ODOx                  -      O.Wfi          -         O.Wx
                                         -          oA0%                -           Um%                                                                                                               -          Omx                 -          OAex                   -        Om%                                                                                                    135           13e%               1A28         tAOx
 4xalErpenn                                                                                              -          OAO%                 -         om%                     -     Omx                                                                                                                 115         1.1]%              115       15]%          ea         0.19%
 Ib.eDhbp                                           omx                             Om%                                                                                                            1N            13T%              11~          1.55%               114          131%                                                                                                  15e          101%                 951       086x
                                                                                                       165          191%              114           1.05x              lta       1.11%                                                                                                                 55      0.63%                  -      0.00%        !OT         !AO%
 T.lepnone                            1ST           1.60%             12e           1.6T%
                                                                                                                                                                                 DA9%               ee          C.SIx                    -      Om%                 9]           131%                                                                                                 1m            131%                 1m        O.IOx
                                                                                                          -        Um%                 51         OAe%                  51                                                                                                       OAO%                  -        Dm%                    -      Om%                      O.W%
 OTcesupplln                          IS1          LTT%                  -         OmR                                                                                           O.m%                -          OAO%                  -         O.00x                    -                                                                                    60       09e%           ]m            I.W%                 9m        o.e5x
                                                                                   OAO%                   -        OAOx                 -         O.m%                   -                                                                                                       DDO%                1D         t.atx                9e       1]0%
 HunhNaeONerEmp6eneffa                             ODOx                                                                                                               105                           18          OAOx                 6]         0.65%                    -                                                                                             O.Wx              -          QW%                  1I6       O.lix
                                                                                                          -        Umx                 5T         0.55%                          tA1x                                                                                            O.mx                  -        O.mx                   -      Omx              -
 PrymeTama                             fi0         OA2%                 61         0.5]%                                                                                                           126          tAt%                  -         Omx                      -                                                                                                             19           03~%               t.lT6       1.15%
                                                                                   OAOx                            0.00%                -         0.mx                   -       Om%                                                                                             Omx                   -        Omx                    -      O.m%                    14A1%
 WohenCompnvllan                                   O.00x                                                                                                                 -       O.mx                -          O.mx                  •         Om%                      -                                                                                           1]]95%              -           OAO%             1l,9eT      1].n%
                                                                                   D.m%                   -        DAO%                19         0.1e%                                                                                                                          O.W%                  -        Om%                     -     Om%        1],95T
 Olher04MNa1nIMEapemn '                            O.m%                                                                                                                          Om%                 -          0.00%                 -         om%                      -                                                                                    -        0.00%             •          Om%                   IU       0.02%
                                                                                   Om%                    -        oD019                -         Om%                    -                                                                                               -       D.00%                 -        ODO%                 20       035%
 RW6WbTema                                         ODO%                                                                                                                  -       OAO%                -          Omx                   -         omx                                                                                           Omx             e        o.Dex           19           03e%                 9H        092Y
                                                                                   oAV%                            omx                            O.mx                                                                                                                   1       0.0919               10        0.1]%                 I
 6pedalNaenmaMa                                    0.m19                                                                                                                11       0.11%              12          0.1]x                11         O.15x                                                                                                         -        Om1L              -          O.Wx               5.150       6Aax
                                                                                   022%                T01         e.12%              115         1.iGA                                                                                                                  -       oA015                 -        oDO1L                   -     DAa%
 OVnrTa+w.11camaa6Permi~e              Zt          0]6%                 1T                                                                                           5,150      59.ST%               -          Omx                   -         O.Wx                                                                                                          -        O.m%              -           0.00%               1H        0.1~%
                                                                                   O.W%                  -         O.pOx                -         0.00%                                                                                                                  -       o.W%                  -        Om%                    -      Omx
 PlepeMeLlaERrylnaunnn                  .          O.mx                  -                                                                                             1aa       lAox                 -         O.m%                  -         O.W%                                                                                                                   O.m%          5,60]         t1.16%             1131a       11A1%
                                                                                   O.W%                            Om%                  -         Om%                                                                                                                            O.m%                  -        O.m%                    -     O.m%            -
 FtlafUyCennpe4nunroe                              O.m%                                                                                                                          Om%                  -         O.m%                  -         Om%                      •                                                                                             U.m%              -           O.W%                   -      O.mx
                                                                                   omx               S,WT         6aA6%                 -         Om%                    -                                                                                                -      D.                    -        O.W%                    -     O.WX            •
 ReNmlaOwlw                                        Omx                      -                                                                                                    O.W%                 -         O.m%                   -        0.001t                                                                                                                 O.Wx              -           Q00%                   -      Om%
                                                                                   O.mx                 -          O.mx                 -         O.WY                   -                                                                                                       O.00x                  -       O.W%                    -     ODOx            -
 LuunrcePrnmeOa-lneaReN                            Om%                      -                                                                                                    O.WY                 -         0.00%                 -         O.m%                     -                                                                                             ODO%              -           0.00%                  -      Omx
                                                                                   O.W%                 -          O.W%                 -         O.Op%                   -                                                                                                                            -        Omx                     -     O.m%            -
                                            -      0.00%                    -                                                                                                                         -         0.00%                 -         Om%                      -       O.W%                                                                                                             O~m%                             0o00%
 Inlernl                                                                                                -          Om%                  -         Omx                     -      0.00%                                                                                                                          Om11                    -     ODo%                     ODO%
                                            -      Om%                      •      Om%                                                                                                                        0_W%                              Om%                              O.W%
 DeOrahllon                                                                                                        0.00%                          0W%                          o_W%
                                                   ODO%                            o.Wx                                                                                                                                                                                                                                                                                              9.]Lt         118J3%              T6A9T     y IS 1D%
 MoneaUon                                                                                                                                                                                                                                                                                           9.6E9      T53T94             ]Al0       f265%       1t,9I5     II1_69%
                                                                                                                                                                                                  ]Sm          iSdt%              2.9R         D981x              I.Ie]          19.96x
                                                                                                    12.e.10       laeAOY            ]Dm           ]9J614             10,131    95~1I%
 TolalEapenaf                         3D5]         l2%
                                                ]e__                 2STi          23A]%                                                                                                                                                                                                                                                                               89%-       s r+.aa)         •
                                                                                                                                                                                                                                                                                                                                                                                                  1~]!x          3     25.169
                                                                                                                                                                                                                                                                                                                                                       3(9.ea1)     -12~
                                                                                                                                                                                 t
                                                                                                                                                                               ~me6%         3    S.Tae        B1
                                                                                                                                                                                                              ~a1T%         3     4AO        ~16%            3     I.         ~.DIx           $     2,OIT      1~%           3    a,666     - ~Y
                                                                                                                                                                                                                                                                                                                                              5!
                                                                                                3    (4.1G1     ~~AO%          3    TA09        T0~%            3       191
                                 3    4 T9         e%
                                                61~~            3    51171         BI.1]R
  Nelbcome(lpca)


  Savrce-PrpM e lcu W1emfNa




   2022-06-30 Prelim Caics - Volunteer Mgmt                                                                                                                                                                                                                                                                                                                                       For Discussion Purposes Only
   6/30/2022; 4:26 PM
                                    Case 1:23-cv-00041                                                                                               Document 1-2
                                                                                                                                                              ^~                                           Filed 06/20/23
                                                                                                                                                                                                          ~~      FORENSIC
                                                                                                                                                                                                                  AGCOUNTANT9                                                 Page 150 of 161 PageID #: 292
                                                                                                                                                                                                                                         Schedule 19
                                                                                                                                                                                                                                             Page 25 of 32
Income Statements - Mavfield Manor 11- 2022
Volunteer Management & Development Co - Mayfield, KY
Date of Loss - December 10, 2021
                                                                                                                                                                     April                             May                                  Total
                                         Janua        2022                            ruary                                     arch

                                                                                                                                                            Amount           % to Inc.        Amount           °/ to Inc.          Amount
                                      Amount           V. to Inc.        Amount             % to Inc.          Amount                  % to Inc.
            Description
Income                                                                                                                                                            -             0.00%     $            -        #DIV/01        $          -          0.00%
                                                         0.00%       $                           0.00%     $            -                    0.00%      $
Tenant Rent                          $       -                                                                                                                                                         -        #DIV/01               5,014         96.57%
                                                                                  -              0.00%                  -                    0.00%                -             0.00%
Subsldy                                  5,014         101.09%                                                                                                                                         -        #DIV/01                   -          0.00%
                                                                                                 0.00%                  -                    0.00%                -             0.00%
Subsidy - UA Paid to Tenants                 -           0.00%                    -                                                                                                                             #DIV/01                 (54)        -1.04%
                                                                                                                        -                    0.00%                -             0.00%                  -
                                           (54)         -1.09%                    -              0.00%                                                                                                                                    -          0.00%
Overage                                                                                                                 -                    0.00%                -             0.00%                  -        #DIV/01
                                             -           0.00%                    -              0.00%                                                                                                                                    -          0.00%
Tenant Late Fees                                                                                                        -                    0.00%                -             0.00%                  -        #DIV/01
                                             -           0.009'0                  -              0.00%                                                                                                                                    -          0.00%
Tenant Charges for Damages                                                                                              -                    0.00%                -             0.00%                  -        #DIV/01
                                             -           0.00%                    -              0.00%                                                                                                                                    -          0.00%
Application Fees                                                                                                        -                    0.00%                -             0.00%                  -        #DIV/01
                                             -           0.00%                    -              0.00%                                                                                                                                    -          0.00%
Laundry & Vending Income                                                                                                -                    0.00%                -             0.00%                  -        #DIV/01
                                             -           0.00%                    -              0.00%                                                                                                                                    0          0.00%
 Security Deposit Closeout                                                                                              -                    0.00%                -             0.00%                  -        #DIV/0!
                                             -           0.00%                    0              7.04%                                                                                                                                  231          4.44%
Interest Security Deposit                                                                                               1                   75.16%              228            99.80%                  -        #DIV/01
                                              -          0.00%                    1             76.76%                                                                                                                                    1          0.02%
 Interest Reserve                                                                                                       0                   24.84%                0             0.20%                  -        #DIV/0!
                                              -          0.00%                    0             16.20%                                                                                                                                    -          0.00%
 Interest Escrow                                                                                                                             0.00%                -             0.00%                  -        #DIV/01
                                              -          0.00%                    -              0.00%                                                                                                                                               0.00%
 Interest ODR                                                                                                                                0.00%                              0.00%                  -        #DIV/01
                                                         0.00%                    -              0.00%
 Other Miscellaneous Income
                                                                                                                                                                              100.00%                           #DIV/01                5,192        100.00%
                                                                                  1            100.00%                  2                  100.00%              229
Totallncome                               4,960        100.00%

OtherExoenses                                                                                                                                                                   0.00%                  -        #DIV/01                  480          9.25%
                                                                                -                 0.00%               -                       0.00%                -
Maintenance & Repairs Payroll              480            9.68%                                                                                                                                        -        #DIV/01                     -         0.00%
                                                                                                 0.00%                -                       0.00%                -            0.00%
Maintenance & Repairs Supply                  -           0.00%                 -                                                                                                                               #DIV/01                     -         0.00%
                                                                                                                      -                       0.00%                -            0.00%                  -
                                              -           0.00%                 -                 0.00%                                                                                                                                     -         0.00%
Maintenance & Repairs Contract                                                                                         -                      0.00°fo              -            0.00%                  -        #DIV/01
                                              -           0.00%                 -                 0.00%                                                                                                                                     -         0.00%
Painting & Decorating                                                                                                  -                      0.00%                -            0.00%                           #DIV/01
                                              -           0.00%                 -                 0.00%                                                                                                                                     -         0.00%
Grounds                                                                                                                -                      0.00%                -            0.00%                   -       #DIV/01
                                              -           0.00%                 -                 0.00%                                                                                                                                     -         0.00%
Services                                                                                                               -                      0.00%                -            0.00%                   -       #DIV/01
                                              -           0.00%                 -                 0.00%                                                                                                                                    20          0.39%
Furniture & Furnishing Replace                                                                                      (40)                  -2484.47%              10             4.37%                           #DIV/01
                                              -           0.00%                50             3521.13%                                                                                                                                       -         0.00%
Other Operating Expenses                                                                                               -                      0.00%                -             0.00%                  -       #DIV/01
                                              -           0.00%                 -                 0.00%                                                                                                                                     -          0.00%
Electricity                                                                                                            -                      0.00%                -             0.00%                          #DIV/01
                                              -           0.00%                 -                 0.00%                                                                                                                                     -          0.00%
Water                                                                                                                  -                      0.00%                -             0.00%                  -       #DIV/0!
                                              -           0.00%                 -                 0.00%                                                                                                                                     -          0.00%
Sewer                                                                                                                  -                      0.00%                -             0.00%                  -       #DIV/0!
                                              -           0.00%                 -                 0.00%                                                                                                                                      -         0.00%
Garbage & Trasti Removal                                                                                               -                      0.00%                -             0.00%                  -       #DIV/01
                                              -           0.00%                 -                 0.00%                                                                                                                                      -         0.00%
Site Management Payroll                                                                                                -                      0.00%                -             0.00%                  -       #DIV/01
                                              -           0.00%                 -                 0.00%                                                                                                                                      -         0.00%
Management Fee                                                                                                         -                      0.00%                -             0.00%                          #DIV/01
                                              -           0.00%                 -                 0.00%                                                                                                                                      -         0.00%
Project Auditing Expense                                                                                               -                      0.00%                -             0.00%                  -       #DIV/01
                                               -          0.00%                  -                0.00%                                                                                                                                      -         0.00%
Legal Expenses                                                                                                         -                      0.00%                -             0.00%                  -       #DIV/01
                                              -           0.00%                  -                0.00%                                                                                                                                  242           4.67%
Advertising                                                                                                            -                      0.00%                 -            0.00%                           #DIV/0!
                                           125            2.52%               117              8269.72%                                                                                                                                    75          1.45%
Telephone                                                                                                              -                       0.00%                -            0.00%                 75        #DIV/01
                                               -           0.00%                 -                 0.00%                                                                                                                                 103           1.99%
Office Supplies                                                                                                        -                       0.00%                -            0.00%                  -        #DIV/01
                                           103             2.08%                                   0.00%                                                                                                                                   37          0.71%
Health Ins & Other Emp Benefits                                                                                         -                      0.00%                -            0.00%                  -        #DIV/01
                                             37            0.74%                -                  0.00%                                                                                                                                     -         0.00%
PayrollTaxes                                                                                                            -                      0.00%                -            0.00%                  -        #DIV/01
                                               -           0.00%                -                  0.00%                                                                                                                                     -         0.00%
Workers Compensation                                                                                                    -                      0.00%                -            0.00%                  -        #DIV/01
                                               -           0.00%                -                  0.00%                                                                                                                                      -        0.00%
 Other Administrative Expenses                                                                                          -                      0.00%                -            0.00%                  -        #DIV/01
                                               -           0.00%                -                  0.00%                                                                                                                                      -        0.00%
Real Estate Taxes                                                                                                       -                      0.00%                -            0.00%                  -        #DIV/01
                                               -           0.00%                -                  0.00%                                                                                                                                  620         11.94%
 Special Assessments                                                                                                    -                      0.00%             275           120.19%                  -        #DIV/01
                                               -           0.00%              345             24295.77%                                                                                                                                       -         0.00%
 Other Taxes, Licenses & Permits                                                                                        -                      0.00%                -            0.00%                  -        #DIV/01
                                               -           0.00%                -                  0.00%                                                                                                                                      -         0.00%
 Property & Liability Insurance                                                                                         -                      0.00%                -             0.00%                  -       #DIV/01
                                               -           0.00%                -                  0.00%                                                                                                                                      -         0.00%
 Fidelity Coverage Insurance                                                                                            -                      0.00%                -             0.00%                  -       #DIV/01
                                               -           0.00%                -                  0.00%                                                                                                                              (51,000)      -982.31%
 Return to Owner                                                                                                 (51,000)              -3167701.86%                  -            0.00%                  -       #DIV/01
                                               -           0.00%                -                  0.00%                                                                                                                                             23.81%
 Insurance Proceeds - Loss Rent                                                                                             -                 0.00%                   -          0.00%                  -        #DIV/01                1,236
                                           1,236          24.92%                      -           0.00%                                                                                                                                        -       0.00%
 Interest                                                                                                                   -                  0.00%                  -          0.00%                     -     #DIV/01
                                                  -          0.00%                    -           0.00%
 Depreciation




 2022-06-30 Prelim Calcs - Volunteer Mgmt                                                                                                                                                                                   For Discussion Purposes Only
 6/30/2022; 4:26 PM
                                  Case                1:23-cv-00041                       Document ~~
                                                                                                   1-2            ~~Filed 06/20/23
                                                                                                                          MRENSIC
                                                                                                                          ACCOUNTANT S                       Page 151 of 161 PageID #: 293
                                                                                                                                                                                                                  Schedule 19
                                                                                                                                                                                                                       Page 26 of 32
Income Statements - Mayfield Manor II - 2022
Volunteer Management & Development Co - Mayfeld, KY
Date of Loss - December 10, 2021

                                                                        Februa                                  March                            April                            Ma                 L            j      al
                                        Janua     2022

                                                                   Amount        % to Inc.         Amount               % to Inc.       Amount           % to Inc.       Amount        % to Inc.         ,,                   % to Inc.
           Description               Amount        % to Inc.
Amortization                                  -

                                                                                                    (51,040)       -3170186.34%             285          124.56%              75       #DIV/01                (48,186)        -928.12%
Total Expenses                          1,981         39.94%           512       36086.62%

                                                                                               $     51,042         3170286.34%     $       (56)          -24.56%    $       (75)       #DIV/01          $    53,378          1028.12%
Net Income (Loss)                   $   2,979         60.06%   $      (511)      35986.62%


Source - Profit & Loss statements




                                          a




                                                                                             ' a,.Aw        -
2022-06-30 Prelim Calcs - Volunteer Mgmt
                                                                                                                                                                                                   For Discussion Pu~ oses OnlY
6/30/2022; 4:26 PM                  Case 1:23-cv-00041                       Document 1-2
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                                                                                                       ~~      FORENSIC
                                                                                                               AGCOUNTANT9              Page 152 of 161 PageID #: 294
                                                                                                                                                                                                                                                                                                                                                                       Schedule 20
Inceme sw.meM. -wlndn..<n-mz1                                                                                                                                                                                                                                                                                                                                             Page 27 of 32
vpmm«rwNpem.m n oeamwmenl a.rarr<le.ln
wle or fi«.- o«em3er lo. xort
                                                                                          MaYO                                                                                June                         Jul                                                    lem                         Oclaber                      rem                                               TaYI


InNme
         Oeacrl   an     JI   Nnoum a      %lelnc        11mwn1e0Ma %lolnc         /1meuM        %binc         IUnounl       nl %lolnc        4nouM Ma   %bl«.        Amvum          Xlolnc        MnvuM         %lvarc.       AmvuM     u~%lelnc        ~eM            %lotnc        11mou         %tvinc       AmouM           %YNc       1Mvunt em %lvin~           AmauM        %Ivinc

TvnanlRenl                    3 10.113     Se35x     3      W.       T193R     3     lOAxa        59.19x   3     10.647         59.T6%    3     9A5]     5710%    3     1A55          Y.A%     7                  36E1%    3    13,163      81.0%    3     C,630        SIS6x     3     13.095          66J3%    f 6166           6]Az%     s 1].ele     61.11%    3    11T A0]      5T.5]%
SuWi/                             T,STO    1356x            T,SSe    WATx             T,60]      U.tT%            1.519         ~]Slx           T$Te     M.69%          e,5]6         510TX          e;0i5        6111%          eAR        39.iTx         T,T99        4927%            T1e0           19]t%      epTe           5].99%        TAW      ss.e0x          93,391      . 615%
SUMIdy-WPVIdteTenenla              (351)    3ASx             p511     -3A3%            (I51)     -x35%             11511        -x.55%           OSal    -3.69x          (- )         -S.e6%          R50         -].Ba%          p61)      -I.TT%          (65])       1.1314            (1991         -aJ1%       (6A)          4.tax          (535)   -3.Wx           (596])      -295%
denw                               pi11     -x.11%           (Ilaf    •i.81%          R16)       -133x             (2T0)         -13t%           0~])    -1.Hx           (243)        -1m%            (2.])       -1.95%          R1DI      -115%           (29T)       -1.ISfi           f191)         Q.IIx       (351)         •x13%          p111    -151%           pA1])       • t.TSx
TerunllaleF.ae                       Bo      0A3x                -     OmY                -       Om%                    -       Omx               -      Omx               -          O.00x             -         OWx              -        Umx                         0.WY                -           U.WY                      O.W%            to     QW%               1W        OmX
TenenlCharpnforDamapea                -      Om%                 -     Omx                -       O.Wx                   •       D.OD%             -      O.W%              -          Om%               -         O.W%                      O.W%             Sz         0.]l%                           o.W%            35        01x%           B15     396%              itl       0]Sx
bWlopanF«a                                   Omx                       Om%                        Om%                            O.W%                     D.W%                         Om%                         O.W%           191        V.69Y            Y          OSe%              95            OS1Y           lY         D.)1%           76     O-l6%                       OSSY
laundn6Vendlnpinmme                 x4i      1.1]x           TLS       ].63%            ]W        l.lex             ]0]          1.69%           31e      t.e6x          ]n            1.Tx%          SLra         335x           3A         1d]%            x39         131%             xx1            111%             -        O.Wx           ]90     1.]ex           3.WT        19%
s«unrypepeallclm«ul                    -     O.W%          p,ee1)    a1.11%                       O.Wx                           o.00%            17      O.IOx                        Omx                         o.Wx                      0.00%                       o.W%                            o.WX             -        a.Wx           351     1.65x          pAs7)       -1.IOx
Inlernl6ecurBaDepeN                          Om%               4       011%                 1     ODl%               1           0.01%             1      aDl%             1           aAl%             1          0.01x            1        OAi%              1         0.01%                 1         0➢Ix                                       1     O.OIx              14       ODl%
InlarnlReaena                        15      0.06%            1e      0.11%              10       O.W%              10           O.W%             11      0.06%           11           VATR            11          U.Wfi           11        0.05%            11         U.OT%                1]         O.Wx             -        a.00%           1x     O.W%              lxT       Om%
InlernlEavav                          1      O.Wx              1      OmY                   1     0.00%              1           D.OIx             1      aOfY             1           Omx              1          0.01%            1        Omx               1         0.01%                 1         0.01x            -        0.00%            1
Inlarnl00R                            -      Omx               -      O.Wx                        O.W%               -           O.W%              -      Omx              -           O.Wx             •          O.Wx             -        O.Wx              -         Dm%                   -         O.W%             -        Om%                    Om%                         Dm%
qh«tAunllan«ualnmme                          Om%                      amx                                                        D.W%                     0-                           O.W%                        O.W%                      Om%                         0.00%                           Om%                       O.W%            91     0.e5%            139        OD6%

TaYll-                            1T.]n    1Wm%            11,110    1a0m%           1T.fi11     bOIDx         . 11.e1e        IWm%            16.e51    1Wm%          15.7.7        1W.W%          1xATB        1W.Wi          ]1,550     1W.WY          15.exe        iWm%            1e316           1W.W%      15.e01        1Wm%           20.9m    1W.WX          ]0J➢1N      1Wm%

qhet Eavenae.
MalmenanmaRe9alnPeymll            1,110     639%            1,135     9.OM                         D.W%           1.095          6.15%          1.1TB    16ASx          1.171         TA]%           1,110         e9ex                      O.W%          x,110        1aJ3%            11eT            6.95%      11D]           e.1ex        1Jti      B]5%           14,]99       I.W%
wxuenanaaRewlnswDM                  361     130%              936     TA6li            95B         SAJ%             ]~]          1]6x             a]x     1.91%          1~5          ]A]%            112          1.T0%          100        a.66%         1A59          9l3%             ~TO            x.51%      aa06          ]O9i%         199e      BS]x           11,389       5Sl%
Ma4lbnanmaRevalnCvnlna                -     o.Wx              x05     1.65x          1,06]        tt.eix             50          alex           l.tTe     e.96x             -         o.Wx            uT           33ex           xeD        1.]Ox         tAW           951x             als            t.etx                     o.Wx         11n       6.DPK           1,a55       ].Wx
Palnlinp60eoonanp   ,                 .     O.W%                -     O.W%             1W          051x               -          O.W%               -     O.Wx                        O.Wx                         Om%                       O.W%             40         a35x               90           DA9%           (50)      -0]]%            •      Om%               160       Dmx
                                                                      D.00%                       D.Wx                           Om%                      Omx           1,16]         TJT14           69e          5.59x          695        ]1ax            69e         aA1x             fi95           3.T1%          ~65        x91x                   Om%             4,Ite       21eY.
SeMcm                                  •    Om%                       0.W%             M6         ].51%            aA            116x            ]] 4     111x            SN          1.A]%           ]3~          lAD%           II/        1.01%           II 4        tA3x             224            1.31%                     O.Wx          T9e      a.e9x           1,614       1.19%
Fumeuro6FumhhlnpReDlam                 -    0.00%            609      ~91x              •         O.Wx             66T           ].TI%              •    ~O.Wx              -         O.W%              -          O.W%           S33        xAT%          1,M9          9.16X               -           Om%        1,106          599%         tA6]      e.3ex           513T        ].01x
olM1erODenllnpE~enma                        omx                       O.Wx                        o.Wx                           Omx                      O.Wx                        D.W%                         Omx                       O.Wx                        O.Wx                            U.Wx                      oAOx                   omx                         a.Wx
Ebctnclry                         1,WT      e3fix            T01      S.6T%            Nl         a.61%            639           ].W%            471      S.W%           STS          3.10%          1A61           M.            1e6        D.6B%            A          0]T%             SfiT           ].06x          56t1       3.60%        11T3      6.OTfi          T,65fi      a.TTfi
WaYr                                 a      oAe%              60      0.61x              ae       016%              69           0]9x             61      D..O%           BI          D.A%            1b           1.09%           O        010x             11          0.01x                ]9         O.11x          60         OStx          161      OA6%            961         a.eTY
So.»r                               10z     039%              A       O.T5x              Se       0.]1%             5]           OATx             61      oAex            17          0A1x            159          116%            11       01z%            .1]          0➢i%                 W          0.19%          91         OXx           113      I.O1%          1.IR         0.55%
GarbapeeTnahRemwal                  SOT     19]%             191      l]9x             b0          1.T0%           ]06           1.i1x           ]06                     ]B6           L46%           ]90          3.13%          ]9I       1.6]%           343          2Ux               191           x.1x%        19T          1Aix           IW      191x           4.467        110x
SIIaMawWmeMPaHoO                    B95     5.13%            995      6D1%                         O.W%            9n            514x            1W       ~]Ox                         O.W%           TW           S.
                                                                                                                                                                                                                   5.63%            -       U.W%          1.661         II.16x           1.e61          lO.Wx       111D           1.65%        1.i6)     959Y          1D,6A         515%
ManapemenlF«                      ].e05    16.15%          2.e60     13A5%           16D5         15.91x          xA05          15.1~%          xAW      1691%          ],eW          1e.Y%          SAW                            -       D.            5.H5          alAO%            3.ND           1436%       ].K9          16J5X         3,699    IS.eS%         11]30        16]6%
PmIeclRud6hqEa«m.                     -     aAa%               -      OAO%           xA1B         13.n%              -           0.aa%             -      Dm%               -          OWx              -          Omx              -       O.Wx          1.000          6]]%                -           O.W%                      0.00%                  Om%            ],a19        1.6ex
LepalEiqenn                           -     Om%                -      0.001t            -          0.0Ux             -           Om%               -      O.W%              -          O.W14            -          Om%              -       O.Wx              -          O.W%                -           VmX            3a1        1.91X           ]1     0.13%             ]J]       0.1ex
Adnniain0                                   O.W%                      Om%                          Om%                           D.W%                     Dm%                          O.W%                        Om%                      O.W%                         Dm%                             G.W%                      Om%             51     016%               51       Om%
TvleDlvne                          tTi      096%             1T]      1]9x             ]10         11fix           305           1.151i          XK       111%           ]OS           110%           ]W           /A.%           105       0.95x           ]W           119%             3p5            1.11%          ]a5        1]ML          ]OS      09ex           1A95         1]lY
OTmSupolin                         111      111%             131      1mx                -         U.W%            119           D.61%            -       OAO%            ~8           U.30X            -          Omx              -       O.Wx            16i          1.16%              -            O.Wx           ]OT        1,81%         lfi6     0.79%          l,iTS        O.Afi
HeaMlnaeqM1erEmvilalrfiY                    V.W%                      Om%                -         a.00%                         O.W%                     O.W%                         O.W11                       0.00%            -       O.Wx                         Om%                             amX                       a.00%         151      130%             151        0.13Y
PMVIITun                            161     0.9]x            16]      1]1%               -         0.00%           I55           O.6T%           161      13e%            BO           031X           1aD          1.13x            -       O.WY            ]01          193%             211            1.]0%          191        1]1x          519      ]Atx           ]339         1.10%
worlenComoeMaliun                     •     amx                •      O.W19              -         Om%                           O.Wx                     D.W%           306           lax                         Dmx                      O.Wx                         Omx                             o.Wx                      o.Wx                   om%               3W        o.tsx
OlherMmhJauelheEamnua                 -     Omx                -      O.Wx               -         a.Wx                  -       o.Wx             19      a.t1x           19           0.186          11~          091x            ]e       o.1ex           15x          096x             IA             o.Tlx        11~          o.Tlx          n1      oexx             iW         OJTx
RealEablaTnea                               O.Wx                      O.Wx                         O.Wx                          O.Wx              -      a.Wx                         O.Wx                        O.Wx                     O.Wx              -          o.Wx                            a.Wx      tT.631        1flAex                   O.Wx          1T,631        e.e6x
SwdalAsaeaimeNa                      41     034%              40      OJ3Y              10         0.11%            ]0           0.11%                    O.Wx            Sa           O.15x           6]          a.50%           ]0       0.09%                        0.WY                 30         a.lt%         40          015X            60     019%             N/         0.1T%
qM1arTun,LlsmeaePam+lla             11e     D6D%              6T      OSIY            x199        t].W%           f16T           T.11%             51     a>pY            56           0J5%           11D          0.eex            5       O.Oxx              5         D.a1%                6)         O>tY          55          o.ss1c         136     OA1%           4217         1AeY
PrvoeM6llaD1lMinunma                  -     Om%                -      OmY                -         O.W%              -           O.Wx          la,9T5    66.T1%            -           O.W%             -          OW%              -       a.W%               -         O.W%                  -         O.WY                                                           11.9T5        T.aeX
FMeR~Co»rapelnaun«e                   -     O.Wx               -      O.Wx                         U.Wx              -           O.Wx             ]51     S.oe%            -           Omx              -          a0px             -       o.Wx               -         Omx                   -         omx              -        o.Wx             -     Omx               ]51       O.ITx
Relumloq»er                           -     O.Wx               -      Om%            (T1t        I69T%               -           a.Wx               -     amx              -           O.Wx             -          o.Wx             -       o.Wx               -         D.Wx                  -         o.Wx             -        O.Wx             -     Omx            ~,T~t        a.31x
lnaunMeAoued.-twRem                   •     Omx                -      a.Wx              -          o.Wx              -           O.Wx               -     amx              -           O.Wx             -          O.Wx             -       a.Wx               -         O.Wx                  -         a.Wx             -        o.Wx             -     Omx                 -       OAOx
4Xereal                               -     Omx                -      O.00x             -          Omx               -           o.Wx               -     amx              -           o.Wx             -          Omx              -       a.Wx               -         Oms                   -         aAOx             -        o.Wx             -     Omx                 -       Om%
Oeol«Ivllen                           -     O.Wx               -      O.Wx              •          Dmx               -           oA015              -     a.Wx             -           Om%              -          O.Wx             -       U.W%               •         o.Wx                  -         O.Wx             -        D.Wx             •     U.Wx                -       o.Wx
MM4vOm                                      OmY                       OmY                          Om%                           Um%                      Om%                          Om%                         Dmtl                     G.W%                         Omx                             Om%                       Dm%                    OIDX                        am%

TOYIEamnan                        T,6B]    M.11%           eA65      6e11%           i1319        BT.1T%          e.i/9         49]6%          N ➢T6     leiJl%         1.113        4593%           e.6M         6917%          ]AIt       15.6T%        17,115        be.1]%           p]9]           SO.n%      39.eee        169.Oe%        Y9n      T"9%           15e.Y6       T1m%

Nellnmme(lmc)                 3   9.]10    SSA9%     3     ]915      31.79%    3       3A1         333%    3      9A16        S0~13%      3     R9961    -0T3i%   3     e.a51        51Ae%     3     3,e35        30.nX    3    19,129      M,ta%    3    R1eT1          -0+l]x   S      9,1]S          4918%    f ta     1      d9.W%      S   6.00]    Sebl%     3     MA6S       II~1G%


soume-Prval e L. auiemeniv




2022-06-30 Prelim Calcs - Volunteer Mgmt                                                                                                                    ~--~
                                                                                                                                          '~                                  ~~
6/30/2022; 4:26 PM               Case 1:23-cv-00041                                                                             Document 1-2                                     Filed 06/20/23
                                                                                                                                                                                        ACCOUNTANTS
                                                                                                                                                                                                    FORENSIC
                                                                                                                                                                                                                                    Page 153 of 161 PageID #: 295                                                                           For Discussion PurPoses OnlY
                                                                                                                                                                                                                                    Schedule 21
                                                                                                                                                                                                                                        Page 28 of 32

     Income Statements - Windhaven - 2022
     Volunteer Management & Development Co - Mayfield, KY
     Date of Loss - December 10, 2021
                                                                                                                                                                 A ril                            Ma                                   Total
                                                          2022                   Februa                                      March
                                              Janua
                                                                                                                                                                         % to Inc.       Amount           %, to Inc.          Amount           °/ to Inc.
                                                                            Amount          °/ to Inc.          Amount               % to Inc.          Amount
               Description                Amount           % to Inc.
     Income                                                                                                                                                                 0.00%    $            -        #DIV/01        $        450            6.14%
                                                                                450           97.27%        $            -                0.00%     $         -
     Tenant Rent                         $        -          0.00%      $                                                                                                                                  #DIV/ol               6,797           92.72%
                                                                                                                                          0.00%               -             0.00%                 -
                                              6,797        105.01%                -            0.00%                                                                                                                                 -            0.00%
     Subsidy                                                                                                                              0.00%               -             0.00%                 -        #DIV/01
                                                  -          0.00%                -            0.00%                     -
     Subsidy- UA Paid to Tenants                                                                                                                                            0.00%                 -        #DIV101                (324)          -4.42%
                                                                                  -            0.00%                                      0.00%               -
     Overage                                   (324)        -5.01%                                                                                                                                -        #DIV/01                   -            0.00%
                                                                                               0.00%                  -                   0.00%               -             0.00%
                                                  -          0.00%                -                                                                                                                                                  -            0.00%
     Tenant Late Fees                                                                                                                     0.00%               -             0.00%                 -        #DIV/01
                                                  -          0.00%                -            0.00%                  -                                                                                                                           0.00%
     Tenant Charges for Damages                                                                                                                               -             0,00%                 -        #DIV/01                   -
                                                                                  -            0.00%                  -                   0.00%
     Application Fees                             -          0.00%                                                                                                                                -        #DIV/0!                   -            0.00%
                                                                                               0.00%                  -                   0.00%               -             0.00%
      Laundry & Vending Income                     -         0.00%                -                                                                                                                                                  -            0.00%
                                                                                                                                          0.00%               -             0.00%                 -        #DIV/01
                                                  -          0.00%                 -           0.00%                  -                                                                                                                           0.03%
     Security Deposit Closeout                                                                                                                                1             0.15%                 -        #DIV/01                   2
                                                             0.00%                1            0.19%                  1                   4.67%
      Interest Security Deposit                    -                                                                                                                       99.57%                 -        #DIV/01                 403            5.50%
                                                                                 11            2.40%                 12                  88.29%             380
      Interest Reserve                             -         0.00%                                                                                                                                 -       #DIV/01                   3            0.04%
                                                                                               0.14%                  1                   7.04%               1             0.28%
      Interest Escrow                              -         0.00%                1                                                                                                                        #DIV/01                    -           0.00%
                                                                                                                       -                  0.00%                -            0.00%                  -
                                                   -         0.00%                 -           0.00%                                                                                                                                  -           0.00%
      Interest ODR                                                                                                                        0.00%                             0.00%                  -       #DIV101
                                                             0.00%                 -           0.00%                  -
      Other Miscellaneous Income
                                                                                                                                                                          100.00%                  -       #DIV/0!               7,331          100.00%
                                                                                 463         100.00%                  14                100.00%             381
     Totallncome                              6,473        100.00%

     OtherExoenses                                                                                                                                                          0.00%                  -       #DIV/Ol                     -           0.00%
                                                                                                 0.00%                 -                   0.00%                -
                                                   -          0.00%                -                                                                                                                                                   -           0.00%
     Maintenance & Repairs Payroll                                                                                                         0.00%                -           0.00%                  -       #DIV/01
                                                   -          0.00%                 -            0.00%                 -                                                                                                                           0.00%
     Maintenance & Repairs Supply                                                                                                                               -           0.00%                  -       #DIV/01                     -
                                                              0.00%                 -            0.00%                 -                   0.00%
     Maintenance & Repairs Contract                -                                                                                                                        0.00%                  -       #DIV/01                     -           0.00%
                                                                                                 0.00%                  -                  0.00%                -
                                                   -          0.00%                 -                                                                                                                                                  -           0.00%
     Painting & Decorating                                                                                                                 0.00%                -           0.00%                  -       #DIV/01
                                                   -          0.00%                 -            0.00%                  -                                                                                                                          0.00%
     Grounds                                                                                                                                                    -           0.00%                  -       #DIV/01                     -
                                                                                    -            0.00%                  -                  0.00%
     Services                                      -          0.00%                                                                                                                                -       #DIV/01                     -           0.00%
                                                                                                 0.00%                  -                  D.00°/               -           0.00%
                                                   -          0.00%                 -                                                                                                                                                 50           0.68%
     Fumiture & Furnishing Replace                                                                                                      -718.39%                -           0.00%                  -       #DIV/01
                                                    -         0.00%              150           32.42%               (100)                                                                                                                          2.30%
     Other Operating Expenses                                                                                                                                169           44.25%                  -       #DIV/01                  169
                                                              0.00%                 -            0.00%                  -                  0.00%
     Electricity                                   -                                                                                                                                               -       #DIV/01                  107            1.46%
                                                                                                 0.00%                53                 363.19%              54           14.06%
                                                    -         0.00%                 -                                                                                                                                                 93           1.27%
     Water                                                                                                                               251.72%              58           15.31%                   -      #DIV/01
                                                    -         0.00%                 -            0.00%                35                                                                                                                           0.00%
     Sewer                                                                                                                                                       -          0.00%                   -      #DIVI01                      -
                                                              0.00%                  -           0.00%                  -                  0.00%
     Garbage & Trash Removal                        -                                                                                                                       0.00%                   -      #DIV/0!                1,155           15.76%
                                                                                     -           0.00%                  -                  0.00%                 -
     Site Management Payroll                   1,155         17.85%                                                                                                                                 -      #DIV/01                      -           0.00%
                                                                                                 0.00%                   -                  0.00%                -          0.00%
                                                    -          0.00%                 -                                                                                                                                                  -           0.00%
     Management Fee                                                                                                                        0.00%                 -          0.00%                   -      #DIV/01
                                                    -         0.00%                  -           0.00%                   -                                                                                                                          0.00%
     ProjectAuditing Expense                                                                                                                                     -          0.00%                   -       #DIV/01                     -
                                                                                     -            0.00%                  -                  0.00%
     Legal Expenses                                 -          0.00%                                                                                                                                -      #DIV/01                      -           0.00%
                                                                                                                         -                  0.00%                -          0.00%
                                                    -          0.00%                 -            0.00%                                                                                                                             717             9.78%
     Advertising                                                                                                                        2205.46%                 -          0.00%                   -       #DIV/01
                                                 205           3.17%             205            44.30%               307                                                                                                              75            1.03%
     Telephone                                                                                                                              0.00%                -           0.00%                75        #DIV/01
                                                    -          0.00%                 -            0.00%                  -                                                                                                                          3.43%
     Office Supplies                                                                                                                                              -          0.00%                   -      #DIV/0!                  251
                                                               3.88%                 -            0.00%                  -                  0.00%
     Health Ins & Other Emp Benefits             251                                                                                                                         0.00%                   -      #DIV/01                   88            1.21%
                                                                                      -           0.00%                  -                  0.00%                 -
     Payroll Taxes                                88           1.37%                                                                                                                                 -      #DIV/0!                      -          0.00%
                                                                                                  0.00%                  -                  0.00%                 -          0.00%
                                                     -         0.00%                  -                                                                                                                                                  -          0.00%
     Workers Compensation                                                                                                 -                 0.00%                 -          0.00%                   -      #DIV/01
                                                     -         0.00%                  -           0.00%                                                                                                                                  -          0.00%
      OtherAdministrativeEcpenses                                                                                                           0.00%                 -          0.00%                   -      #DIV/0!
                                                     -         0.00%                  -           0.00%                   -                                                                                                                         0.00%
      Real Estate Taxes                                                                                                                                           -          0.00%                   -      #DIV/01                      -
                                                               0.00%                  -           0.00%                   -                 0.00%
      Special Assessments                            -                                                                                                                                               -      #DIV/01                2,257          30.79%
                                                                                                                         1                  6.90%              16            4.18%
                                                     -         0.00%            2,240          484.17%                                                                                                                                   -          0.00%
      Other Taxes, Licenses & Permits                                                                                                       0.00%                 -          0.00%                   -      #DIV/01
                                                     -         0.00%                  -           0.00%                   -                                                                                                                         0.00 %
      Property & Liability Insurance                                                                                                                              -          0.00%                   -      #DIV/0!                      -
                                                                                      -           0.00%                   -                 0.00%
      Fidelity Coverage Insurance                     -        0.00%                                                                                                                                  -     #DIV/01                4,741           64.67%
                                                                                                  0.00%             4,741              34058.55%                  -          0.00%
                                                      -        0.00%                   -                                                                                                                                         (51,000)       -695.67%
      Return to Owner                                                                                                                -366379.31%                   -         0.00%                    -     #DIV/01
                                                      -        0.00%                  -           0.00%           (51,000)                                                                                                                           0.00%
      Insurance Proceeds- Loss Rent                                                                                                                                -         0.00%                    -     #DIV/01                       -
                                                                                       -          0.00%                                     0.00%
      Interest                                        -         0.00%




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                                             Case 1:23-cv-00041
      2022-06-30 Prelim Calcs - Volunteer Mgmt                                             Document ~~
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    Income Statements - Windhaven - 2022
    Volunteer Management & Development Co - Mayfield, KY
    Date of Loss - December 10, 2021
                                                                                                                                            A rii .                         Ma                               Total
                                                                             Februa                              March
                                              Januav 2022
                                                                                                                                                 1 %to Inc.        Amount        % to Inc.          Amount           %to Inc.
                                         Amount       %to Inc.          Amount         %to Inc.         Amount                                                                                                         0.00%
               Description                                                                                                 0.00%             -        0.00%                 -     #DIV/01
                                               -       0.00%                     -       0.00%                   -                                                                                            -        0.00%
    Depreciation                                                                                                           0.00%             -        0.00%                 -     #DIV/Ol
                                                -      0.00%                             0.00%
    Amortization
                                                                                                                                                      77.79%            75        #DIV/01             (41,296)       -563.30%
                                                                           2,595        560.899'0        (45,963)    -330191.88%           297
    Total Expenses                            1,700        26.26%
                                                                                                                                                               $       (75)       #DIV/01       $     48,627         663.30%
                                                                                       -460.89%     $     45,977     330291.88%       $     85        22.21%
                                         $    4,773        73.74%   $     (2,132)
    Net Income (Loss)


    Source - Profit & Loss statements




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    Income Statements - Windhaven III - 2022
    Volunteer Management & Development Co - Mayfield, KY
    Date of Loss - December 10, 2021
                                                                                                                                                         April                                                           Total
                                                                                                                      March                                                                May
                                             Janua        2022                 Februa
                                                                                                                                                                 % to Inc.        Amount         % to Inc.         Amount         % to Inc.
                                                                                                             Amount           % to Inc.         Amount
               Description                Amount           % to I                      L %~ IrIc.
    Income                                                                                                                                                       #DIV/01      $            -     #DIV/01       $     34,200        B9.64%
                                                                                              0.00%      $     34,200 (A)     100.00%       $            -
                                         $       -           0.00%      $      -                                                                                                                 #DIV/01              3,951        10.36%
    Tenant Rent                                                                                                     -           0.00%                    -       #DIV/01                   -
                                             3,951         100.00%             -              0.00%                                                                                                                       -         0.00%
    Subsidy                                                                                                                                              -       #DIV101                   -     #DIV/01
                                                             0.00%             -              0.00%                 -           0.00%                                                                                               0.00%
    Subsidy - UA Paid to Tenants                 -                                                                                                       -       #DIV/01                   -     #DIV/01                  -
                                                                               -              0.00%                 -           0.00%
    Overage                                      -           0.00%                                                                                                                         -     #DIV/01                  -         0.00%
                                                                                              0.00%                 -           0.00%                    -       #DIV/01
                                                 -           0.00%             -                                                                                                                 #DIV/01                  -         0.00%
    Tenant Late Fees                                                                                                -           0.00%                    -       #DIV/01                   -
                                                 -           0.00%             -              0.00%                                                                                                                       -         0.00%
    Tenant Charges for Damages                                                                                      -           0.00%                    -       #DIV/01                   -     #DIV/0!
                                                 -           0.00%             -              0.00%                                                                                                                       -         0.00%
    Application Fees                                                                                                            0.00%                    -       #DIV/01                   -     #DIV/0!
                                                             0.00%             -              0.00%                 -                                                                                                               0.00%
     Laundry & Vending Income                    -                                                                                                       -       #DIV/01                   -     #DIV/01                   -
                                                                               -              0.00%                  -          0.00%
     Security Deposit Closeout                   -           0.00%                                                                                                                         -     #DIV/0!                  0         0.00%
                                                                                                                    -           0.00%                     -      #DIV/01
                                                  -          0.00%             0            100.00%                                                                                                                        -        0.00%
     Interest Security Deposit                                                                                                  0.00%                     -      #DIV/01                   -     #DIV/01
                                                             0.00%              -             0.00%                  -                                                                                                              0.00%
     Interest Reserve                             -                                                                                                       -      #DIV/01                    -    #DIV/01                   -
                                                                                -             0.00%                  -          0.00%
     Interest Escrow                              -          0.00%                                                                                                                          -    #DIV/01                   -        0.00%
                                                                                              0.00%                  -          0.00%                     -      #DIV/01
                                                  -          0.00%              -                                                                                                                #DIV/01                   -        0.00%
     Interest ODR                                                                                                               0.00%                     -      #DIV/01
                                                             0.00%                            0.00%
     Other Miscellaneous Income
                                                                                                                                                                                           -      #DIV/01             38,151      100.00%
                                                                                             100.00%           34,200          100.00%                            #DIV/01
                                              3,951         100.00%             0
    Totallncome

    OtherExpenses                                                                                                                                                                                 #DIV/01                  -         0.00%
                                                                                               0.00%                -             0.00%                -          #DIV/01
                                                   -          0.00%            -                                                                                                                                           -         0.00%
     Maintenance & Repairs Payroll                                                                                  -             0.00%                -          #DIV/01                   -     #DIV/01
                                                   -          0.00%            -               0.00%                                                                                                                       -         0.00%
     Maintenance & Repairs Supply                                                                                   -             0.00%                -          #DIV101                   -     #DIV/01
                                                   -          0.00%            -               0.00%                                                                                                                       -         0.00%
     Maintenance & Repairs Contract                                                                                 -             0.00%                -          #DIV/01                   -     #DIV/01
                                                   -          0.00%             -              0.00%                                                                                                                       -         0.00%
     Painfing & Decorating                                                                                                        0.00%                -          #DIV101                   -     #DIV/01
                                                   -          0.00%             -              0.00%                -                                                                                                      -         0.00%
     Grounds                                                                                                                      0.00%                -          #DIV/01                   -     #DIV/01
                                                   -          0.00%             -              0.00%                -                                                                                                                0.00%
     Services                                                                                                                                          -          #DIV/01                   -     #DIV/01                  -
                                                                                -              0.00%                 -            0.00%
     Furniture & Furnishing Replace                -          0.00%                                                                                                                         -     #DIV/01                10          0.03%
                                                                                            8333.33%                 -            0.00%                -          #DIV/01
                                                   -          0.00%           10                                                                                                                  #DIV/01               119          0.31%
     Other Operating Expenses                                                                                     119             0.35%                -          #DIV/01                   -
                                                   -          0.00%             -              0.00%                                                                                                                     11          0.03%
     Electricity                                                                                                                  0.03%                 -         #DIV/01                         #DIV/01
                                                    -         0.00%             -              0.00%               11                                                                                                      -         0.00%
     Water                                                                                                                        0.00%                 -         #DIV/01                 -       #DIV/01
                                                    -         0.00%             -               0.00%                -                                                                                                      -        0.00%
     Sewer                                                                                                                        0.00%                 -         #DIV/01                 -       #DIV/01
                                                    -         0.00%             -              0.00%                 -                                                                                                  406          1.07%
     Garbage & Trash Removal                                                                                                      0.00%                 -         #DIV/01                 -       #DIV/ol
                                                406          10.29%              -              0.00%                -                                                                                                      -         0.00%
     Site Management Payroll                                                                                                      0.00%                 -         #DIV/01                 -       #DIV/01
                                                              0.00%              -              0.00%                -                                                                                                      -         0.00%
     Management Fee                                 -                                                                                                   -         #DIV/01                 -       #DIV/01
                                                                                 -              0.00%                -            0.00%
     ProjectAuditing Expense                        -          0.00%                                                                                                                      -        #DIV/0!                  -         0.00%
                                                                                                0.00%                 -            0.00%                -          #DIV/01
                                                    -          0.00%             -                                                                                                                #DIV/01                   -         0.00%
     Legal Ecpenses                                                                                                   -           0.00%                 -          #DIV/01                -
                                                    -          0.00%             -              0.00%                                                                                                                       -         0.00%
     Advertising                                                                                                                   0.00%                 -         #DIV/01                -        #DIV/0!
                                                     -         0.00%             -              0.00%                 -                                                                                                   75          0.20%
     Telephone                                                                                                                     0.00%                 -         #DIV/01              75         #DIV/0!
                                                    -          0.00%             -              0.00%                 -                                                                                                   54          0.14%
     Office Supplies                                                                                                               0.00%                 -         #DIV/0!                 -       #DIV/01
                                                               1.36%             -              0.00%                 -                                                                                                               0.08%
      Health Ins & Other Emp Benefits             54                                                                                                               #DIV/01                 -       #DIV/01                31
                                                                                 -              0.00%                 -            0.00%                 -
      Payroll Taxes                               31           0.79%                                                                                                                       -       #DIV/01                   -        0.00%
                                                                                                0.00%                 -            0.00%                 -         #DIV/01
                                                     -         0.00%              -                                                                                                                #DIV/01                   -        0.00%
      Workers Compensation                                                                                             -           0.00%                 -         #DIV/01                 -
                                                     -         0.00%              -             0.00%                                                                                                                        -        0.00%
      Other Administrative Expenses                                                                                                0.00%                 -         #DIV/01                 -       #DIV/01
                                                               0.00%              -             0.00%                  -                                                                                                     -        0.00%
      Real Estate Taxes                              -                                                                                                             #DIV/01                 -       #DIV/01
                                                                                                0.00%                  -           0.00%                 -
                                                     -         0.00%              -                                                                                                                #DIV/01               485          1.27%
      Special Assessments                                                                                             5            0.02%                 -         #DIV101                 -
                                                     -         0.00%          480          400000.00%                                                                                                                        -        0.00%
      Other Taxes, Licenses & Permits                                                                                              0.00%                  -        #DIV/01                 -       #DIV/01
                                                               0.00%              -              0.00%                 -                                                                                                     -        0.00%
      Property & Liability Insurance                 -                                                                                                    -        #DIV/01                 -       #DIV/01
                                                                                  -              0.00%                 -           0.00%
                                                      -        0.00%                                                                                                                               #DIV/0!             1,280          3.36%
      Fidelity Coverage Insurance                                                                0.00%           1,280             3.74%                  -        #DIV/01                 -
                                                      -        0.00%              -                                                                                                                #DIV/01                   -         0.00%
      Return to Owner                                                                                                  -            0.00%                 -        #DIV/01                 -
                                                      -         0.00%             -              0.00%                                                                                                                 5,266         13.80%
      Insurance Proceeds - Loss Rent                                                                                                3.08%           1,052          #DIV/01            1,051        #DIV/0!
                                                              26.71%        1,054          878441.67%            1,053                                                                                                        -        0.00%
      Interest                                 1,055                                                                                                      -         #DIV/01                 -      #DIV/01
                                                                                   -             0.00%                 -            0.00%
                                                      -         0.00%
      Depreciation




                                          Mgmt
      2022-06-30 Prelim Calcs - VolunteerCase                                                                                                                                                                For Discussion Purposes Only
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    Income Statements - Windhaven III - 2022
    Volunteer Management & Development Co - Mayfeld, KY
    Date of Loss - December 10, 2021

                                                 Janua   2022         [ ~~        j
                                                                                  Februa                                March                            April                            Ma                        Total

               Descript!on                   Amount       % to Inc.                    ,     % to Inc.         Amount           % to Inc.       Amount           % to Inc.       Amount        % to Inc.   ~ Arn.unt
    Amortization                                            0.00%                                  0.00%                           0.00%                          #DIV/01                      #DIV/0!                          0.00%

    TotalExpenses                                1,546     39.14%            1,544         1286775.00%            2,468           7.22%            1,052         #DIV/01            1,127      #DIV/01           7,738         20.28%

    Net Income (Loss)                       $    2,405     60.86%      $     (1,544)       -1286675.00%    $     31,732           92.78%    $     (1,052)        #DIV/01     $     (1,127)     #DIV/01      $   30,413         79.72%



    Source - Profit & Loss statements

    Note (A): Amount is re!ated to insurance proceeds.




    2022-06-30 Prelim Calcs - Volunteer Mgmt                                                         ~--~
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                                                                                 2908 Poston Avenue
          ~                                                                      Nas ville, TN 37203         ;
      ?~x
          ~..


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Case 1:23-cv-00041                 Document 1-2                    Filed 06/20/23        Page 159 of 161 PageID #: 301
      IN THE CIRCUIT COURT OF MARSHALL COUNTY, TENNESSEE FOR THE
               SEVENTEENTH JUDICIAL DISTRICT AT TENNESSEE

VOLUNTEER MANAGEMENT &                          )
DEVELOPMENT COMPANY INC.                        )
                                                )
          Plaintiff,                            )
                                                )   Case No.: 23-CV-13
v.                                              )
                                                )
STATE AUTO PROPERTY &                           )
CASUALTY INSURANCE CO.,                         )
                                                )
          Defendant.                            )

                        NOTICE OF FILING NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant State Auto Property & Casualty

Insurance Company, improperly named in the Complaint as State Auto Property & Casualty

Insurance Co., hereby gives notice of its removal of this action to the United States District Court

for the Middle District of Tennessee, Columbia Division. A copy of the Notice of Removal is

attached hereto as Exhibit A.

                                              Respectfully submitted,
                                              /s/ Brian C. Neal
                                              Brian C. Neal (BPR #022532)
                                              Kate A. Hamilton (BPR #039331)
                                              BURR & FORMAN LLP
                                              222 Second Ave. South, Suite 2000
                                              Nashville, TN 37201
                                              Telephone: (615) 724-3246
                                              Facsimile: (615) 724-3346

                                              Attorneys for Defendant State Auto Property &
                                              Casualty Insurance Company




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                                CERTIFICATE OF SERVICE
        I hereby certify that on the 20th day of June 2023, I served a copy of the foregoing Notice
of Filing Notice of Removal via e-mail and/or U.S. Mail, postage prepaid, on the following:
                                       Drayton D. Berkley
                                    Berkley Law Firm, PLLC
                                     1255 Lynnfield Ste 226
                                      Memphis, TN 38119

                                             /s/ Brian C. Neal




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